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               Structured Data File
             HIGHLY CONFIDENTIAL
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Data from structured data file TF‐P‐000779204_HIGHLY CONFIDENTIAL_Tyson (Pork) Lot 2009.xlsx
Pivot Table based on Producer_Name (Column D) & sum of Net_Price (Column S)

Row Labels: Producer_Name                                                                  Sum of NET_PRICE
Grand Total                                                                                 $10,323,973.68
LTS                                                                                          $395,254.05
HOLDEN FARM                                                                                  $335,880.49
CHRISTENSE FEEDLOT I                                                                         $266,027.66
SWINE GRAPHICS                                                                               $202,335.51
PRESTAGE F OF IOWA                                                                           $131,070.50
T JAC PORK                                                                                   $117,231.86
MCLEAN PORK                                                                                   $98,873.06
HABIT 4                                                                                       $98,290.47
STROBEL FARMS                                                                                 $95,053.23
NORTHERN NANCE                                                                                $84,039.44
DOUBLE DIAMOND                                                                                $83,242.63
SIGNATURE FARMS                                                                               $78,465.01
IMPERIAL FOODS                                                                                $75,938.66
TYSON FRESH MEA                                                                               $75,086.87
BRENNEMAN PORK                                                                                $73,198.15
ELITE PORK PARTNERSH                                                                          $71,052.76
NEWELL PIG CO                                                                                 $70,399.08
PURATONE (USA)                                                                                $70,239.50
SCHULZ FARM ENT                                                                               $61,436.71
G & D PORK LLC/                                                                               $59,671.93
BARTLETT FOODS                                                                                $54,779.62
INLAND FOODS                                                                                  $54,510.49
V Z HOGS                                                                                      $54,411.03
PYRAMID PARTNER                                                                               $53,433.48
JEFF D WARD                                                                                   $52,409.62
SMOKEY RID FDRS LLC                                                                           $52,232.60
PORK CHOP HILL                                                                                $51,052.05
BOURN ‐ 281                                                                                   $49,292.61
WOLBACH FOODS                                                                                 $46,634.18
BURTON‐RUSSELL                                                                                $45,489.56
DYKHUIS FA INC ‐ MI                                                                           $41,800.85
TEXAS FARM INC                                                                                $41,325.80
K & P JOHNSON FARMS                                                                           $40,835.45
IDLENOT FARMS                                                                                 $40,314.48
PLATTE CENTER W                                                                               $40,220.53
G & M FARMS                                                                                   $39,488.68
UNIQUE SWI SYSTEM IN                                                                          $38,995.59
T D M FARMS                                                                                   $37,819.34
SIEREN PORK LIM                                                                               $37,017.63
NUTRA‐TECH LC                                                                                 $36,268.37
PIPE LINE LLC                                                                                 $35,470.69
I & S FURRER INC                                                                              $32,719.34
BRENNCO                                                                                       $32,494.26
MIDWEST FARMS L                                                                               $32,414.36
ASA MARKETING                                                                                 $31,582.31
KOHLNHOFER FARM                                                                               $29,802.94
TIM & DON FLAHERTY                                                                            $29,447.96
UNITED FEED R F                                                                               $29,228.26


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Row Labels: Producer_Name                                         Sum of NET_PRICE
WISE FARM CORP                                                       $29,127.90
DYKHUIS FA INC ‐ IN                                                  $26,284.48
WEBSTER CO PORK                                                      $26,161.57
HILLSIDE FARMS                                                       $25,101.62
TERRY DAVIS                                                          $24,540.88
AG‐PROD EN INC                                                       $24,502.76
HEARTLAND PORK                                                       $23,946.45
HOGQUEST                                                             $23,686.61
JO & E ENT LLC                                                       $23,584.67
WAYNE CHRISTOPHER                                                    $23,020.18
LARSON PRODUCTS                                                      $22,103.47
GRAND VIEW FARM                                                      $21,821.53
TUENTE FARMS                                                         $21,235.43
SOUTHERN PORK I                                                      $20,807.22
BIDDLE FARM INC                                                      $20,645.55
JULINIC IN LLP                                                       $20,558.93
KEYSTONE MILLS                                                       $20,034.37
SANDER INC                                                           $20,031.00
ERIC VAN BOEKEL                                                      $19,905.73
SHOUP BROTHERS                                                       $19,848.97
FLAGSHIP PORK P                                                      $19,715.44
R V F NUCLEUS G                                                      $19,592.84
NEW HORIZONS PO                                                      $19,532.27
DEGENER/JUHL                                                         $19,479.54
TALINA PORK LLP                                                      $18,898.53
CARLISLE FARMS                                                       $18,869.10
JOHN SANDER                                                          $18,831.94
BARTON FARM CO                                                       $18,801.85
HUGOSON PORK IN                                                      $18,775.16
CRYSTAL SPRINGS                                                      $18,301.82
FLORENCE FARMS                                                       $18,200.96
FIEDLER FINISHING LL                                                 $17,685.52
SUNWOLD LLC                                                          $17,611.35
TOALE FARMS LTD                                                      $17,492.78
MM&M                                                                 $17,435.54
MADISON BELL LL                                                      $17,145.90
COOPER FARMS                                                         $17,033.86
TPG SIGNATURE C                                                      $16,979.20
(USA) INC STOMP PORK                                                 $16,716.89
PORK HAVEN                                                           $16,699.43
HAROLD SORENSEN                                                      $16,581.16
KLEINHEKSEL FAR                                                      $16,553.43
PALISADES PORK                                                       $16,293.01
JEROME MACK                                                          $16,201.65
NGP                                                                  $16,034.82
TRI‐S FARMS INC                                                      $15,916.60
OAKSIDE INC                                                          $15,863.78
KELLOGG FARMS                                                        $15,681.89
SAND HILL PORK                                                       $14,904.32
UPLAND PORK                                                          $14,836.07
RENDLAW HOG FAR                                                      $14,642.01
DANA SCOTT FARMS                                                     $14,459.90


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Row Labels: Producer_Name                                         Sum of NET_PRICE
CHAD W ARENDS                                                        $14,278.35
INDIAN CRE ENTERPRIS                                                 $14,134.62
KENT FEED INC                                                        $14,112.82
HOG MARKET CITY                                                      $14,099.32
LYNN'S FARM ACC                                                      $13,927.04
RON OELLING                                                          $13,800.73
ANDERSON FARMS                                                       $13,689.09
JAMES KLEINHENZ                                                      $13,625.63
RED ROCK HOLDIN                                                      $13,443.83
DON BLOES                                                            $13,433.64
HORD LIVES CO INC                                                    $13,403.48
TOM KASEL                                                            $13,392.26
HORD FAMIL FARMS LLC                                                 $13,047.73
G AND G PORK                                                         $13,005.37
HPD PORK INC                                                         $12,998.84
WALNUT CREST AC                                                      $12,843.50
OOLMAN PORK LLC                                                      $12,699.45
S & C PORK INC                                                       $12,689.28
CHRIS SAUER                                                          $12,632.81
PIG HILL CO                                                          $12,628.56
HAHN LIVESTOCK                                                       $12,548.14
PATRON FARMS LT                                                      $12,514.24
WHITE SHIR LLC                                                       $12,457.25
TOBY STRAYER                                                         $12,254.20
BIO TOWN AG INC                                                      $12,250.79
RICK NEUVIRTH                                                        $12,161.40
HOG MARKET ATKINSON                                                  $12,133.63
BLACK OAK ENTERPRISE                                                 $12,118.99
CO ALLIANCE LLP                                                      $12,020.78
BERG PORK FARMS                                                      $12,013.53
SOUTH PORK FEED                                                      $12,001.87
GROTH PORK                                                           $11,979.02
RJS ENTERPRISES                                                      $11,832.94
SILVER RID HOG FARM                                                  $11,807.49
CORYA PORK FARM                                                      $11,803.32
MAPLE CREEK PIG                                                      $11,788.46
EQUITY COO LVSTK SAL                                                 $11,737.05
BROWN LAND CORP                                                      $11,601.22
ESH‐LLC                                                              $11,564.55
PURDUE UNIVERSI                                                      $11,548.12
DAN GOSCH                                                            $11,479.26
O'NEILL FINISHE                                                      $11,444.66
HIGHWAY FARMS I                                                      $11,368.64
JOHN WILLSON                                                         $11,333.28
WAYNE TOWNSEND                                                       $11,272.45
HOG MARKET ‐ RA                                                      $11,270.25
RICH PORK FARM                                                       $11,187.62
G & W GRAI LIVESTOCK                                                 $11,175.23
LARRY SKILES FARM IN                                                 $11,019.83
F L F LTD                                                            $10,817.19
CLIMAX LLC II                                                        $10,814.97
CRONIN PORK LTD                                                      $10,789.74


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Row Labels: Producer_Name                                         Sum of NET_PRICE
PAUSTIAN ENTERP                                                      $10,788.61
ROCO FARMS                                                           $10,763.52
SWINFORD FARM I                                                      $10,758.21
C & R PORK                                                           $10,722.97
GORDON LOCKIE                                                        $10,689.17
TOP LINE INVEST                                                      $10,667.70
PRAIRIE PORK IN                                                      $10,648.43
LONG & HUFFORD                                                       $10,562.81
FIEDLER FI LLC                                                       $10,536.36
LARRY BORROWMAN FARM                                                 $10,483.43
YBM INC                                                              $10,361.59
K WEBB                                                               $10,359.73
HAUDER & MARTIN                                                      $10,306.57
BRUCE STANTON #2                                                     $10,258.99
LEMAN FARM FINISHING                                                 $10,230.94
JAM FARMS                                                            $10,150.50
BRUMMER PORKERS                                                      $10,051.53
D & B MENNEN LP                                                      $9,972.12
PRAIRELAND PORK                                                      $9,696.59
DENNIS FRIESE                                                        $9,688.28
KEITH ROTTINGHAUS #1                                                 $9,628.45
F & H PORK                                                           $9,508.50
HOG MARKET ‐ TR                                                      $9,437.93
SIOUX FEED CO                                                        $9,389.20
JAY SENSENIG                                                         $9,269.50
SOUTHEAST IA PO                                                      $9,249.59
J M J LIVESTOCK                                                      $9,222.52
BOB (50% W HICKS                                                     $9,188.14
WABASH PORK LLC                                                      $9,172.86
HERMITAGE‐NGT                                                        $9,105.93
PETTISVILLE GRA                                                      $9,023.93
COREY AGRI INC                                                       $9,012.65
HOG MARKET ‐ JO                                                      $8,963.33
M & G FINISHERS                                                      $8,922.93
MHF OF FRE CNTY INC                                                  $8,877.22
DIRCKS FARMS IN                                                      $8,853.72
CARSTENS L INC                                                       $8,793.11
CENTER PORK LC                                                       $8,782.87
SCHLICHTING FAR                                                      $8,733.73
B‐4 FARMS                                                            $8,700.07
FARMERS CO PREMIER P                                                 $8,676.50
OSTLIE INC                                                           $8,671.21
PORK CHAMP                                                           $8,633.28
HIGHPOINT LTD                                                        $8,618.25
GROBER FARMS IN                                                      $8,603.31
WOLINE FARMS IN                                                      $8,602.15
J & V PROBST PORK IN                                                 $8,596.04
MARK LUKAVSKY                                                        $8,505.87
LRV FARMS                                                            $8,504.96
LUKES BROS                                                           $8,488.27
CAIRO PORK                                                           $8,487.90
HAVEL PORK FARM                                                      $8,472.78


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Row Labels: Producer_Name                                         Sum of NET_PRICE
HAMLAND ACRES I                                                      $8,438.15
NEXT GENER PORK LLC                                                  $8,412.22
SHADY GROVE FAR                                                      $8,411.68
SOUTH PORK %TOM JOHA                                                 $8,403.49
JIM DOUGLAS                                                          $8,401.52
DOUG POHLMAN                                                         $8,401.36
MARLA CONLEY                                                         $8,328.94
BRIAN DUNCAN                                                         $8,313.82
GEORGE ELEVATOR                                                      $8,298.72
KALMBACH P FINISHING                                                 $8,294.83
KEVIN ROSS                                                           $8,286.16
PRODUCTION PARTNERS/                                                 $8,270.95
GRODAHL FARMS I                                                      $8,216.16
ROBERT COOK                                                          $8,155.27
SANGAMON P PORK                                                      $8,107.06
MYRON A SMITH                                                        $8,061.97
GILMORE CU FEEDING L                                                 $7,991.11
GOURLEY BROTHER                                                      $7,946.43
BRUCE STANTON                                                        $7,939.52
   DEAN PREISTER                                                     $7,896.06
WHITE TAIL LLC                                                       $7,844.64
TODD ELLIOTT                                                         $7,752.32
CONDRAY FARMS I                                                      $7,662.56
BUDKE FARMS LC                                                       $7,616.40
SCHOTT FAMILY F                                                      $7,580.87
ISONET                                                               $7,567.46
BILL KRUSE                                                           $7,536.35
T L SNYDER INC                                                       $7,523.13
DAVID L SCHULTZ                                                      $7,520.39
ROGER STAMP                                                          $7,515.29
QUAIL CREEK                                                          $7,489.42
PEDIGREE PORK                                                        $7,488.30
MARS FARMS INC                                                       $7,434.36
JIM HULTGREN                                                         $7,377.49
FIECHTER F LIVESTOCK                                                 $7,315.89
DOUGLAS FEEDERS                                                      $7,314.60
MORGAN HILL INC                                                      $7,308.33
R J PORK LTD                                                         $7,295.63
V Z HOGS LLP                                                         $7,234.62
DANBRED PROD PR                                                      $7,186.82
SALSBERY P PRODUCERS                                                 $7,182.44
MOSS FARMS INC                                                       $7,160.64
BENTDALE FARMS                                                       $7,136.59
MAPLEWOOD LLC                                                        $7,109.10
DUANE KRUCKENBERG                                                    $7,094.13
MCPHILLIPS BROS                                                      $7,078.24
CEDAR RIDGE FAR                                                      $7,074.96
SCOTT SWIN FARMS INC                                                 $6,899.06
FEHR FEHR COUNTRYSID                                                 $6,875.38
RIDGEVIEW PORK                                                       $6,823.76
DALE SVEHLA                                                          $6,810.36
PAUL RENTSCHLER                                                      $6,771.99


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Row Labels: Producer_Name                                         Sum of NET_PRICE
RIPBERGER FARMS                                                      $6,766.29
LEWIS PORK FARM                                                      $6,735.22
WOLF L & G FARM                                                      $6,725.48
A K STOCKFARMS                                                       $6,696.53
ORWIG INC                                                            $6,694.54
LEADING EDGE PO                                                      $6,651.31
K PORK                                                               $6,535.52
STEWART PRAIRIE                                                      $6,531.72
LYLE TEGELS (SCHRAM                                                  $6,494.19
BILL BABEL                                                           $6,480.48
BLOOMING PRAIRI                                                      $6,474.20
JOHNSON‐PATE PO                                                      $6,455.57
MOSHER BROTHERS                                                      $6,437.70
M W FARM INC                                                         $6,420.50
SPERRY UNI STORE INC                                                 $6,364.28
WM DUMOULIN                                                          $6,333.84
N & M BECKMAN FARMS                                                  $6,320.08
RON HEMESATH                                                         $6,317.11
AARON GRESS                                                          $6,309.49
FARMERS CO ELEVATOR                                                  $6,306.28
W HIGH FARM #1                                                       $6,286.25
NORTH WIND PORK                                                      $6,245.96
TYSON FOODS INC                                                      $6,220.47
MOELLER FARMS L                                                      $6,175.79
C & K PORK                                                           $6,153.30
STOE CREEK SWIN                                                      $6,130.21
H & B PORK INC                                                       $6,129.09
MARIA STEIN GRAIN                                                    $6,121.16
MONARCH PORK LL                                                      $6,117.67
WEBSTER CO PRODUCTIO                                                 $6,113.54
SHAUN GREINER                                                        $6,095.30
MARK BECKER                                                          $6,092.74
TRIPLE T FARMS                                                       $6,092.05
STATELINE COOP                                                       $6,080.80
INTERSTATE SWIN                                                      $6,080.43
REICKS VIEW FAR                                                      $6,072.69
KRUSE FARMS                                                          $6,064.17
SALOMONIE WHITE                                                      $6,020.22
DONOVAN & SONS                                                       $6,015.63
RIVER VALLEY CO                                                      $6,007.75
WYOMING PR FARMS LLC                                                 $6,007.62
KEN COOK BROS LTD                                                    $5,994.69
ERNEST MOHLIS                                                        $5,965.80
HIGHLAND PORK                                                        $5,936.15
MYERS BROTHERS                                                       $5,921.23
DARYL RUFF                                                           $5,915.36
ESTA RAASCH                                                          $5,906.11
BENDER FARMS IN                                                      $5,904.36
VI‐JAN FARMS                                                         $5,876.08
FARM INC PRECISION P                                                 $5,875.66
BUSCH HOGS                                                           $5,866.74
NEW HORIZO LLP                                                       $5,851.83


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Row Labels: Producer_Name                                         Sum of NET_PRICE
HAYNES DAI INC                                                       $5,823.26
GERALD JOHNSON                                                       $5,817.07
BRENELM FARMS L                                                      $5,813.85
BACHMAN PORK                                                         $5,813.53
KEITH REGNIER                                                        $5,808.14
HUBER CROP CHOPS INC                                                 $5,746.91
DAVID OBER HOOVER                                                    $5,731.73
MARK & JIM HANSEN                                                    $5,711.76
TOP NOTCH PIGS                                                       $5,705.62
TOD DOOLITTLE                                                        $5,701.50
MCGUIRE HAMP FA                                                      $5,686.38
ROB HOFMEYER                                                         $5,676.18
ALLEN BROS                                                           $5,667.76
GORDON FARMS IN                                                      $5,613.08
GARY STOVER                                                          $5,594.53
RANDY HUENINK                                                        $5,564.03
PROFIT PORK LLC                                                      $5,555.73
K‐L GENT INC                                                         $5,540.35
LANCE KNOBLOCH                                                       $5,527.30
PENNILESS CORP                                                       $5,527.07
DIAMOND Z FARMS                                                      $5,519.46
R B SWINE INC                                                        $5,489.76
GARY OR BE TRESKA                                                    $5,487.78
K B Q INC                                                            $5,464.93
KEESECKER BUSINESS                                                   $5,449.18
LARRY ALLIGER                                                        $5,436.31
FAIRHOLME FARMS                                                      $5,432.94
SCHUMACHER BROT                                                      $5,406.28
WILHOITE F FARMS                                                     $5,381.17
KAL FARMS                                                            $5,373.27
LARRY ZOBEL                                                          $5,364.21
ROGER ESLICK                                                         $5,334.75
MARLIN BRENNEMAN                                                     $5,309.21
KKK FARMS                                                            $5,308.65
LEE BADER                                                            $5,295.56
PASVOGEL & SON                                                       $5,294.07
THEIS FARMS                                                          $5,282.87
OSWEILER FARMS                                                       $5,279.92
OWL LAKE PRODUC                                                      $5,275.25
BROCKMANN BROTH                                                      $5,218.58
BONE STEEL INC                                                       $5,209.96
GENE DORN                                                            $5,208.55
DAN WASKOW/#111393‐                                                  $5,197.98
BRAD STEVERMER                                                       $5,158.98
WEBER ENTE INC                                                       $5,154.42
K8 FARMS INC                                                         $5,144.79
SCHWARTZ FARMS                                                       $5,132.08
STEVE HILLESHEIM                                                     $5,123.16
LARRY FREY FARMS                                                     $5,119.17
JUST E FARMS LL                                                      $5,111.27
PETER &/OR KANN                                                      $5,110.61
SUNNYCREST INC                                                       $5,055.53


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Row Labels: Producer_Name                                         Sum of NET_PRICE
PRAIRIE LA FARMS INC                                                 $5,018.79
ANIMOD                                                               $4,993.71
ROTH & THI FEEDERS L                                                 $4,992.20
PHOENIX AGRITEC                                                      $4,991.01
MONTEREY ENTERP                                                      $4,981.81
JENNY MUNDELL                                                        $4,975.45
BETTER NUT & PINNACL                                                 $4,938.95
BILL SCHMITZ                                                         $4,923.33
TED CROWEL                                                           $4,915.05
ALLEN GERMAN                                                         $4,908.29
C M L FARMS                                                          $4,906.21
MARK LEDGER                                                          $4,904.73
D & L GARBER FARMS I                                                 $4,879.93
GREGOIRE FARMS                                                       $4,869.22
SPRUCE AVE FARM                                                      $4,848.77
TOFT INC                                                             $4,818.80
GRANT L DIEKEVERS                                                    $4,813.74
VAN BOEKEL FARM                                                      $4,808.60
NEIL CUPERUS                                                         $4,807.54
DELPERDANG FARM                                                      $4,806.50
PREFERRED HOG                                                        $4,797.96
NOTHEM BROTHERS                                                      $4,792.94
BABCOCK SWINE I                                                      $4,781.49
TOM KREMMIN                                                          $4,768.76
DAN & JOHN BERDO                                                     $4,767.30
INDIAN CREEK EN                                                      $4,756.93
FRUCHTENIC FRUCHTENI                                                 $4,749.89
MARCHINO BROTHE                                                      $4,749.44
FRED JAMINET                                                         $4,748.43
D K FARMS INC                                                        $4,747.10
JACK BABEL                                                           $4,744.19
T & M STAFFORD                                                       $4,725.81
SLEEZER INC                                                          $4,721.68
KROHN PORK                                                           $4,720.68
BRIAN BECKWITH                                                       $4,717.30
J P P PORK INC                                                       $4,715.40
JIM HINKLEDYE                                                        $4,686.72
GARY MIHM FARMS                                                      $4,681.68
PORCINE LLC                                                          $4,679.04
BARTLING B ENTERPRIS                                                 $4,663.94
SCOTT STURTEVANT                                                     $4,640.87
VALLEY PORK LLP                                                      $4,612.13
FACCENDIERE LLC                                                      $4,590.56
TROY EASTERDAY                                                       $4,586.61
HOGAN BROTHERS                                                       $4,584.05
KORUS BROTHERS                                                       $4,582.91
S A & K L SKILES INC                                                 $4,569.84
LOGAN M PATTERSON                                                    $4,567.41
DENNIE MAPLE #1                                                      $4,525.87
KW PORK                                                              $4,522.36
SANDS FARM                                                           $4,501.67
KREGEL FARMS IN                                                      $4,498.04


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Row Labels: Producer_Name                                         Sum of NET_PRICE
HANS FARM                                                            $4,476.60
DALE FARMS INC                                                       $4,474.64
RANDY BEER                                                           $4,466.32
PINNACLE G LLC                                                       $4,463.79
SGBSM                                                                $4,454.74
ROY PLAGGE                                                           $4,446.67
GETHSEMANE FARM                                                      $4,428.92
MSJM                                                                 $4,418.46
BART JACOBSON                                                        $4,416.47
RANROSE FARMS                                                        $4,415.24
CHAMBERS FARM I                                                      $4,413.07
LOREN SCHOENROCK                                                     $4,402.23
SMOKEY RIDGE FD                                                      $4,401.57
RON & CAME MULDER                                                    $4,391.87
SIMMERMON FARMS                                                      $4,360.11
JAMES THOMA                                                          $4,353.69
MEYER STOCK FAR                                                      $4,335.59
JODY MEINERS                                                         $4,335.35
MILLER & SONS                                                        $4,330.36
GORSKI BROS                                                          $4,316.84
POPPE FARMS                                                          $4,315.41
PRIME PORK                                                           $4,312.15
SELDOM RES FARMS LLC                                                 $4,307.91
ART & DON BENDA                                                      $4,304.43
FREDERICK FARM                                                       $4,288.09
TPG PSMC C                                                           $4,253.31
DUANE PETERSEN                                                       $4,251.34
TRIPLE S FARMS                                                       $4,251.26
TRICO PORK LLC                                                       $4,250.69
KENNETH BURKHOLDER                                                   $4,248.97
HANSEN FARMS                                                         $4,231.45
JIM DOLAN                                                            $4,223.02
CANDAK FARMS IN                                                      $4,220.19
HEATER & SONS                                                        $4,200.92
ALVINE FARMS LT                                                      $4,192.54
KOHL FAMILY FAR                                                      $4,190.45
DACO FARMS                                                           $4,184.50
H E TRETTIN INC                                                      $4,174.21
TOP GRADE LLC                                                        $4,173.20
HAROLD LANTOW                                                        $4,170.84
LYLE HERCHENBACH                                                     $4,169.95
L & S PETERS FARMS                                                   $4,169.34
DOUG SHALLA                                                          $4,167.59
LARRY A MILLER                                                       $4,150.43
STAN ZYLSTRA                                                         $4,148.94
HORA & SONS                                                          $4,128.03
ARNDORFER BROTH                                                      $4,112.09
RANDALL L REILING                                                    $4,108.39
BEENY PORK FARM                                                      $4,099.38
HOG MARKET BURLINGTO                                                 $4,075.92
ALAN INVESTMENT                                                      $4,065.60
J L CRUM FARMS                                                       $4,060.96


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Row Labels: Producer_Name                                         Sum of NET_PRICE
KENT ERICKSON                                                        $4,059.77
MIKE RADKE                                                           $4,047.66
JAMES MILLER                                                         $4,045.06
LEMAN FARMS FIN                                                      $4,023.53
STEFFEN FARMS                                                        $3,990.61
AUTUMN ROSE                                                          $3,984.72
RANDALL DOLEZAL                                                      $3,982.66
SOO MOR PORK LC                                                      $3,970.49
DUDDEN FARMS                                                         $3,962.52
CREEKSIDE FARMS                                                      $3,961.29
J & T LAIDIG FARMS                                                   $3,956.50
PRESTAGE F MS INC                                                    $3,954.56
LEHE FARMS                                                           $3,936.39
DOBZS FARMS                                                          $3,923.94
SOUTHWEST PORK                                                       $3,912.84
YOUNG FAMILY FA                                                      $3,906.84
GENE MAVES                                                           $3,903.33
BILL/BRAD WALK                                                       $3,901.54
FROHARDT BROTHE                                                      $3,895.15
CHAMBERS FARMS                                                       $3,890.91
PHIL & MER BORMANN                                                   $3,889.77
SARCHET FARMS I                                                      $3,889.52
RICK PHILLIPS                                                        $3,881.33
HOG MARKET ‐ WI                                                      $3,880.59
R C F W LLC                                                          $3,873.28
LORAS BOGE FARM                                                      $3,849.12
ROBERT FITZSIMMONS &                                                 $3,847.95
MABELA FARMS                                                         $3,845.09
TED GOETTL                                                           $3,842.71
FRED ABBRING                                                         $3,835.75
WILLSON FA FARM INC                                                  $3,835.61
LOREN BROBERG                                                        $3,835.51
MEUNERIE N (1990) LT                                                 $3,831.08
F ELIZABET MILLER                                                    $3,830.05
COUNTRY VI INC                                                       $3,826.39
BILL BEIERSCHMITT                                                    $3,822.01
D CRYDERMAN FARMS                                                    $3,816.04
GREEN ROOF PORK                                                      $3,794.92
LYLE TEGELS (DARWYN                                                  $3,791.86
TOSH FARMS                                                           $3,785.14
MOSER BROTHERS                                                       $3,784.66
H C FEEDERS INC                                                      $3,782.59
LAWRENCE F SERVICE I                                                 $3,777.17
KANSAS SELECT P                                                      $3,776.81
PRAIRIELAN PRODUCERS                                                 $3,771.96
SHEFFEY FARMS I                                                      $3,716.98
DEAN PREISTER                                                        $3,715.81
N & W FARMS INC                                                      $3,709.89
ROBERT J MCCONNELL                                                   $3,707.53
BRYON HOOK                                                           $3,698.77
RAY ALLAN MACKEY                                                     $3,678.97
B G & K FARMS I                                                      $3,678.35


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Row Labels: Producer_Name                                         Sum of NET_PRICE
KOOIMA FARMS IN                                                      $3,671.54
GENE WALLIN                                                          $3,646.56
PAULSON PORK                                                         $3,633.83
TIMBER CLAIM LV                                                      $3,627.43
SCHNEIDER FARMS                                                      $3,623.76
DAVE DEBOER FARM INC                                                 $3,616.34
RJ PORK                                                              $3,615.89
G & B LIVESTOCK                                                      $3,614.15
FAITH FARM INC                                                       $3,613.00
GETZ FARM                                                            $3,611.35
FOR‐C PORK FARM                                                      $3,608.72
R W T FARMS INC                                                      $3,602.53
TWO BAR RANCH I                                                      $3,595.65
FRANCIS SAND                                                         $3,588.89
ROD WILLIAMS                                                         $3,577.60
FLYING EAGLE IN                                                      $3,568.03
MONROE GRAIN                                                         $3,558.09
L G M FARMS                                                          $3,553.34
SANDERS FARMS                                                        $3,550.33
T L S FARMS INC                                                      $3,538.72
R L R INC                                                            $3,534.87
HILL & SON INC                                                       $3,531.99
TMT GREEN ACRES                                                      $3,523.11
L & S MONOGHAN FARMS                                                 $3,522.18
LARRY MEADOR                                                         $3,508.14
WILCO FARMS LTD                                                      $3,506.43
FARM & FEEDERS                                                       $3,495.09
MIKE CARLSON                                                         $3,489.29
JOURNEY FARMS I                                                      $3,485.88
TOM RUNCK                                                            $3,484.20
BUSH FARMS                                                           $3,469.45
SCHMIDT FAMILY                                                       $3,460.09
BIG SKY FARMS I                                                      $3,440.28
HUBER HOGS HEADACHES                                                 $3,413.58
HARRY KURTENBACH                                                     $3,407.55
DOUG B RECK                                                          $3,403.18
NICK SHALLA                                                          $3,402.61
MOCO PARTNERSHI                                                      $3,400.17
BEN RECK                                                             $3,397.18
HOG MARKET‐ATKI                                                      $3,394.97
MORRIS YODER                                                         $3,381.68
KLINGER ACRES                                                        $3,378.77
SAMUELSON & SON                                                      $3,377.16
KLEAVELAND BROS                                                      $3,371.48
HARRY DRISCOLL                                                       $3,370.68
H & K ENTERPRIS                                                      $3,368.35
DARRELL SPRINGER                                                     $3,365.44
DAVE ARENS                                                           $3,354.58
JIM MICHALKE JR                                                      $3,349.94
ONTARIO PORK                                                         $3,343.81
JANING PORK                                                          $3,341.64
KRUSE BROTHERS                                                       $3,340.77


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Row Labels: Producer_Name                                         Sum of NET_PRICE
GORDON KUZNIA                                                        $3,333.92
KIETH DACHEL                                                         $3,332.65
CENTRAL PORK LL                                                      $3,313.92
TOM STEWART                                                          $3,310.33
RUSSELL SCHELKOPF FA                                                 $3,290.35
M & M FAMI FARMS LLC                                                 $3,288.75
L & R PORK                                                           $3,283.17
RANDY BOEDEKER                                                       $3,272.03
%DARIN LAR LARSON BR                                                 $3,261.52
LOWELL FREED                                                         $3,259.56
C B L FARM                                                           $3,247.02
RANDY EDMUND                                                         $3,238.05
HAVECA FARMS                                                         $3,217.64
HENRYS LTD                                                           $3,212.84
RANDY SENNERT                                                        $3,211.07
ARDEN WITTROCK                                                       $3,202.55
DENNIS JOHNSON                                                       $3,196.28
REINER FARMS                                                         $3,195.69
FAUST BROTHERS                                                       $3,194.58
GENE BRUMMER                                                         $3,194.28
PERRY LIVESTOCK                                                      $3,191.88
BECKMAN FARMS I                                                      $3,190.77
JOE VOGEL                                                            $3,181.77
ROLLING HILLS P                                                      $3,178.03
KALMBACH KP                                                          $3,170.12
ARTHUR GILT FARMS LL                                                 $3,129.08
FOUL‐AIR ACRES                                                       $3,127.08
CRAIG R WILGENBUSCH                                                  $3,117.20
SCHULTZ FARMS I                                                      $3,107.80
SIDNEY MURPHY                                                        $3,090.17
J & J PIG                                                            $3,081.97
SIGNATURE PORK                                                       $3,078.44
TRACY FAITH                                                          $3,075.46
4 NELSON FARMS                                                       $3,072.79
KILMER SWINE                                                         $3,071.44
JIM POHLEN                                                           $3,069.37
STALOCH BROTHER                                                      $3,065.66
ROGER LOHMEYER                                                       $3,054.43
JERRY & LI KORFE                                                     $3,053.29
KEITH & GAIL IN                                                      $3,049.99
METZ FARMS LTD                                                       $3,042.50
STEVE MINER                                                          $3,032.33
MIKE KNAPKE(#2)                                                      $3,031.60
HUSKER FEEDERS                                                       $3,029.03
OAK GROVE FARMS                                                      $3,028.18
WAYNE SCHUBERT                                                       $3,020.15
WYNLAND PORK                                                         $3,013.68
KEVIN FISCHER                                                        $3,008.19
HAMCO                                                                $3,006.19
LARSON BRO INC                                                       $3,003.42
ALLEN & SONS                                                         $2,997.11
JJP INC                                                              $2,995.13


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Row Labels: Producer_Name                                         Sum of NET_PRICE
O W C PORK                                                           $2,993.34
PHIL THOMA                                                           $2,988.27
TONY HOFFMANN                                                        $2,984.55
MARTIN VOORHEES                                                      $2,982.24
GALEN RENNER                                                         $2,980.41
TRENT AYRES FARMS                                                    $2,976.68
LARRY NEES                                                           $2,970.82
ANDERSON SWINE                                                       $2,968.85
DEAN & SANDRA I                                                      $2,958.08
DENNIS FOERTSCH                                                      $2,955.34
SNS AG INC                                                           $2,943.99
RON BURNS                                                            $2,942.46
RONALD FULLER FARM I                                                 $2,937.47
ED WALK                                                              $2,936.43
C BENDER FARMS IN                                                    $2,930.52
GARY WITTE                                                           $2,926.62
K & F FARMS INC                                                      $2,924.31
BLUE MEADOW FRM                                                      $2,921.07
OCHS FARM                                                            $2,918.63
SHAFFER GENETIC                                                      $2,916.07
MIKE BASTIAN                                                         $2,901.58
KIRBY FARMS INC                                                      $2,898.86
RIVERVIEW FARMS                                                      $2,892.73
ARENS FARM INC                                                       $2,888.90
DOUBLE T & GRAIN INC                                                 $2,886.54
TOM FLORA                                                            $2,879.66
MICHAEL TOELLE                                                       $2,878.81
M & B FARMS INC                                                      $2,876.48
JOHN WIESE                                                           $2,876.06
STEPHENSON FARM                                                      $2,867.48
TIM REDDING                                                          $2,866.67
MYRON FALLER                                                         $2,865.49
MCMILLAN BROS                                                        $2,862.88
THRELKELD FARMS                                                      $2,862.52
BRENT BEER                                                           $2,859.88
JONES FAMI FARM INC                                                  $2,856.92
MULLIS HOG FARM                                                      $2,853.35
WILLIAM J LOUTSCH                                                    $2,853.22
JIM MILLER                                                           $2,850.61
KENDALL & SONS                                                       $2,849.65
STEVE J HOKE                                                         $2,847.07
STRAUEL FARMS                                                        $2,832.58
RAKR FARMS INC                                                       $2,826.72
MIKE ENABNIT                                                         $2,822.53
CROFTON PIG EAS                                                      $2,820.34
STEVEN L OSBORNE                                                     $2,820.24
BEMIDJI SOUTH P                                                      $2,819.42
DAVE TILSTRA                                                         $2,818.21
PECHOUS ED                                                           $2,815.91
NELSON BROTHERS                                                      $2,813.53
   ROBER ZOBEL                                                       $2,812.13
FOHNE INC                                                            $2,804.52


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Row Labels: Producer_Name                                         Sum of NET_PRICE
DAN OR VIC CLARK                                                     $2,796.89
JACOBI FARMS                                                         $2,793.96
MARK ORTMAN                                                          $2,793.36
N C M INC                                                            $2,791.71
KUHN LIVESTOCK                                                       $2,788.71
CRAIG BENJEGERDES                                                    $2,787.54
KRIEG PORK INC                                                       $2,786.78
BRYAN BRITT                                                          $2,785.85
DON WEDEKING & SON                                                   $2,784.75
FRANK WYATT & SONS F                                                 $2,775.90
DWIGHT MILLER                                                        $2,774.66
%BRAD SMOC MIAMI POR                                                 $2,771.66
KEVIN WOLFSWINKEL                                                    $2,764.05
MADISON BE LLP                                                       $2,756.25
DUTCH PRAIRIE F                                                      $2,751.90
GENETIPORC USA                                                       $2,747.18
KUIKEN BROS INC                                                      $2,737.22
DWIGHT GALLOWAY                                                      $2,733.85
CURTIS R JONES                                                       $2,729.78
DAVID GLUNT                                                          $2,727.88
RON CASH                                                             $2,712.56
BEECHER FARMS                                                        $2,710.27
BEATTY & SONS                                                        $2,703.41
HAMMEN INC/M E                                                       $2,702.69
JOHN SLOOT INC                                                       $2,701.96
ALAN SEIL                                                            $2,700.85
TOM BOUGGER                                                          $2,699.10
P 26                                                                 $2,698.30
UNION FARMS                                                          $2,697.78
LEROY MILLS JR                                                       $2,689.11
RICHARD HOEHN                                                        $2,688.22
JOHN NIELSEN                                                         $2,687.81
SOMERSET FARMS                                                       $2,685.32
HOLLY KJERGAARD                                                      $2,682.09
RINGGER FARMS                                                        $2,679.21
JOLISA BOMBEI                                                        $2,679.12
DEAN WALKER                                                          $2,665.29
MERLIN KOPMANN                                                       $2,664.54
LANZ BROTHERS                                                        $2,657.74
NATE CHALUPA                                                         $2,650.59
SPOELSTRA FARMS                                                      $2,648.13
PAT GANNON                                                           $2,642.12
MICHAEL PFEIFFER                                                     $2,640.74
LEHMAN BROS                                                          $2,635.46
ELDON(SPLI BENTS                                                     $2,635.40
MINER CO FEEDER                                                      $2,634.44
STANLEY (5 STENSRUD                                                  $2,632.52
MERTEN FARMS                                                         $2,631.94
GRINDE FAM LLC                                                       $2,631.75
COUNTRY LA FARMS INC                                                 $2,630.50
VFC                                                                  $2,629.96
KYLE DUDDEN                                                          $2,629.01


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Row Labels: Producer_Name                                         Sum of NET_PRICE
DISSELHORST BRO                                                      $2,624.63
DWIGHT LOSEKE                                                        $2,622.20
OUTBACK FIVE                                                         $2,620.16
OAK RIDGE FARMS                                                      $2,612.52
HAROLD N LAWSON                                                      $2,612.07
DENNIS JENSEN                                                        $2,606.23
TRIPLE M FARMS                                                       $2,600.24
DAVIS AG LLC                                                         $2,599.34
GARY WESSELS                                                         $2,596.00
CRAIG BATCHELER                                                      $2,587.11
OREN STAHL                                                           $2,586.06
KEN LEUTHOLD                                                         $2,583.59
HOLTKAMP CORP                                                        $2,581.96
OATHOUDT PORK                                                        $2,580.83
GREG SABATA                                                          $2,575.51
LEE OELMANN                                                          $2,573.63
PROBST GRA & LIVESTO                                                 $2,571.58
JOHN BAGGE                                                           $2,560.90
RECKAMP FARMS                                                        $2,556.02
H & K LIVESTOCK                                                      $2,554.45
JR JINDRA FARMS IN                                                   $2,553.93
DGS INC                                                              $2,552.51
REIS AG LTD                                                          $2,547.22
TERRY WALTNER                                                        $2,546.07
WILLIAM TENTINGER                                                    $2,544.93
GARY MILLER                                                          $2,541.24
KEITH & GA SIEBRECHT                                                 $2,535.22
ARHLIS & D LUCHT                                                     $2,535.22
J C BUCK FARMS INC                                                   $2,534.99
LONNY HAHN                                                           $2,531.83
BROUGHTON BRO J                                                      $2,525.36
TODD PAPENBERG                                                       $2,523.69
PASCHEN FARMS                                                        $2,523.45
BRUCE KOOIMA                                                         $2,522.05
MEIER FAMILY FA                                                      $2,515.18
SCHUG FARMS                                                          $2,513.26
LARRY PIDGEON                                                        $2,495.21
MARK MAXWELL                                                         $2,494.76
DAVID HULSTEIN                                                       $2,493.86
R L D FAMILY FA                                                      $2,493.36
DEBATIN FARM LT                                                      $2,486.52
ACTION PIG CO                                                        $2,474.77
GREENFIELD PORK                                                      $2,473.01
WRIGHT GRA LIVESTOCK                                                 $2,471.74
MARK BUTCHER                                                         $2,470.94
E L P & CO                                                           $2,469.35
B & T FARMS                                                          $2,469.32
NICK EIKE                                                            $2,465.75
SID PETERSON                                                         $2,465.42
NEW YORK FINISH                                                      $2,462.62
PAUL JAQUET                                                          $2,461.54
LITTWILLER                                                           $2,459.40


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Row Labels: Producer_Name                                         Sum of NET_PRICE
DAVID SHERRICK                                                       $2,455.56
S G SWINE LLC                                                        $2,451.27
RON HATHAWAY                                                         $2,450.78
BRIAN RUPP                                                           $2,448.71
FEEDERS LL ROTH & TH                                                 $2,447.53
VANDER HEI & LIVESTO                                                 $2,445.54
LAUFENBERG WAUNAKEE                                                  $2,444.13
LEONARD BURKHOLDER                                                   $2,439.81
TROY STILLE                                                          $2,439.47
BRENT SCHOLL                                                         $2,438.05
JOHN OR TO BERNS                                                     $2,437.27
M L M LIVESTOCK                                                      $2,433.14
LAWRENCE MUMMAU                                                      $2,424.42
MIKE BRUMMER                                                         $2,414.86
BILL H LUCKEY                                                        $2,414.59
MARC MELTON                                                          $2,407.52
PINNACLE GENETI                                                      $2,406.11
CAYMAN CREEK IN                                                      $2,404.05
KAEHR AG INC                                                         $2,402.86
MERTENS FARMS I                                                      $2,401.39
DWIGHT KERN                                                          $2,398.99
RYAN 2/3 RIEKEN                                                      $2,397.24
ROGER & DA BUCHHOLZ                                                  $2,396.99
STEVEN BECKER                                                        $2,396.02
JOHN FRITZ                                                           $2,394.33
MILL FARMS INC                                                       $2,386.30
R L P D R L INC                                                      $2,385.55
LARRY JANSSEN                                                        $2,383.90
FLAHERTY F HOG ACCOU                                                 $2,379.69
ROGERS POR OF IA LTD                                                 $2,372.99
EIDMAN'S S LAWN FARM                                                 $2,372.80
JERRY STOLTENBERG                                                    $2,368.26
RICK REDMAN                                                          $2,366.70
A T Y FEEDER PI                                                      $2,362.78
DENNIS LILJEDAHL                                                     $2,359.11
GLENN BELLER                                                         $2,352.66
HOG HAVEN                                                            $2,346.34
HAKE BROTHERS                                                        $2,344.66
HOWARD STEFFENSMEIER                                                 $2,343.65
RONNIE SULLIVAN                                                      $2,342.93
G T AGRI PORK                                                        $2,337.97
E & K FARMS INC                                                      $2,331.14
SCHMIDT FA FARMS                                                     $2,326.56
ADRIAN FOECKE & SONS                                                 $2,324.69
RANDY SCHARN                                                         $2,320.13
SUNRISE FARMS                                                        $2,312.57
DAVID HELLENBRAND                                                    $2,308.83
DAVE GEMMER                                                          $2,308.16
B A S E LLP                                                          $2,307.85
CHRIS CAMPBELL                                                       $2,307.70
KARL BENJEGERDES                                                     $2,298.55
RALPH GLOSEMEYER                                                     $2,293.77


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Row Labels: Producer_Name                                         Sum of NET_PRICE
GREG HAASE                                                           $2,289.23
DAN TIEFENTHALER                                                     $2,288.97
GIESLER BROS                                                         $2,285.05
DOUG SCHWARTZ                                                        $2,282.55
STECH FARMS                                                          $2,281.89
T & T FARM ALDEN INC                                                 $2,279.15
DWIGHT JACOBS                                                        $2,278.42
BRIAN YODER                                                          $2,271.56
SCOTT VANETTEN                                                       $2,266.32
WHEELER & WHEEL                                                      $2,265.69
KEN WORTMANN                                                         $2,263.00
BLOCK FARMS                                                          $2,262.53
MANDERS FARMS I                                                      $2,262.47
GREG KUHLMAN                                                         $2,258.76
PHIL MICHAEL                                                         $2,256.94
ROGER L MATEJKA                                                      $2,255.71
FIVE OAKS FARM                                                       $2,254.95
MADSEN BRO FARMS INC                                                 $2,254.74
FRANKS SUN FARMS                                                     $2,249.50
KIEL FARMS INC                                                       $2,247.79
TOP FED                                                              $2,243.53
STEVE EVANS                                                          $2,231.53
BUNKER HILL INC                                                      $2,230.93
DENNY SPARKS                                                         $2,229.09
JMD AG INC                                                           $2,228.23
RON POPPE                                                            $2,226.77
DALE & JAM MALMBERG                                                  $2,226.25
ELO FARMS INC                                                        $2,225.67
JEFF SIEREN                                                          $2,223.96
DAVID WESEMAN                                                        $2,223.74
KAUP DAIRY                                                           $2,217.57
MOLL HOG FARMS                                                       $2,216.24
MARVIN & C MUELLER                                                   $2,215.89
SUSAN KACZOR                                                         $2,215.39
A K PORK                                                             $2,214.49
EDGAR T SNYDER LTD                                                   $2,209.52
HOG MARKET ‐ BU                                                      $2,208.73
ALLEN PORK FARM                                                      $2,203.96
NICK KLUESNER                                                        $2,201.53
STEVE PAULSEN                                                        $2,201.25
BILL SCHROEDER                                                       $2,201.06
GORDON ROTH                                                          $2,200.51
JEFF & MAT OFTEDAL                                                   $2,199.94
C J M R INC                                                          $2,195.95
J & K LVSTK INC                                                      $2,193.14
ROBERT GREEN                                                         $2,189.24
TRIPLE E FARMS                                                       $2,185.84
DALE WEBER                                                           $2,184.64
K & J FARMS INC                                                      $2,182.89
JOHN WICKER                                                          $2,179.38
R & A SWEET FARMS IN                                                 $2,173.15
D C PATTEN INC                                                       $2,170.54


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Row Labels: Producer_Name                                         Sum of NET_PRICE
WHITE TAIL FEED                                                      $2,166.54
RUTHBERG FARM A                                                      $2,165.02
LARRY POWELL                                                         $2,163.55
R & F KISSEL FARMS I                                                 $2,150.34
ALLAN D WERKHEISER                                                   $2,144.72
DALE C KURTENBACH                                                    $2,140.77
KEVIN GANZ                                                           $2,136.32
EARL HASENOUR                                                        $2,133.59
AG SPECS INC                                                         $2,130.54
WENDELL GIESKING                                                     $2,128.48
MILLER ACRES IN                                                      $2,125.55
FRUCHTENICHT &                                                       $2,123.92
BLACKWELL ASSOC                                                      $2,121.81
ED LALEMAN                                                           $2,116.67
DON BATKER                                                           $2,110.29
LAWRENCE ROUW                                                        $2,101.72
MERLYN DARLING                                                       $2,099.76
RICHARD BURGERT                                                      $2,099.37
KOUT BROTHERS                                                        $2,095.98
D & L STOCK FAR                                                      $2,090.40
TROY FURRER                                                          $2,087.42
PAUL GROSS                                                           $2,087.23
LEE BATTERMAN                                                        $2,085.64
RUSSELL L RETH                                                       $2,085.09
ILLINI FARMS IN                                                      $2,073.95
MILBRAND FARMS                                                       $2,071.38
KENT HALBUR                                                          $2,068.13
RON SIBBEL                                                           $2,067.88
EDWARD C PELZER                                                      $2,063.37
KENNETH BOHM                                                         $2,059.14
TOM MONAHAN                                                          $2,058.11
ROBERT TOELLE                                                        $2,057.50
LYNN FORST                                                           $2,056.62
KRAUS FARMS INC                                                      $2,056.56
TOM BEENKEN                                                          $2,055.04
WE INC                                                               $2,052.55
PAUL'S PORK PAL                                                      $2,052.49
    COLEE DINGMAN                                                    $2,046.10
BORGMAN HO ACCOUNT                                                   $2,046.05
TURNER BROS                                                          $2,045.81
%FRANK BOA PLEASANT                                                  $2,045.64
SAM BEER FARMS INC                                                   $2,044.65
DEAN RUNYON                                                          $2,041.63
ANDERSON BROS P                                                      $2,040.78
MCSHERRY FARMS                                                       $2,037.25
SOHRE FARMS                                                          $2,032.77
MAPLE LANE FARM                                                      $2,029.06
MARC WESTERLUND                                                      $2,028.81
PETER J DEKKERS                                                      $2,027.33
GRENVIEW FARMS                                                       $2,027.12
J J FARMS INC                                                        $2,021.11
WITSAM INC                                                           $2,020.97


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Row Labels: Producer_Name                                         Sum of NET_PRICE
PORK PARTNERS                                                        $2,017.90
W A ENTERPRISES                                                      $2,011.60
CROSSMAN FARMS                                                       $2,009.05
MCKEE FARMS                                                          $2,007.19
THUNKER FARMS (                                                      $2,005.03
HARTMAN FARMS I                                                      $1,998.93
RANDY STEFFEN                                                        $1,991.96
BOB KURTENBACH                                                       $1,988.01
EAGLE FEEDERS                                                        $1,983.72
DALE TREBESCH                                                        $1,982.72
MONROE CNTY LVS                                                      $1,980.30
COLLISTER BROTH                                                      $1,979.63
L & M PORK                                                           $1,977.96
BOB VENNER                                                           $1,977.91
RICK WALK                                                            $1,971.77
ILL STATE FARM                                                       $1,969.64
FREYERMUTH FARM                                                      $1,967.64
RIVERBOTTOM POR                                                      $1,967.00
TIM TILLMAN                                                          $1,966.51
DAVE KOHLS                                                           $1,960.36
MICHAEL BETTIN                                                       $1,960.15
JIM GRIMM                                                            $1,958.82
AMY BURKHART                                                         $1,948.79
WOLF L&G FARMS                                                       $1,948.66
SVEC FARMS LLC                                                       $1,947.82
WILLSON FAMILY                                                       $1,947.54
KROP INC                                                             $1,944.49
SHAWN MINNAERT                                                       $1,943.74
RICK JOHNSON                                                         $1,941.52
PAUL VAN DONSELAAR                                                   $1,940.60
MARK BUSKOHL                                                         $1,940.59
GLEN EICKMAN                                                         $1,938.13
CHRISTENSEN BRO                                                      $1,937.09
MANTERNACH 4 L                                                       $1,936.60
LIME CREEK FARM                                                      $1,932.61
BRUCE LAUB                                                           $1,932.54
JIM ROSE                                                             $1,929.50
WYSONG PARTNERS                                                      $1,925.28
ED GINGERICH                                                         $1,924.46
RANDY HANNA                                                          $1,923.81
CANMARK FARMS                                                        $1,923.61
CRAIG STAUFACKER                                                     $1,919.21
JOSEPH JINDRA                                                        $1,918.89
LEROY SCHMIT                                                         $1,918.00
IRVIN WEBER                                                          $1,917.34
BECKER FAM FARMS INC                                                 $1,909.89
DANIEL JAEGER                                                        $1,909.77
NOAH YODER                                                           $1,909.67
GARY HUSEMAN                                                         $1,901.51
HAMMEN PORK INC                                                      $1,900.94
GEURINK FARMS                                                        $1,897.92
GREG SCHLOSSER                                                       $1,897.30


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Row Labels: Producer_Name                                         Sum of NET_PRICE
WAYNE O'CONNOR                                                       $1,895.74
LASH FARMS                                                           $1,891.73
NETTLE AVE PORK                                                      $1,890.92
ALSONS INC                                                           $1,890.34
KEVIN ORNDUFF                                                        $1,890.03
J & M FARMS INC                                                      $1,889.12
FRYTOWN PO PARTNERS                                                  $1,888.95
DAVE THEISEN                                                         $1,882.45
RON OR PAT LOVICK                                                    $1,881.81
DAVE LUBISCHER                                                       $1,881.58
LYLE TEGELS (CHARLES                                                 $1,881.31
WORDEKEMPE INC                                                       $1,879.92
ALAN KAISER                                                          $1,878.28
LONE WILLOW FAR                                                      $1,872.99
BIG VALLEY PORK                                                      $1,869.65
E & D GORDON FARMS I                                                 $1,868.58
STEVE WENDEL                                                         $1,868.57
GARY STELPFLUG                                                       $1,864.06
JEFF VAN DONSELAAR                                                   $1,862.46
RUSSELL MOSS FARMS                                                   $1,861.01
TOBY MIDDLESWORTH                                                    $1,859.57
SEBOLDT BROS                                                         $1,859.22
MIKE TOMES                                                           $1,857.09
DONALD RUSSELBURG                                                    $1,855.45
AL SPICK                                                             $1,852.97
DALE CLAUSSEN                                                        $1,851.78
STANLEY BAY FARM INC                                                 $1,849.74
BERMUDA PORK                                                         $1,845.01
ED & PAT MORMAN                                                      $1,844.54
DENNIS SPONHEIM                                                      $1,843.16
S & S FARMS                                                          $1,839.57
BUCKTHAL FARMS                                                       $1,838.32
BAUMAN FARMS                                                         $1,835.11
JASON SOWERS                                                         $1,832.80
DORAN KASEL                                                          $1,831.94
SEARFOSS CROSSB                                                      $1,831.48
BRYAN FARMS INC                                                      $1,825.58
TRI‐PORK                                                             $1,822.97
TERRY MEYER                                                          $1,816.46
MELVIN SUEPER                                                        $1,810.41
WESTRA AG INC                                                        $1,810.01
PAT MILLER                                                           $1,804.85
THE MASCHHOFFS LLC                                                   $1,799.03
PAT HEIRIGS                                                          $1,795.04
JEFF MANTERNACH                                                      $1,794.93
STEVE WIESE                                                          $1,790.42
DLB PORK LLC                                                         $1,789.55
SHORE ACRE FARMS INC                                                 $1,787.77
BOB HOLMES                                                           $1,786.81
RICH VANDEHAAR                                                       $1,785.69
SHADY OAK FARMS                                                      $1,782.63
LANE BACHMAN                                                         $1,780.51


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Row Labels: Producer_Name                                         Sum of NET_PRICE
COUNTRY PARTNER                                                      $1,778.21
GREG STUKENHOLTZ                                                     $1,777.91
M & R PORK                                                           $1,777.06
BRUCE BOT                                                            $1,772.21
R J & WILL RIDDELL T                                                 $1,771.78
CLIFFORD R HAMMETT                                                   $1,769.02
DRAKES PUREBRED                                                      $1,768.60
SLAGEL PORK FAR                                                      $1,762.88
JEFF PLATHE                                                          $1,762.01
RICHARD SKILES FARMS                                                 $1,761.22
CHRIS LONG FARMS                                                     $1,759.31
RICHARD ANDERSON 50%                                                 $1,756.24
GREGG HORA                                                           $1,752.86
CHASE FARMS LTD                                                      $1,749.14
KEN LAMM                                                             $1,748.39
LINDA KORN                                                           $1,747.75
CURT LUHMANN                                                         $1,741.65
KENT PEDERSEN                                                        $1,741.65
MIKE SAGER                                                           $1,740.44
SACKETT FARMS                                                        $1,738.92
SCHADY ACRES                                                         $1,738.42
VICKY DEMMEL                                                         $1,738.03
TETEN HOG FARM                                                       $1,735.76
DAVID MOELLER                                                        $1,732.96
CHUCK STEVERMER                                                      $1,725.58
EVAN HUFF                                                            $1,723.34
MAPLE CREST FAR                                                      $1,723.11
EAGLE ESTATES I                                                      $1,720.31
GREEN ACRES FAR                                                      $1,713.25
KEITH KOCH                                                           $1,711.69
DANLYN INC                                                           $1,710.23
JOSEPH MEGEE                                                         $1,709.51
KEN KOMPROOD                                                         $1,708.76
SCOTT TAPPER                                                         $1,708.25
AARON TALMAGE                                                        $1,706.72
WILKENS FARMS I                                                      $1,706.34
STEVENS FARM IN                                                      $1,705.84
DALE HEMMER                                                          $1,699.92
TURNQUIST FARMS                                                      $1,698.02
KENT BRATTAIN                                                        $1,697.27
WARIN FARM                                                           $1,697.23
DORA ENTERPRISE                                                      $1,695.20
   TIM FOLTZ                                                         $1,692.53
GREG BROSS                                                           $1,689.97
MPAE                                                                 $1,689.66
J & J PIG CO                                                         $1,686.88
TOM SAMMON                                                           $1,686.68
MARTY GEELAN                                                         $1,684.79
FRANJE FARM                                                          $1,676.96
H & H PARTNERSH                                                      $1,668.33
BRIAN JAEGER                                                         $1,667.45
BOB WHITE FARM                                                       $1,666.84


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Row Labels: Producer_Name                                         Sum of NET_PRICE
SOUTHRIDGE SWIN                                                      $1,665.91
HAROLD DESMET                                                        $1,664.67
G & D PORK LLC                                                       $1,664.35
KEVIN FORD                                                           $1,663.54
LARRY SHEEHAN                                                        $1,658.03
IRONS FARMS                                                          $1,650.56
WES LAVERMAN                                                         $1,649.55
A F FARM LTD                                                         $1,648.77
A & M JENSEN FARMS L                                                 $1,646.44
MATT HALBUR                                                          $1,645.30
JERRY VEENSTRA                                                       $1,641.19
LARRY BLACK OAK PORK                                                 $1,637.30
HILL FARMS LLC                                                       $1,634.24
THOMPSON FARM                                                        $1,634.05
ROBERT ARENDS                                                        $1,633.61
CORKERY FA INC                                                       $1,628.71
D & L KAUFMAN                                                        $1,627.33
STEVE MARTENS                                                        $1,625.03
LANDDAG INC                                                          $1,624.81
HANOR CO O WISCONSIN                                                 $1,624.69
VANDERMOLE INC                                                       $1,621.76
PHEIFER FARMS L                                                      $1,621.18
BRETT HALBUR                                                         $1,619.62
SHIRLEY EILERMAN                                                     $1,618.69
RANDY BULINGTON                                                      $1,617.80
HANSEN FARMS‐EA                                                      $1,616.89
ALAN POPPE                                                           $1,613.03
STEVE KASEL                                                          $1,606.69
M D M ENT                                                            $1,606.43
CARROLL FARMS                                                        $1,605.84
SCHMIDT FARMS                                                        $1,604.05
DAIL FARM                                                            $1,603.90
BOB KLASSEN                                                          $1,603.82
LORENZEN FARMS                                                       $1,597.69
PAUL GEURINK                                                         $1,593.62
D & M SWINE LLC                                                      $1,592.71
JOEL KOOIMA                                                          $1,590.96
PORK CHOP RIDGE                                                      $1,588.53
BOYSEN GRAIN &                                                       $1,588.02
HUGH GANNON                                                          $1,586.06
MAXWELL FO OF INDIAN                                                 $1,583.11
BILL MISHLER                                                         $1,581.25
JOEL FORSYTH                                                         $1,581.10
DELTON DUCHOW                                                        $1,580.28
TERRY PREISTER                                                       $1,577.88
HASSFURTHER FAR                                                      $1,577.73
   DALE HEMMER                                                       $1,574.02
ALVIN GOOD                                                           $1,573.99
RAY WALTER                                                           $1,572.25
DWIGHT D MAAG                                                        $1,570.72
ROBERT BENEDICT                                                      $1,569.33
ILLINI GENETICS                                                      $1,569.01


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Row Labels: Producer_Name                                         Sum of NET_PRICE
DAN VANDENDRIESSCHE                                                  $1,568.68
STEVE BOTHELL                                                        $1,566.65
KEVIN MOELLERS                                                       $1,566.37
ED STUCKWISCH                                                        $1,563.29
DENNIS FOLKERS                                                       $1,561.84
JAMES KUCHTA                                                         $1,561.05
CENTRAL FI FOODS                                                     $1,560.35
DEAN FECHT                                                           $1,559.15
DALE SHANLE                                                          $1,558.46
   HARRY KURTENBAC                                                   $1,558.37
PAUL MARTIN                                                          $1,557.99
ALAN P THOMANN                                                       $1,557.90
ILLINI FAR (SOUTH)                                                   $1,555.33
DOUG PAUS                                                            $1,552.97
REX SLUSSER FARMS                                                    $1,550.07
DOUG MANTHEI                                                         $1,544.43
BOYD CAMPBELL                                                        $1,543.08
TIM GOEDDEL                                                          $1,539.24
STEVERMER PORK                                                       $1,538.81
L & S PORK LLC                                                       $1,534.57
LYNN FIECHTER FARMS                                                  $1,532.94
DARYL AUSDEMORE                                                      $1,532.72
TRI‐TECH INC                                                         $1,532.12
B P M SEED STOC                                                      $1,528.65
COBB P & G INC                                                       $1,526.97
JIM CARLSON                                                          $1,526.24
FECHT BROTHERS                                                       $1,521.96
BURKLE ACRES IN                                                      $1,521.81
JERRY YATES                                                          $1,521.15
CRAIG HILLERY                                                        $1,519.25
RICK SHEETS                                                          $1,514.93
SCOTT BRATTHAUER                                                     $1,514.63
RODIBAUGH & SON                                                      $1,514.06
JEM FARMS LLC                                                        $1,512.75
KRAUSE FAM FARMS INC                                                 $1,512.71
RICK ROBINSON                                                        $1,511.38
RICHTER FARMS                                                        $1,509.96
MARK NEUMAN                                                          $1,508.21
BRIAN STEINBERG                                                      $1,506.93
LEROY TAPPE                                                          $1,505.59
J T FEEDER PIGS                                                      $1,503.35
BUNKUM VALLEY                                                        $1,502.54
JEREMY JINDRA                                                        $1,500.50
RICHLAND FARMS                                                       $1,500.47
NELSON EYLANDER                                                      $1,500.21
JOHNSON'S ACRES                                                      $1,499.12
DAVID VOELKER                                                        $1,498.22
DAVID PETERSEN                                                       $1,494.57
CHRIS BLACK                                                          $1,493.06
TOBY LUXTON                                                          $1,492.59
KEVIN PATTERSON                                                      $1,492.11
S L SKILES FARMS                                                     $1,490.47


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Row Labels: Producer_Name                                         Sum of NET_PRICE
MARK BIRKEY                                                          $1,489.65
RALPH BIESTERFELD                                                    $1,488.90
K & L PORK                                                           $1,488.03
JOHN FRIEDERS                                                        $1,487.81
SHANE KIRCHHOFF                                                      $1,487.00
MAURICE VIECK & SON                                                  $1,486.59
SCOTT ALBERTSON                                                      $1,484.75
DRAKE FARMS                                                          $1,482.54
DAN KORTH                                                            $1,482.30
RAINBOW FARMS                                                        $1,480.68
GARY P POPPE                                                         $1,477.78
KARL BALSTAD                                                         $1,477.41
J DOUBLE R                                                           $1,474.91
BRIAN & GL KASCHMITT                                                 $1,473.28
MARVIN WAGLER                                                        $1,472.24
SCOTT ROSENER                                                        $1,472.09
CHARLIE A BECKER                                                     $1,469.34
RICHARD SNIDER                                                       $1,467.71
LARRY CHRISTOPHER                                                    $1,466.23
HILLMAN SCHROEDER                                                    $1,465.52
RIETHEL FARMS                                                        $1,463.51
ROBBY BREWER                                                         $1,462.40
BRAD BECKWITH                                                        $1,461.82
JIM BINDL                                                            $1,459.49
EARL CAIN                                                            $1,458.18
GEORGE LANOUE                                                        $1,456.76
WALLEYE PORK LL                                                      $1,455.07
A J BERG INC                                                         $1,453.56
M & M FEEDYARD                                                       $1,450.49
LEONORD KEILHOLZ                                                     $1,449.76
RON CLEMEN                                                           $1,449.62
MARK WILLS                                                           $1,448.60
BLIGHT FARMS IN                                                      $1,443.91
ADDIE BROOKS                                                         $1,442.56
STEVEN COX ASSOCIATE                                                 $1,440.52
LANE TABKE                                                           $1,440.06
PETE BARTLETT                                                        $1,439.39
GARY LANDES                                                          $1,439.00
SHADY LANE FARM                                                      $1,437.65
JASON ENTER                                                          $1,436.81
MIKE PANOZZO                                                         $1,436.20
BUERSTER FARMS                                                       $1,432.63
BURTON FARMS                                                         $1,432.54
E DALE STOLL                                                         $1,431.92
CRANE CREEK FAR                                                      $1,430.61
ERNEST BETZ                                                          $1,430.38
RICHARD BEAGLE                                                       $1,428.66
QUALITY PLUS                                                         $1,428.52
B & B PORK INC                                                       $1,424.87
RESER FARMS                                                          $1,423.00
BRETHORST FARMS                                                      $1,422.85
LOWELL (50 DRENTH                                                    $1,421.19


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Row Labels: Producer_Name                                         Sum of NET_PRICE
DOUBLE R FARMS                                                       $1,420.18
MATT LUTZ                                                            $1,420.09
JOE STEFFENSMEIER                                                    $1,419.67
KEVIN DITTMER                                                        $1,419.60
DON‐AG LTD                                                           $1,415.91
ALLEN SCHNEPEL                                                       $1,411.72
PLATTE COLONY                                                        $1,411.40
MARTIN SUDBECK                                                       $1,410.08
B N W INC                                                            $1,409.79
GARY ROUSE                                                           $1,409.78
LORRIN TOELLE                                                        $1,409.28
J T JOINT VENTU                                                      $1,408.99
KEITH RENSINK                                                        $1,404.43
HASELMAN BROS                                                        $1,402.29
JIM FRIEDERS                                                         $1,401.42
JOHN BECKMAN                                                         $1,401.32
LEHENBAUER LVST                                                      $1,400.03
BILL BREWER                                                          $1,397.98
MIKE HINNERS                                                         $1,397.66
RON DUNPHY                                                           $1,396.90
GARY ARENS                                                           $1,393.98
ROBERT DENOBLE                                                       $1,388.92
STEVEN J KASSMEYER                                                   $1,386.96
ROWNTREE FARMS                                                       $1,386.55
J & S LIVESTOCK                                                      $1,384.11
PARKER BROTHERS                                                      $1,383.31
FREDDIE M GROSSE                                                     $1,382.89
J & J AG                                                             $1,378.11
SPERRY UNION ST                                                      $1,374.09
JIM GELLER                                                           $1,372.80
MARK W JOHNSON                                                       $1,370.23
ALAN SCHACHTSIEK                                                     $1,370.09
JOHN NILSSON                                                         $1,369.98
EGAN BROS                                                            $1,366.02
JOHN PETERS                                                          $1,364.75
GREG ALEXANDER                                                       $1,362.77
MIKE FANNING                                                         $1,359.88
ROBYN MYERS                                                          $1,359.73
ARLIN GROENEWEG                                                      $1,359.48
DAN SHEEHAN                                                          $1,358.94
F L GILMORE INC                                                      $1,358.61
J & G DITTMER FARMS                                                  $1,357.63
IVAN VANDUSSELDORP                                                   $1,357.15
SCOBY FARMS INC                                                      $1,356.19
LIBERTY PR INC LTD                                                   $1,356.00
FARM LLC FOSTER FAMI                                                 $1,354.46
VERMILLION CATT                                                      $1,353.91
DON (50% W BESCHORNE                                                 $1,352.90
LOREN DEMPSTER                                                       $1,351.79
BRAD MOECKLY                                                         $1,350.05
JOHN DESMET                                                          $1,347.87
JACK REIMERS                                                         $1,343.02


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Row Labels: Producer_Name                                         Sum of NET_PRICE
LANCE LEHR                                                           $1,341.83
SEVEN RIVERS PO                                                      $1,341.68
ROGER & OP RUPP                                                      $1,341.38
HUDNALL FARMS                                                        $1,341.35
BRUCE DEVOS                                                          $1,340.16
GERALD STECH                                                         $1,339.16
GASTON VLAMINCK                                                      $1,336.51
RYAN GEROT                                                           $1,335.22
JOHN REUTER                                                          $1,333.99
MARK THOMA                                                           $1,333.48
ROBERT WENDT                                                         $1,330.52
JEM FARMS                                                            $1,330.49
KONRAD MAIBAUM                                                       $1,326.42
DESAL INC                                                            $1,322.61
C & C PORK INC                                                       $1,321.74
JERRY WISEMAN                                                        $1,318.70
OTIS BRYANT & SON 2                                                  $1,318.53
PHIL JORDAN & SONS                                                   $1,318.12
CHARLES CHAPEL                                                       $1,317.55
DALE J KESTELOOT                                                     $1,316.09
ROGER SCHMITT JR                                                     $1,314.44
SCHIEBER FARMS                                                       $1,313.90
RUTTER FARMS IN                                                      $1,311.82
TLC PORK FARMS                                                       $1,310.50
LOREN ADRIAN                                                         $1,309.98
BOB LYON                                                             $1,309.38
DON KING                                                             $1,302.45
ZOBRIST FARMS I                                                      $1,300.97
BEHRENS PORK FA                                                      $1,300.77
DAVE FRIEDRICH                                                       $1,296.74
SCOTT RAHN                                                           $1,295.03
MARV DANE                                                            $1,293.92
PERRY HELMUTH                                                        $1,292.97
NWMSU FARMS                                                          $1,292.17
TOM RIPP                                                             $1,291.10
MITCH SCHMIDT                                                        $1,290.46
FRANK FREY                                                           $1,290.35
PETER WESTRA                                                         $1,287.24
ROD DIETZ                                                            $1,285.63
S & A INVE LLC                                                       $1,284.79
JAY KOHL                                                             $1,284.06
CASLAND FARM                                                         $1,283.81
RICHARD STUCKEY                                                      $1,282.95
DEKALB FEED INC                                                      $1,281.61
BUHR FARMS                                                           $1,280.21
JOHN LAETSCH                                                         $1,279.96
LOUTSCH FARMS                                                        $1,278.75
DIETRICH JOHNSON                                                     $1,276.79
PAT SUTERA                                                           $1,273.59
BLUE CREEK PORK                                                      $1,270.63
WILLOW RID FARMS LLC                                                 $1,269.70
KENNY CULP                                                           $1,268.39


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Row Labels: Producer_Name                                         Sum of NET_PRICE
WARREN PUDENZ                                                        $1,264.49
DONNIE SCHWENK                                                       $1,263.35
TOM MCKAY                                                            $1,262.86
MARK SCHUSTER                                                        $1,258.80
ERICK ABNET                                                          $1,257.60
DON BAKER                                                            $1,256.82
PAUL SHISLER & SONS                                                  $1,256.60
POST SWINE                                                           $1,253.75
MARTY LESAN                                                          $1,253.44
VERMILLION PORK                                                      $1,252.26
G & B FARMS INC                                                      $1,251.85
MILTON WEMHOFF                                                       $1,251.24
RICK POTHAST                                                         $1,250.29
KEN CWACH                                                            $1,248.88
BRIAN R HARGENS                                                      $1,248.26
DAN BRUNSING                                                         $1,247.31
RANDAL J SPRUNG                                                      $1,241.84
JOEL LUHMANN                                                         $1,241.78
TRIPLE C HOGS                                                        $1,240.02
JERRY STEWART                                                        $1,238.97
DON LUXTON                                                           $1,237.96
THOMAS HEIM                                                          $1,236.73
NEELS LIVESTOCK                                                      $1,233.42
UNIVERSITY OF N                                                      $1,230.87
DENNIS PICK                                                          $1,228.25
P & L WILSON FARMS I                                                 $1,227.87
WIL MAR LTD                                                          $1,225.27
K & B FARMS                                                          $1,223.19
DRAGER FARMS IN                                                      $1,220.07
KEN RIES                                                             $1,219.94
DAN HEMMER                                                           $1,219.34
BRYAN FORST                                                          $1,218.92
ZOET FARMS INC                                                       $1,218.86
CHARLES PHILLIPS                                                     $1,217.28
DONNA JORDAN                                                         $1,216.28
T WESLEY SKAAR                                                       $1,215.82
FREDENHAGEN FAR                                                      $1,214.21
KEN FOGT                                                             $1,213.76
GARY DAVIS                                                           $1,211.46
SOLETA BROTHERS                                                      $1,209.80
STITZEL HOG FAR                                                      $1,206.98
GLEN A MILLER                                                        $1,205.20
BRENT O'FARRELL                                                      $1,204.87
AHRENSMEYE FARMS INC                                                 $1,200.90
DUANE CLOVER                                                         $1,199.79
RICHARD HARMAN                                                       $1,198.93
MIKE SWACKHAMER                                                      $1,198.68
P & M ENSLIN LLC                                                     $1,197.08
PERRY MARTIN                                                         $1,195.95
SCHERZER BROS                                                        $1,192.41
T F FARMS INC                                                        $1,190.05
STEVE SCHMEICHEL                                                     $1,188.63


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Row Labels: Producer_Name                                         Sum of NET_PRICE
DAVE LINNEMAN                                                        $1,187.44
GORDON ZAAGMAN FRMS                                                  $1,187.36
KERRY FOX                                                            $1,187.31
GLENN BADEN                                                          $1,182.23
TERRY KLEKAMP                                                        $1,182.07
BRIAN KLUBERTANZ                                                     $1,180.76
LLOYD & LE BUSCH                                                     $1,179.93
MARTIN ROTH                                                          $1,179.28
DEB DIETZENBACH                                                      $1,176.06
BRUCE GRANT                                                          $1,175.99
MONTPELIER AG                                                        $1,175.32
INDIAN CRE PORK LLC                                                  $1,175.27
VETTER FARMS IN                                                      $1,171.82
MELLENCAMP BROS                                                      $1,171.73
DANIEL MISHLER                                                       $1,171.16
KOEHLER FARM                                                         $1,170.88
JIM WITTMER                                                          $1,167.12
WAYNE & NE NABER                                                     $1,166.99
STEVE WHITE                                                          $1,163.81
PLANEVIEW FARMS                                                      $1,163.64
KENT W REINERT                                                       $1,162.06
BROWN FARMS                                                          $1,161.89
TOM SAFLEY INC                                                       $1,160.51
LEE EDEN                                                             $1,160.42
M K FARMS                                                            $1,157.95
CURT FAIR                                                            $1,157.33
MELLENCAMP FARM                                                      $1,156.39
RODNEY KATT                                                          $1,154.70
RUSSELL HOTZ                                                         $1,153.21
HEART OF I                                                           $1,151.57
M & M PORK FARM                                                      $1,150.97
TOM LINDSTROM                                                        $1,149.11
D & D KLINGENBORG                                                    $1,142.71
JEFF LAU                                                             $1,141.60
STEVE HENNEN                                                         $1,140.26
B & B PROBST FARM IN                                                 $1,138.68
BRUCE DROGE                                                          $1,137.51
JIM BERGDOLL JR                                                      $1,136.84
CHRIS KOEHLER                                                        $1,136.75
RFW FARMS                                                            $1,135.80
FRED BUSH                                                            $1,133.55
THOMAS FARMS                                                         $1,133.53
MARVIN CWACH                                                         $1,130.07
ROBERT GEHRAND                                                       $1,129.47
RODADA FARMS                                                         $1,128.19
GLEN & MAR KOOIKER                                                   $1,127.82
BLACK FARMS LTD                                                      $1,126.64
RICH STENFTENAGEL                                                    $1,126.40
EVANS PRIDE INC                                                      $1,125.86
DAHL BROTHERS                                                        $1,125.30
MARTIN FROM                                                          $1,121.99
T/S BRUS FARMS                                                       $1,121.04


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Row Labels: Producer_Name                                         Sum of NET_PRICE
THOMAS & J VAN SPYKE                                                 $1,120.06
KEN GEURINK                                                          $1,118.60
JEFF BEAMAN                                                          $1,117.62
DANIEL L SCHMITZ                                                     $1,116.76
WIK FEEDERS INC                                                      $1,116.41
DANIEL KEILEN                                                        $1,115.95
BRUCE FURRER                                                         $1,115.66
WILLIAM C HANSEN                                                     $1,115.37
DAVE SCHULTE                                                         $1,115.08
MIKE DUSEL                                                           $1,112.87
DALE NOLT                                                            $1,112.11
GRANT WENZL                                                          $1,110.80
WEIDMAN BROTHER                                                      $1,110.42
SCOTT A KLINGSON                                                     $1,110.11
BURGENER PORK I                                                      $1,108.98
KENDALE FARMS                                                        $1,108.40
RICHARD BROVONT                                                      $1,106.53
GREENE COU AIR FARMS                                                 $1,105.99
MEYER FARMS DAI                                                      $1,105.26
SCOTT ELMER                                                          $1,105.10
RAYBROCK FARMS                                                       $1,104.29
KEVIN SCHLANGE                                                       $1,102.28
GLENN BULTHUIS                                                       $1,098.75
JOHN SCHMITZ                                                         $1,098.20
MARGE WALTERS                                                        $1,096.82
SMOCK FARM                                                           $1,094.31
NELSON & SONS                                                        $1,093.07
MOENNING FARMS                                                       $1,090.99
DALE DAMME                                                           $1,082.95
ERVIN NUTTLEMAN                                                      $1,082.53
CHRIS APKE                                                           $1,082.43
FORREST GOING                                                        $1,080.80
KEITH WILSON                                                         $1,079.15
DON NOWASKIE & SONS                                                  $1,078.05
STROTHER BROS                                                        $1,077.89
ROGER TEERINK                                                        $1,076.79
ERIC SCHEEVEL                                                        $1,071.19
SEAN DOLAN                                                           $1,071.03
RENZE FARM CORP                                                      $1,070.37
DARRELL D WAGLER                                                     $1,069.44
OMAR MILLER                                                          $1,068.17
NOAH BEECHY                                                          $1,066.75
HERBERT JOHNSON                                                      $1,064.35
ROBB WELTZIEN                                                        $1,064.19
KEN VAN HAUEN                                                        $1,063.32
DANIEL MARTIN                                                        $1,061.73
D & B PORK                                                           $1,061.07
MAUESER CARL                                                         $1,060.42
BOYSEN GRA LIVESTOCK                                                 $1,058.45
JOHN KREBS                                                           $1,057.11
MICHIANA AGRA                                                        $1,054.14
CHARLES ULTCH                                                        $1,053.97


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Row Labels: Producer_Name                                         Sum of NET_PRICE
HENRY PFEFFER                                                        $1,053.74
STEPHEN UPCHURCH                                                     $1,052.16
GERALD DUERR                                                         $1,050.74
EARL SKAAR                                                           $1,050.19
OSWALD FARMS                                                         $1,047.62
BRAD SCHULTE                                                         $1,046.89
MARVIN K WAGLER                                                      $1,046.03
MARK RATHMAN                                                         $1,045.99
BEN E L SCHWARTZ                                                     $1,045.96
PVK INC                                                              $1,044.84
MG‐AG INC                                                            $1,044.48
DAVID HAAS                                                           $1,044.15
CREEKVIEW FARMS                                                      $1,042.21
DAVE MOELLER                                                         $1,042.19
LARRY DAME                                                           $1,041.92
KEVIN HILDEBRAND                                                     $1,041.82
SHAWN WILLEMS                                                        $1,041.78
GREG WEBSTER                                                         $1,040.72
PHIL PEITZ                                                           $1,040.13
CRAIG TESCH                                                          $1,039.61
KIELER FARMS                                                         $1,039.51
STEVE DIETRICH                                                       $1,038.12
HICKORY GR FARM INC                                                  $1,034.94
SHADY RILL FARM                                                      $1,034.86
LAFAYETTE PRODUCTION                                                 $1,033.80
WILLARD & BIEBER                                                     $1,031.95
JOHN AVERSMAN                                                        $1,025.26
ALDERLAND FARMS                                                      $1,025.17
CRAIG DULEY                                                          $1,024.85
STAN FUHRMAN                                                         $1,024.60
OLSEN YORKSHIRE                                                      $1,024.27
GORDY SCHREIFELS                                                     $1,023.23
MEADOW LANE FAR                                                      $1,023.15
FIVE STAR FARMS                                                      $1,022.14
JOE FREITAG                                                          $1,019.26
PAUL M BRUMMER                                                       $1,019.07
KREIFELS FARM C                                                      $1,018.86
NATHAN FEVOLD                                                        $1,017.52
VANDENBERG FARM                                                      $1,017.35
RANDY SUEPER                                                         $1,016.81
POHLEN BROS                                                          $1,015.09
RANDY DREES                                                          $1,013.52
MOORE LEAN                                                           $1,012.76
BASTIAN HOGS                                                         $1,011.66
PETERSON FARMS                                                       $1,011.42
KEVIN DRAVES                                                         $1,010.32
DCCP                                                                 $1,010.08
HARLYN BOLKEMA                                                       $1,009.96
LEROY STEFFENSMIER                                                   $1,009.65
DARYL HITZ                                                           $1,009.10
   ROBER MCCONNELL                                                   $1,007.34
SCUDDER FARMS                                                        $1,003.78


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Row Labels: Producer_Name                                         Sum of NET_PRICE
KURT MARTENS                                                         $1,003.60
GEORGE H 5 SMITH                                                     $1,002.72
LEONARD HOTOVY                                                        $998.93
TED WEGENER                                                           $997.92
PETTERSEN BROTH                                                       $997.58
DAVE JANSEN                                                           $997.41
RANDY COLES                                                           $996.80
BACON ACRES                                                           $995.33
J & D HOG                                                             $994.33
MYRON YODER                                                           $994.17
DOUG RUNDE                                                            $993.91
WAYNE HUINKER                                                         $992.32
RALPH NOE JR                                                          $990.48
THOENE FARMS IN                                                       $989.57
CHIRPICH BROTHE                                                       $988.82
BOB KEPNER                                                            $987.53
DENNIS CASSMANN                                                       $986.93
RUSS FISCHELS                                                         $986.31
WILBUR NABER & SON                                                    $985.71
KENNY CARLSTROM                                                       $983.35
MARK WALJASPER                                                        $980.79
HOWARD & H GOULD TRU                                                  $980.35
UTHLAUT FARM IN                                                       $978.85
KEVIN T SINDT                                                         $976.63
   DAN HEMMER                                                         $974.68
PROFIT MANAGEME                                                       $974.42
VINCE MORISCHE                                                        $974.33
RHINE FARMS INC                                                       $974.09
MONTE GREENLAND                                                       $972.93
TOM STEFFENSMEIER                                                     $969.06
CD PORK INC                                                           $968.50
STEVE HALFMAN                                                         $967.59
SIEVERS BROTHER                                                       $964.33
MIKE KERTZ JR                                                         $963.32
LOWELL SHARP                                                          $962.58
EARL & STE PROBST FA                                                  $962.33
H KNEPP & SONS                                                        $962.28
TERRY REICHMUTH                                                       $961.36
K A MILLER FARMS                                                      $961.21
JON SWENSON                                                           $960.12
JAMES GRABER                                                          $959.70
   HAROL BIBLER                                                       $958.29
STEVE LOUTSCH                                                         $956.85
J & P HODGEN FARMS I                                                  $956.58
MAURICE L JONES                                                       $955.86
WEISINGER FARM                                                        $955.49
ANDY MUELLER                                                          $954.69
WALTER HILTY                                                          $954.67
BETTER NUT                                                            $954.29
JERRY & NI SMITH                                                      $953.07
MARK HOBSON                                                           $949.36
WINDY RIDGE POR                                                       $949.24


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Row Labels: Producer_Name                                         Sum of NET_PRICE
FARMS JACKSON FAMILY                                                  $948.46
HUEBSCHMAN FAMILY LL                                                  $948.44
DAN HESSE                                                             $943.95
JIM ULRICH                                                            $943.50
RALPH JONES                                                           $942.50
FRANZ FARMS                                                           $940.76
KEEOTT FARMS IN                                                       $940.72
JIM QUINCER                                                           $940.51
MAYNARD HAHN                                                          $940.43
PLUM CREEK FARM                                                       $939.74
BRIAN BERGENE                                                         $938.92
DAVID DIETER                                                          $938.35
DOYLE WAGONER                                                         $937.88
CHAD LACOSTE                                                          $937.67
W E PORK                                                              $936.88
PARKISON & RODI                                                       $936.84
D S R CORDELL                                                         $936.09
PAUL E WITTMAN SR                                                     $935.02
FARMS INC BECKER FAM                                                  $934.06
VALLEY POR RANCH INC                                                  $932.78
JOHN STYKEMAIN                                                        $932.74
DAVE HEYER                                                            $931.06
DANIEL BROCKMAN                                                       $930.91
LEDGER SWI FARM INC                                                   $930.62
JOE ROSENER                                                           $929.25
MAPLE CREEK                                                           $926.38
J C FARMS                                                             $924.32
DEAN SCHRAG                                                           $924.27
ZAUHA FARMS                                                           $923.89
B MYERS FARMS INC                                                     $923.30
ALLEN BINNEBOESE                                                      $923.17
SYLVESTER GERRINGER                                                   $920.75
STEVE KRAUTER                                                         $920.43
MATT SCHLUNDT                                                         $918.19
DAVE REUTER                                                           $917.77
BRIAN POST                                                            $917.65
HURSTLAN FARMS                                                        $917.10
WILLIAM J LYLE                                                        $915.24
MARK JACOBSEN                                                         $914.63
BOB BULINE                                                            $914.55
J D HIRSCHFELD & SO                                                   $910.80
DAN BREUKER                                                           $910.48
CHUCK ARENS                                                           $909.46
JAMES D BINNEBOESE                                                    $908.44
LOREN NIEMANN                                                         $908.41
STEVEN L BENDER                                                       $902.90
DON HOOK                                                              $900.80
GREG BOERBOOM                                                         $900.37
ESB PORK                                                              $899.56
TODD ALLEN                                                            $899.45
MIKE REINER                                                           $898.64
HAYHURST FARMS                                                        $898.50


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Row Labels: Producer_Name                                         Sum of NET_PRICE
DANIEL E OHDEN                                                        $898.08
LAVERN BURKHOLDER                                                     $897.13
MATT DUNKLE                                                           $896.82
C B HOG                                                               $894.51
DAN DUNPHY                                                            $893.74
ARLAN HABERER                                                         $893.18
F & L FEEDERS                                                         $893.05
PHIL WALICKI                                                          $891.46
DEAN/GARY SELLNER                                                     $891.46
SCOTT & DA SCHWEER                                                    $891.15
GUESS FARM                                                            $890.35
ARLEN POPPE                                                           $890.11
ED BROWN                                                              $890.07
MARK NIEBRUGGE                                                        $890.06
MAPLE VALLEY FE                                                       $889.70
GUNDERSON FARMS                                                       $887.94
DOUG OOLMAN                                                           $887.51
SCHROEDER BROS                                                        $885.48
DAV‐AG INC                                                            $884.78
A K WEGNER FARM INC                                                   $882.20
VANDEVOORT FARM                                                       $879.26
BARRY DAHL                                                            $878.85
MERLYN C MEYER                                                        $878.46
RICHARD BORGERDING                                                    $878.02
OZATONKA ACRES                                                        $876.94
DAN KAUFMAN                                                           $876.58
DAN NOLTING                                                           $876.03
GRANDVIEW HOGS                                                        $874.52
HULTING AND WEI                                                       $874.22
BRUXVOORT ACCOUNT                                                     $873.91
JOHN PFLANTZ                                                          $873.65
RITCHIE FARMS I                                                       $871.82
JIM FIECHTER FARMS                                                    $869.89
   JEFF LINDHORST                                                     $868.44
JOHN W ROHLIK                                                         $868.09
MITCHELL FARMS                                                        $867.32
M & S PORK                                                            $867.13
JOHNSON FA FARMS COR                                                  $866.84
BERNARD E HILLEN                                                      $866.60
DARWIN TESLAA                                                         $865.70
SUDDETH FARMS                                                         $864.44
FRANK POTTS                                                           $863.74
PRAIRIEDALE FAR                                                       $863.42
STOLLER FARMS L                                                       $862.71
RICHARD WESTHUES                                                      $862.29
CHRIS CHRISTENSEN                                                     $861.75
JEROME KUDLACEK                                                       $861.69
P P J THOMPSON FARMS                                                  $861.66
DEAN OLSON                                                            $861.58
DAN BURZLAFF                                                          $860.97
WILSON FAM LVSTK INC                                                  $859.75
BILL KESSLER                                                          $858.75


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Row Labels: Producer_Name                                         Sum of NET_PRICE
JOEL OBERDIECK                                                        $857.88
PAUL HERBRECHTSMEIER                                                  $857.78
SIPP FARMS                                                            $857.08
ROBERT DEUTZ INC                                                      $856.81
HOG WEST                                                              $854.26
KENT ARP                                                              $852.91
STUMPF PORK INC                                                       $852.13
ENGLAND FARMS I                                                       $851.81
DAVID A SHELBY                                                        $851.79
TERRY DOERR                                                           $849.99
ROBERT MCKENNA                                                        $849.21
JOHN A BUSCH                                                          $847.87
PRO SWINE MANAG                                                       $845.07
PAT ARNDORFER                                                         $844.82
TRACY BRAKENSIECK                                                     $844.68
DUNKMANN FARMS                                                        $844.56
UNIVERSITY DEPT/ANIM                                                  $843.51
TOM FLOY                                                              $842.12
KEITH REICHMUTH                                                       $841.73
HIDDEN VALLEY P                                                       $840.10
VALENTINE FARMS                                                       $839.39
PHLYPO FARMS                                                          $838.73
ALLEN C ETT                                                           $838.54
SHELDON PORK LL                                                       $838.34
KAN INC                                                               $838.00
MAXINE LANDREY                                                        $837.34
HUINKER DUROCS                                                        $837.15
STAN EISMA                                                            $837.01
STEVE & JO WETZELL                                                    $836.47
UNION TOWN FARM                                                       $836.34
LANTZ & CORWIN                                                        $835.49
SCHOETTMER PORK                                                       $833.73
RICK TAYLOR                                                           $832.85
RANDY DUNFEE                                                          $832.66
CENTER PRA GENETICS                                                   $831.69
JIM FREYENBERGER FR                                                   $830.24
RON REESE                                                             $828.95
CHALUPA PORK LL                                                       $826.63
JAMES SEABERG                                                         $825.26
MIKE KUEHL                                                            $824.63
JOHN HARLIN                                                           $824.23
WBMR FARM INC                                                         $824.08
RICK REUTER                                                           $823.06
HORSTMAN BROS                                                         $820.99
BEATTY & C FARMS                                                      $819.73
BEGGS FARMS INC                                                       $819.56
SIMMONS PIG PAR                                                       $818.60
CORWIN FAR LANTZ &                                                    $818.36
BERGHORN BROTHE                                                       $817.99
DARRELL JAMISON                                                       $817.65
ROGER EVERS                                                           $817.02
SCOTT GOEHRING                                                        $814.44


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Row Labels: Producer_Name                                         Sum of NET_PRICE
ROTH & THIESSE                                                        $814.03
HILLTOP FARMS                                                         $812.35
D & H EICKHOFF                                                        $808.74
PAUL BEGLE                                                            $808.54
KIT JOHNSON                                                           $807.53
JEFF LINDHORST                                                        $806.66
TLS FARMER NETWORK L                                                  $805.80
R & L BRANDT INC                                                      $805.79
KEITH BLAYDES                                                         $805.68
WEYH CENTU FARMS INC                                                  $804.60
JIM VAETH                                                             $804.32
MARK RYGH                                                             $803.51
V W AG INC                                                            $802.87
MARK FEDDERS                                                          $802.47
BRAD BLINN FARMS                                                      $802.26
LYNN RIEDLINGER                                                       $801.54
ARENDS & CHAD W                                                       $800.76
STEVEN C SELL                                                         $799.73
GLEN PFEIFER                                                          $796.72
BRENT REED                                                            $795.30
DAVE KLEIN                                                            $791.90
GRACE HILL FEED                                                       $790.93
STOECKER FARM I                                                       $789.48
ALLEN ERICHSEN                                                        $789.13
PRAIRELAND PRODUCERS                                                  $788.92
DENNIS DEMPSEY                                                        $788.44
KEEVIN ARENS                                                          $786.42
STULL FARMS                                                           $786.25
LANCE WEDEKING                                                        $785.72
AUBURN FARMS IN                                                       $784.76
4‐R FARMS                                                             $784.13
LOGEMAN BROTHER                                                       $782.71
PRODUCERS MARKET ASS                                                  $782.63
JENKINS FARMS                                                         $782.60
NWOB                                                                  $781.00
ALBERT RUDIN                                                          $778.79
JOHN KIRTZ                                                            $777.43
ILLINI‐HIGH TEC                                                       $776.12
EVERGREEN FARMS                                                       $775.48
DUANE RIES                                                            $775.25
JIM & LOIS GINGERICH                                                  $775.22
MARK ZIMMERMAN                                                        $774.32
LUKE KNIPPER                                                          $773.74
R & R PORK LLC                                                        $773.44
SANTOS GROUP                                                          $773.01
BERNARD T SLUSSER FA                                                  $771.88
FRED BROWN                                                            $771.36
SCHNAKE HANK                                                          $769.94
RANDY BRUNA                                                           $769.85
DARYL BENTEMAN                                                        $769.70
BORGMAN FARMS                                                         $768.45
JAMES LAKE                                                            $766.90


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Row Labels: Producer_Name                                         Sum of NET_PRICE
GARY BECKER                                                           $766.76
JON LANG                                                              $765.07
RUSSELL FREUDENBURG                                                   $764.80
COX INC                                                               $762.97
MARVIN HALBUR                                                         $761.70
BRANDT FARMS IN                                                       $761.13
PAUL BRANDT                                                           $760.85
BOB WALTER JR                                                         $759.16
STEVE BOCKWOLDT                                                       $758.75
BEIER HOG FARMS                                                       $758.65
STEVE L MARTIN                                                        $757.81
DAVE JACOB                                                            $755.91
BRINK FARMS INC                                                       $755.26
PILE FARMS                                                            $753.64
EVANS FARMS                                                           $753.45
FRANCIS L FAUST                                                       $753.22
MAX CASSIDA                                                           $752.58
HAUPERT FARMS I                                                       $750.35
RONALD PROCHASKA                                                      $749.31
KENNY MALCOLM                                                         $748.49
LAWRENCE & MATTSON                                                    $747.59
TOM CUMMINGS                                                          $745.93
DAVE FERNEAU                                                          $743.06
NICK GEHLING                                                          $742.54
F & F ACCOUNT                                                         $741.10
DOUG REDMAN                                                           $740.33
KEITH BERRY                                                           $738.15
JOYCE POWLEN                                                          $737.97
JAMES JIGL                                                            $736.13
RICHARD VERKAMP                                                       $735.44
DONALD JOHNSTON                                                       $734.36
GEORGE ALTMANN                                                        $733.75
BRIAN MEYER                                                           $733.41
JOE ROKUSEK                                                           $732.82
MARDELL BERGER                                                        $731.56
GENE WEBER                                                            $731.36
WAYNE MEYER                                                           $729.42
MAHER BROS INC                                                        $729.07
GROSSMAN FARMS                                                        $728.78
NOHL FARMS                                                            $727.74
TITAN FARM LIABILITY                                                  $726.90
F ELAINE GERLACH                                                      $724.95
MARVIN MYERS                                                          $723.02
DAN NOTEBOOM                                                          $722.87
AL SCHMINKE                                                           $720.38
E & F FARMS                                                           $720.13
SHANNON DRUDIK                                                        $719.61
LEON WAITE                                                            $719.15
JANE NICHOLSON & SON                                                  $718.33
DENNIS OR SEYB FARM                                                   $717.09
RON SCHMIDT                                                           $717.02
MAIZE‐N‐BACON I                                                       $711.78


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Row Labels: Producer_Name                                         Sum of NET_PRICE
THOMAS & CO INC                                                       $711.28
LADON & LO WALLIN                                                     $710.35
ROBERT ALMY JR                                                        $710.18
DUANE COLLMAN                                                         $710.15
WAYNE KING                                                            $709.21
TIM MAREK                                                             $708.69
ROSE AVENUE POR                                                       $707.95
NED JOHNSTON                                                          $707.51
STEVE NIEMAND                                                         $707.35
NORMAN REISS                                                          $707.03
BOB OR KEN FARLEY                                                     $706.95
G BRINKMAN INC                                                        $705.58
DONALD P KIRSCH                                                       $704.40
ROBERT MORRISON                                                       $702.80
EARNEST DIENER                                                        $698.73
ROD TRAMP                                                             $698.09
MORT COMBS                                                            $697.51
ICE HOG                                                               $696.87
J & J BALTES FARMS                                                    $696.58
MIKE KRENIK                                                           $696.52
JERRY HENZE                                                           $695.86
BLUE CHIP FARMS                                                       $695.72
PLEASANT VALLEY                                                       $695.38
BICENTENNIAL FA                                                       $694.50
RAYMOND TLACH                                                         $693.78
4 K FARMS                                                             $692.27
SIKORA FMS MIDWEST F                                                  $691.31
MARK LUKEFAHR                                                         $690.28
ROBERT GOING                                                          $690.23
RICHARD HUBER                                                         $689.59
JIM ALBSMEYER                                                         $688.42
KEVIN MEHRWERTH                                                       $687.48
   DALE KURTENBACH                                                    $687.19
KELLY BOWEN                                                           $686.32
BILL STEIN                                                            $685.02
MAGIC VALLEY                                                          $684.99
FLOYD HOFFMAN                                                         $684.66
PERFUME ACRES I                                                       $682.34
TONY ARNDORFER                                                        $681.98
MARICLE FAMILY                                                        $680.44
TIM OR BRI NEUVIRTH                                                   $680.23
GEMAR PORK                                                            $678.00
GILBERT VANMAANEN                                                     $676.91
BARNEY ROLING                                                         $676.72
DAWSON FARMS                                                          $676.37
BRYCE VANGORP                                                         $676.17
MILAN CTR ELEVA                                                       $675.35
DOUGLAS DIETZ                                                         $674.83
GRANT ERLER                                                           $673.55
WALT REHSE III                                                        $673.51
BITTEL FARMS LL                                                       $673.16
WOODWARD FARMS                                                        $673.14


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Row Labels: Producer_Name                                         Sum of NET_PRICE
FRANK RENNER                                                          $672.38
TOM BOLLINGER                                                         $672.16
JOEY GRABER                                                           $671.64
MARVIN ZYLSTRA                                                        $670.57
ILLINI SWINE                                                          $670.13
MARK RIESSELMAN                                                       $665.22
ROGER SCHMITT                                                         $664.87
TONY VANDERSNICK                                                      $663.73
TOM HUGHES                                                            $663.08
WAYNE SOUHRADA                                                        $663.05
STENZEL BROTHER                                                       $661.74
RIDGELAND FARMS                                                       $661.56
DAN SIEVERS                                                           $660.46
BRIAN KLOCKE                                                          $660.31
MARK FORSYTH                                                          $657.55
CHARLES BR FOREMAN                                                    $657.32
WEST RIO L & CATTLE                                                   $656.21
GSTC                                                                  $656.03
KEN 50% SHOVER                                                        $654.54
BRUCE SACHS                                                           $654.14
MIKE KOORS                                                            $653.84
TOM NEDVED                                                            $653.79
MIKE (2/3 HOPKINS                                                     $653.23
JAY FREESE                                                            $651.41
DOUGLAS DOP                                                           $650.49
JIM LUKE                                                              $649.98
ROD SIEREN                                                            $649.77
HOWARD SHOEMYER                                                       $649.37
JUSTIN KIES                                                           $648.40
PERFECT PIG                                                           $643.95
JIM ROCKLELEIN                                                        $643.46
STEVE BAIRD                                                           $642.50
CALVIN VOGEL                                                          $642.10
STEVE DOOM                                                            $639.94
SWINE SERVICES                                                        $639.76
JIM D KASKA                                                           $639.07
ADAM OR BR KORN                                                       $638.16
JOHN GRABER                                                           $636.09
PAUL SCHULER                                                          $635.22
DON SMITH                                                             $635.19
AJ LEWIS                                                              $634.69
VERSTEEGH FARM PARTN                                                  $634.39
MARLYS WATERS                                                         $634.26
DENNIS HARPER                                                         $633.88
KRISTOPHER ENGLAND                                                    $633.57
HOFFMAN FARMS C                                                       $633.17
PAUL SCHNIEDER                                                        $632.96
JOE HILTON                                                            $629.01
MCCABE BROS                                                           $628.38
TWIN HILLS FARM                                                       $628.33
ROBERT FEDDERS                                                        $627.53
LAKE BROTHERS                                                         $623.85


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Row Labels: Producer_Name                                         Sum of NET_PRICE
MIKE JAEGER                                                           $622.36
TOLO ENTERPRISE                                                       $621.89
RANDY & JU BARGSTADT                                                  $621.73
DONALD POORE INC                                                      $621.66
ROGER SLOTMAN                                                         $621.22
ALAN KEPPY                                                            $620.84
KARL HARSHBARGER                                                      $620.66
GREG NELSON                                                           $620.08
MILLERDALE COLO                                                       $618.59
STEVE BAHR                                                            $618.46
SHADEWOOD ENTER                                                       $618.19
JAMES W WIESE                                                         $618.01
CHARLES J SUDBECK                                                     $616.30
WILLIAM E HARRELL                                                     $615.48
SHOREVIEW RIDGEVIEW                                                   $613.96
MARCUS & K YODER                                                      $613.77
NATHAN EHRHARDT                                                       $613.60
DEAN KNUTSON                                                          $612.49
PVP MCBRIDE GRA                                                       $610.11
KEVIN KASTNER                                                         $609.31
RICK KLEMMENSEN                                                       $608.68
ERIC RUEN                                                             $607.24
TOM KNAUER                                                            $605.90
EDITH HILLMAN                                                         $605.84
ROBERT SCHEELE                                                        $604.96
RANDY STELLE                                                          $603.88
5 MCO                                                                 $603.70
DUCKWORTH FARMS INC                                                   $603.58
SUMMIT FARMS                                                          $603.17
EDWARD J HARPRING                                                     $602.52
SCOTT BECKER                                                          $601.06
MIKE ARNDORFER                                                        $600.91
COREY MILLER                                                          $599.60
CLAIR TIESKOTTER                                                      $599.23
CENTRAL PORK                                                          $599.21
ALAN STEVENS                                                          $598.97
LOUIS ROSENBAUM                                                       $598.96
LARRY DICKINSON                                                       $598.92
EDWIN KNEPP                                                           $595.98
LES RANSCHAU                                                          $595.07
DUANE HAGEMAN                                                         $594.20
WYKES HOG FARMS                                                       $593.87
TERRY MOTZ                                                            $593.55
KEMP SPOT FARMS                                                       $592.31
VANDEL FARMS                                                          $591.92
KEEVER FARMS                                                          $591.33
BILL HOELTING                                                         $591.10
DARREL DUBY                                                           $590.46
RON BROWN                                                             $589.84
REIS PUREB HOG FARM                                                   $589.39
JEFF PETERSON                                                         $588.87
B‐K PORK                                                              $588.49


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Row Labels: Producer_Name                                         Sum of NET_PRICE
MARK ENSOR                                                            $588.34
BRUCE ALBERS                                                          $587.92
STEVE KIENTZY                                                         $587.88
D & L WERNER                                                          $586.56
KURT KUHN                                                             $586.50
MCKILLIP SEEDS                                                        $586.13
GENE TILKER                                                           $585.70
DUANE WEDEBRAND                                                       $585.65
LEROY TEJRAL                                                          $584.87
MITCH SPRINGER                                                        $583.46
HARVEY BEYER                                                          $582.14
MERRILL RENBARGER #1                                                  $577.11
ESBAUM FARM INC                                                       $576.99
MARK BAILEY                                                           $575.82
   DORIS WENZL                                                        $575.20
RANDY BORNEMEIER                                                      $574.49
JEFF ALBSMEYER                                                        $574.42
J & P PORK                                                            $574.30
JIM VERDOORN                                                          $573.67
STEVE SPRINGER                                                        $573.58
BOB SAUNDERS                                                          $573.32
ENGELS HOG ACCO                                                       $573.14
TOM SCHRADER                                                          $572.19
WILMES BROTHERS                                                       $571.85
COLEEN 50% DINGMAN                                                    $570.95
HUFFMAN & HAWBA                                                       $570.55
BURDETTE MEYER                                                        $569.10
LARRY KRAFT                                                           $568.85
LIDTKA AG ENT I                                                       $566.45
ROGER FRANK                                                           $566.28
DIETRICH FARMS                                                        $565.69
RUHGE BROTHERS                                                        $565.37
BILL BUSSE                                                            $565.10
CHRIS HUSTON                                                          $564.95
GLASS LANE                                                            $564.21
DEMERATH FARMS                                                        $563.68
MARK KUMM                                                             $562.76
BYLSMA HOG\CPI                                                        $562.21
DON & DORI ROHRER                                                     $560.62
JOHN BATEY                                                            $560.45
GEBECK BROTHERS                                                       $558.57
ALAN FELDMAN                                                          $553.39
STEVE HARMONEY                                                        $552.69
P & K PIG                                                             $551.41
JOSH SOBASKI                                                          $550.61
MIKE STEWART                                                          $549.76
STEVE RIESSELMAN                                                      $549.54
MARK BLOMQUIST                                                        $549.19
KALMBACH‐W RESEARCH                                                   $548.98
CRAIG JAMES                                                           $548.84
%RANDY MEH MILL CREE                                                  $548.61
JOHN POSTHUMA                                                         $548.47


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Row Labels: Producer_Name                                         Sum of NET_PRICE
BOB ZILLS                                                             $548.15
ROGER PETERSON                                                        $547.93
ALAN & GLE KOCH                                                       $547.25
DAN HOEGER                                                            $546.75
NEIL ALBERTSON                                                        $544.49
POLL FARMS INC                                                        $544.40
MARK BRUTGER                                                          $543.16
RAYMOND TALTY                                                         $541.28
JOHNSON'S ROLL                                                        $539.75
MIKE KESSLER                                                          $538.40
SHANNON COLONY                                                        $537.78
CLARK A WICKNER                                                       $536.50
THOMAS KLUCK                                                          $536.03
FRANCIS BLOMQUIST                                                     $535.95
PHEASANT RUN FA                                                       $535.90
   BRUCE GRANT                                                        $535.06
MELVIN CARLSON                                                        $531.51
MIKE MARSHALL                                                         $530.57
JOHN SCHMIT                                                           $530.40
COLLEN FARM INC                                                       $528.72
PHIL PORTERFIELD                                                      $528.64
J & M HOG FARMS                                                       $528.16
FRED STEFFENSMEIR                                                     $527.97
MARK ROGERS                                                           $525.74
MIKE FAGG                                                             $525.29
ANDY & AAR RASCHKE                                                    $523.37
TIM BARTH                                                             $523.04
ROGER PETERS                                                          $520.26
TERRY ANDERSON                                                        $519.83
KENNETH NEISEN                                                        $519.72
KENT DEROOI                                                           $519.37
WALSH HOG FARM                                                        $518.28
MOLL FARMS INC                                                        $518.03
JAMES & JU LAUFENBER                                                  $517.54
BRAD IRLBECK                                                          $517.48
JOHN WEINHEIMER                                                       $516.29
GARY PARMENTER                                                        $516.27
SWINE 84                                                              $514.80
RON RUHLAND                                                           $514.20
MICHAEL COLE                                                          $513.92
MARVIN, LE GARRETT                                                    $513.90
KATHY TUSCHEN 50%                                                     $513.53
KOREY HOFER                                                           $511.90
FRED DIERS                                                            $511.89
TYLER TOOMSEN                                                         $511.56
KLEINHENZ BROS                                                        $511.00
GARY WITT                                                             $509.81
VASKE BROTHERS                                                        $509.69
DAN LYONS                                                             $509.07
MICHAEL DEUTH                                                         $508.65
DAN BUENING                                                           $508.44
JOE WETTER                                                            $507.44


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Row Labels: Producer_Name                                         Sum of NET_PRICE
STEVE ROQUET                                                          $507.38
BOB HURT                                                              $505.58
FRED SCHEIDER                                                         $504.67
RANDY GARBERS                                                         $504.39
RICHARD ARTHUR                                                        $504.00
JAMES ELCHERT                                                         $503.46
EGNEW FARMS                                                           $503.37
ALVIN TIEMEYER                                                        $503.34
GERALD RATHMAN & SON                                                  $502.86
IRA HOOVER                                                            $502.45
GREG HAERTLING                                                        $501.97
LOCUST HIL FARMS INC                                                  $501.89
MUDD FARMS                                                            $501.41
UNIVERSITY OF I                                                       $501.37
FRED NIGHTINGALE                                                      $500.80
DON SPITZNAGLE                                                        $500.32
DELORIS RENBARGER                                                     $498.71
RONALD LANDES                                                         $497.37
ALAN SCHLESSELMAN                                                     $497.27
STEVE COBB                                                            $496.84
CRIDER FARMS                                                          $496.37
R S V FARMS INC                                                       $496.12
DONALD LOUWAGIE                                                       $495.39
WARREN EDELMAN                                                        $493.91
STEVE HELLENBRAND                                                     $493.72
DAVID MICKELSON                                                       $492.70
IRLBECK FAMILY                                                        $491.29
ART MOSS & SONS INC                                                   $488.38
LARRY BANOWETZ                                                        $486.83
KEN & KATH SAYLER                                                     $486.40
MIKE FENSKE                                                           $485.44
JOEL ROELIKE                                                          $484.98
PAUL ADAMS                                                            $484.94
MIKE GABEL                                                            $484.21
K & K SWINE FAR                                                       $483.91
FISCHER BROTHER                                                       $482.74
BADER & BADER                                                         $480.44
MENKE SWISS FAR                                                       $480.03
GERALD J MERTENS                                                      $479.11
TERRY BAGGETT                                                         $476.69
SOMMERS FARMS I                                                       $475.87
NICK WM KOOIKER JR                                                    $475.48
JEROME RIESSELMAN                                                     $473.54
DEAN VERBECK                                                          $471.31
GENE PEASEL                                                           $470.30
ROGER EBBERT                                                          $469.89
ARMES GRAI LIVESTOCK                                                  $469.57
   EVAN HAVEL                                                         $468.23
MARK HUIRAS                                                           $467.00
GEORGE KEPNER                                                         $466.95
RANDY J KASSMEIER                                                     $465.73
HENRY SMOLENSKI                                                       $464.95


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Row Labels: Producer_Name                                         Sum of NET_PRICE
BUE JR HARVEY & ANIT                                                  $464.64
BRIAN CUMMING                                                         $464.04
JOHN DION                                                             $462.98
JERRY KIRCHER                                                         $462.93
MARK WISE                                                             $462.37
MARK R SCOTT                                                          $462.17
HEUS FARMS                                                            $461.89
DALE HAUDER                                                           $461.75
LYNN MOHR                                                             $461.73
BRANDON MEYER                                                         $461.21
    ROD TRAMP                                                         $461.08
CARL FERRAND                                                          $460.20
CHRISTOPHE HARTKE                                                     $460.15
TERRY ROTH                                                            $459.85
KEITH I IVERSON                                                       $459.60
RON MARTIN                                                            $459.47
RUSSELL SCHULTZ                                                       $458.76
ED SANDERSON                                                          $458.76
THREE K FARMS                                                         $458.59
KEITH POPPY                                                           $458.21
J R FECKE                                                             $457.67
STANLEY HALL                                                          $456.31
TRI‐C AG LLC                                                          $456.17
J S HEFFERNAN SR                                                      $456.00
ISU SWINE TEACH                                                       $455.73
KEN GOODMAN JR                                                        $455.68
KELLER FARMS                                                          $455.28
FRANKS SUN RISE                                                       $454.33
DALE HINNERS                                                          $454.32
HARTMANN FARMS                                                        $453.79
FISCHBACH BROS                                                        $453.78
HAROLD CARR                                                           $453.15
DALE STUEVE                                                           $452.65
CENTURY 2 FARM                                                        $452.62
DEL‐MAUR FARMS                                                        $450.52
BART JONES                                                            $450.11
LONGACRES FARM                                                        $449.89
CURT CARLSON                                                          $449.86
ROOT FARM                                                             $448.16
DICK BRAND                                                            $447.88
DOUGLAS E MOYER                                                       $447.18
ROBERT I JENSEN                                                       $446.79
COWSER INC                                                            $445.77
R & R PORK                                                            $445.46
SCHOENFELDER FA                                                       $445.46
FREEMAN M MILLER                                                      $445.14
GLENN MITTS                                                           $444.85
IFFT YORKSHIRES                                                       $444.82
OARDC                                                                 $444.22
GARY SIEBENECK                                                        $444.18
LOUIS KRUEGER                                                         $444.11
VOGE FARMS INC                                                        $443.73


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Row Labels: Producer_Name                                         Sum of NET_PRICE
HUBERT W HAGEMANN                                                     $443.30
PAT ROACH                                                             $442.87
DARIN KRUSE                                                           $442.55
ROGER FUJAN                                                           $441.93
   DAVE LUBISCHER                                                     $441.59
DEAN SVEHLA                                                           $441.54
JOEL HANSEN                                                           $441.30
H D WILSON                                                            $440.75
CHUCK KING                                                            $440.20
STEVE FALK                                                            $440.01
KIRBY MOLDENHAUER                                                     $439.79
PAPLOW BROTHERS                                                       $439.77
BRIAN PUTT                                                            $438.52
DON COCKROFT                                                          $438.49
BRIAN LEITSCHUH                                                       $437.53
ED ROBINSON                                                           $437.21
RAYMOND WHEATLEY                                                      $436.28
MAURICE WOEBKENBERG                                                   $435.26
GARY M SPORRER                                                        $434.23
DEAN LEISURE                                                          $433.17
RAY GASKILL                                                           $432.73
EDWARD ALLEN                                                          $432.24
SCOTT BIRKEY                                                          $430.65
JASON VANDONSELAAR                                                    $430.46
OTTER CREE FARMS                                                      $430.13
UNIVERSITY SWINE RES                                                  $429.77
TRIPLE G RANCH                                                        $428.28
LUDEAN JOHNSON                                                        $427.93
STEVE BOS                                                             $427.85
HARLEY MEHLHAF                                                        $426.70
ROGER KRITZECK                                                        $426.66
KATHY WELLS                                                           $426.64
JERRY OBRYAN                                                          $425.81
RUSSIAN SHOW PI                                                       $425.44
JOHN VAUBEL                                                           $425.20
GRAYMONT CO‐OP                                                        $423.65
CHRIS NOLAN                                                           $423.47
JASON JOHNSON                                                         $423.32
GARY MAATSCH                                                          $423.24
DOUG NEEDHAM                                                          $421.15
DAN HACKER                                                            $421.07
RADKE FARMS                                                           $420.46
MARK RASMUSSEN                                                        $419.47
ROBERT OSTERBERG                                                      $419.29
CRESTVIEW FARMS                                                       $418.67
EDWARD MOORE                                                          $417.21
WILLARD WIERSON                                                       $416.65
   BILL DROPPERT                                                      $416.40
SINCLAIR GENETI                                                       $416.29
PERCISION PORK                                                        $415.53
KLMS                                                                  $415.47
CRYDERMAN USA INC                                                     $414.97


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Row Labels: Producer_Name                                         Sum of NET_PRICE
MARION DENLINGER                                                      $414.09
LEROY KNEPP                                                           $412.19
VANDERMOLEN FAR                                                       $411.50
AL KALTENBERG                                                         $411.16
HINES HOG FARMS                                                       $410.83
RANDY DYER                                                            $410.80
ROMAN LILLA                                                           $410.04
WINDY RIDG FARMS LLP                                                  $409.96
PRODUCERS PRAIRIELAN                                                  $409.33
GREG GLENN                                                            $408.79
JUBILEE PORK                                                          $408.56
DOUG FELGER                                                           $408.45
LANCE KIPFER                                                          $407.92
CHRIS BIRKY                                                           $407.62
JEFF WELCH                                                            $406.89
KURT D LAIDIG                                                         $406.70
GERALD O KERSTEN                                                      $405.95
BONES FARMS                                                           $405.83
HUGE HOG                                                              $405.24
TODD PRICE                                                            $404.26
MARK ROTH                                                             $404.10
THOMAS G MILLER                                                       $403.44
JON BROWN                                                             $403.13
MATTHEW FAGAN                                                         $402.30
RICK NELSON                                                           $402.28
   JOHN WIESE                                                         $401.93
   TED WEGENER                                                        $401.59
VANDONSLAAR BRO                                                       $400.52
JOHN OLSEN                                                            $400.28
R G T CARLSON INC                                                     $400.09
DOUG ROBISON                                                          $399.00
C & S FINISHERS                                                       $398.75
ALLEN G RODGERS                                                       $398.63
   RAY LINDHORST                                                      $398.46
RICHARD FOELS                                                         $398.38
JUDY UPDIKE                                                           $397.95
RAY FELDOTT                                                           $397.92
ALVA L GRABER                                                         $397.54
DON POMERANKE                                                         $397.41
MARK WOLTERMAN                                                        $397.39
TOM MEYER                                                             $396.47
TRIPLE K FARM                                                         $396.17
STEVE RESLER                                                          $395.80
WALK STOCK INC                                                        $395.68
SUN TERRA FARMS                                                       $393.72
   TODD MAURER                                                        $393.71
DOUG ALGRA                                                            $392.81
ANTHONY LIVERS                                                        $391.75
KEN DESPLINTER ESTA                                                   $391.59
POST SWINE FARM                                                       $391.31
ROBERT YAGER                                                          $390.87
TITUS BONTRAGER                                                       $390.70


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Row Labels: Producer_Name                                         Sum of NET_PRICE
TIM CARRAHER                                                          $390.27
ROGER IVERSON                                                         $390.16
STOBERL FARMS                                                         $389.77
LOUIS BANGEL                                                          $389.41
RANDY LOGES                                                           $389.30
BRIAN RITLAND                                                         $388.97
QUALI‐T PORK                                                          $387.41
RANDY HULS                                                            $387.36
SWANSON FARMS                                                         $386.95
MARK NELSON                                                           $384.17
WABASH LAND & L                                                       $383.70
CARL HANNON                                                           $383.28
MARK BRUNSING                                                         $383.27
CHRIS MILLS                                                           $382.00
RICKY MYERS                                                           $381.43
KEVIN CLINGAN                                                         $381.30
DAN NELSON                                                            $381.25
JIM MERTZ                                                             $380.47
DWIGHT BURTON JR                                                      $379.23
JOHN BURR                                                             $378.85
TWO MILE PORK L                                                       $378.53
PRO NET                                                               $378.26
KERRY HEIDEN                                                          $378.19
5359689                                                               $377.92
DAN HORTON                                                            $375.85
JOE PALEN                                                             $374.87
MARION HEINTZ                                                         $374.00
TOBIE BONTRAGER                                                       $372.16
BEHSLICH FARMS                                                        $371.67
GARY LOSCHEN                                                          $370.36
ROY BONTRAGER                                                         $370.31
KENNY WIEBBEKE                                                        $370.08
TRAVIS JESKE                                                          $369.85
NIPCO                                                                 $368.99
KEVIN RICKER                                                          $368.25
SCOTT OBERLIN FARM                                                    $367.96
GARY BOGENPOHL                                                        $367.92
WILSON FMLY LVS                                                       $367.28
DARWIN STUART                                                         $367.01
NORTH STAR FAMILY FA                                                  $366.86
LARRY SKILES                                                          $366.46
F‐3 INC                                                               $365.13
G & J FARMS INC                                                       $364.96
JERRY BRANDT                                                          $364.83
HUBERT KEPNER                                                         $364.40
WILDT FARMS                                                           $364.30
BOB PARKER                                                            $364.08
KIM VAN ETTEN                                                         $363.80
MCDANIEL FARMS                                                        $363.20
   F ELA GERLACH                                                      $363.00
STEPHEN D LINK                                                        $362.11
RENE DETERDING                                                        $361.74


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Row Labels: Producer_Name                                         Sum of NET_PRICE
BRIAN MEIER                                                           $361.00
NICHOLAS GETTLER                                                      $360.30
KEITH MELTZER                                                         $360.20
STOUT BROTHERS                                                        $359.97
ELVA L MILLER                                                         $359.36
ROGER SMITAL                                                          $358.78
MACHELLE SMITH                                                        $358.75
MAP MARKETING                                                         $358.12
ED BERG                                                               $357.87
PORK‐Q‐PINE                                                           $357.83
MAYTOWN PORK                                                          $357.41
DEAN LUNDEEN                                                          $357.34
DONALD BEECK                                                          $357.31
JOHNSON FARMS                                                         $357.29
DANIEL DEUTH                                                          $357.08
CLARION SWENSON                                                       $356.87
VALLEY VIE INC                                                        $355.59
INDIANA STATE F                                                       $355.57
NORMAN HAVLIK                                                         $355.34
STEVE TIEDE                                                           $355.33
JONI BORNTREGER                                                       $355.11
RAYMOND & DITTMER                                                     $354.94
JIM LEHE                                                              $354.73
CLYDE TAYLOR INC                                                      $354.60
PETE DULL DULL HOMES                                                  $354.12
HOG MARKET ‐ MO                                                       $354.07
SYCAMORE CREEK                                                        $354.04
SOUTHSIDE FARMS                                                       $353.86
GOLINGHORST INC                                                       $353.53
DALE LARSEN                                                           $353.39
HAROLD (1/ BIBLER                                                     $353.28
MARK BIRKEDAL                                                         $353.28
PHIL KORDICK                                                          $352.19
DANA SLEEZER                                                          $351.89
STEVE OR T MOECKLY                                                    $351.68
DAVID KELSAY                                                          $351.32
MORRISON & MORR                                                       $351.02
KIRK & ROB MILLER                                                     $350.93
RAY‐KAY FARMS                                                         $350.32
FRANK FEHR                                                            $349.75
FARM LLC FRANKLIN BR                                                  $349.65
TONY JONES                                                            $348.73
TERRY SPILINEK                                                        $348.30
JIM HUGHES                                                            $346.00
JAKE'S FAR LIVESTOCK                                                  $345.72
GARY HOLMEN                                                           $345.69
TYSON FOOD (MW/PG)                                                    $345.14
PREISTER LVSTK                                                        $344.95
JEFF HALBUR                                                           $344.52
KROFT MAPL FARMS INC                                                  $343.61
JIM MC COY                                                            $343.30
MARK METZGER                                                          $342.80


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Row Labels: Producer_Name                                         Sum of NET_PRICE
GLEN GOETTSCH                                                         $342.77
NICHOLSON FARMS                                                       $342.05
FRED CLOUSER                                                          $341.46
FRITSCH FARMS I                                                       $339.04
DAVE ADAMS                                                            $338.37
AG PRODUCTS                                                           $338.01
COHARIE HO INC                                                        $337.60
DEAN BIERY                                                            $336.15
MAIN HITCH FARM                                                       $334.46
G & L BEYER FARMS                                                     $332.31
STACEY STUCKY                                                         $331.32
CHAD MEESTER                                                          $329.61
CATEY FARMS                                                           $329.58
JON FUHRMAN                                                           $328.48
421094                                                                $328.26
TONY REUST                                                            $328.09
BRYON SCOTT                                                           $328.06
DENNIS FOX                                                            $327.59
JERRY BRUNSING                                                        $327.28
DJR FARMS INC                                                         $327.13
LARRY KAMMERER                                                        $325.79
DOUG THORNBURGH                                                       $324.59
VIRGINIA K MILLER                                                     $322.92
MAPLE HILL FARM                                                       $322.31
   GRACE HILL                                                         $322.10
BILL MEYER                                                            $321.74
DALE ANDERSON                                                         $320.11
WELLMAN FE ASSOC                                                      $320.00
RAY SLACH FARMS                                                       $319.72
   GALEN RENNER                                                       $317.49
HERROLD FARMS                                                         $317.42
BRAD WICKENSIMER                                                      $317.20
DALE PETER                                                            $317.19
STAN & KIM BRENNEMAN                                                  $316.91
BERT NOLL                                                             $316.59
KEN PLUMSKI                                                           $315.66
LARRY MAXON                                                           $315.43
JIM ZELENY                                                            $315.33
KEVIN WALTNER                                                         $314.64
G C W SCHULTZ INC                                                     $313.99
JERRY SHIELDS                                                         $313.98
CURT M TEGGATZ LLC                                                    $313.66
ELLIOT DRISCOLL                                                       $313.51
   JAMES THOMA                                                        $313.35
DENNIS WITTROCK                                                       $312.98
WESTERN GOLD FA                                                       $312.46
JERRY GRIEGER                                                         $311.94
JOHN VAN HEUKELOM                                                     $311.70
DAVID HALT                                                            $310.93
4‐WAY PRODUCTIO                                                       $310.29
BERNARD LUMBREZER                                                     $309.91
BOB DAILY                                                             $309.73


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Row Labels: Producer_Name                                         Sum of NET_PRICE
MIKE HARRINGTON                                                       $309.68
MILLER HOG FARM                                                       $309.43
PAUL SNYDER                                                           $308.01
DALE ERICKSON                                                         $308.00
DARYL SKILES INC                                                      $307.48
R & L FEEDING                                                         $307.40
EXCEL PLAY USA INC(#                                                  $306.54
RICHARD ANDERSON                                                      $304.20
AG ASSOC WEBSTER COU                                                  $304.14
PRENTICE KARSJENS                                                     $304.13
RICHARD KLUBERTANZ                                                    $303.97
   LEONA HOTOVY                                                       $303.73
GLENN WILKE                                                           $303.25
JEFFREY MARTENSON                                                     $303.10
ALBERT MAAG                                                           $302.48
JOHN VANDONSLAAR                                                      $302.34
NORTH OAKS PROJ                                                       $301.64
ROBERT & R MACE                                                       $301.43
A & J LIVESTOCK                                                       $301.24
ADAMAS II INC                                                         $301.00
BUTCH KRUSE                                                           $300.94
SCOTT SMITH                                                           $300.87
WAYNE ROBERTS                                                         $300.37
JOHN NESSON                                                           $300.04
BILL SCHULTES FARM #                                                  $299.84
ART SCHWARTZ                                                          $299.73
MILO PAULSEN                                                          $299.58
ROY R SPIELMAN                                                        $298.22
DAVE ROETH                                                            $296.67
DAVE SEAT                                                             $295.35
DENNIS HOENIG                                                         $295.12
JOHN EAGLE                                                            $294.42
MATT ROHRIG                                                           $294.12
TOM HARTY                                                             $293.89
JO‐RIC FARMS IN                                                       $293.82
GREG LACY                                                             $293.47
ARMIN CHRISTIANSEN                                                    $293.37
GAYLON JOHNSON                                                        $292.80
JOE KEITH                                                             $292.77
STEVE ARCHER                                                          $292.71
LARRY VIOX                                                            $291.61
LYLE NELSON                                                           $291.07
DGS SWINE                                                             $290.72
RICHARD NIGHTINGALE                                                   $290.45
JON GRUNDEMAN                                                         $289.90
ARVIN DECOOK                                                          $288.38
CUMMINGS BROTHE                                                       $288.01
GARY FUNKHOUSER                                                       $286.83
WILMER D FREY                                                         $286.36
CORY SICKAFOOSE                                                       $285.52
G A B HAMMAN                                                          $285.01
5350503                                                               $284.87


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Row Labels: Producer_Name                                         Sum of NET_PRICE
CONNOR SACKETT                                                        $284.78
DARRELL WESTHOFF                                                      $284.56
WINDMILL SWINE                                                        $284.31
JOHN RAY KNEPP                                                        $284.04
JAY JEDLICKA                                                          $283.80
KEN DITTBENNER                                                        $283.79
DENNIS DETERDING                                                      $283.55
JONES FARMS                                                           $283.20
MAPLE ACRES INC                                                       $283.18
SIMLER WIN ACERS INC                                                  $282.75
DENNIS CLAVER                                                         $280.51
ED BARTELL                                                            $280.45
DURSTON BROTHER                                                       $279.75
PAT MARTENS                                                           $279.66
KENNY MEYER                                                           $279.35
RON SENNERT                                                           $279.19
MELVIN OR FREY                                                        $278.90
JEFF SICKAFOOSE                                                       $278.66
NOAH LENGACHER                                                        $277.26
LEE NEWSOME                                                           $275.50
GERALD KRIENERT                                                       $271.85
RICHARD BEUTH                                                         $271.65
KEN RUNDE                                                             $271.23
TYSON FOOD CONTRACT                                                   $271.17
ORK HIDDEN VALLEY P                                                   $270.78
STEVE SNIDERWIN                                                       $269.33
BILL FLIESS                                                           $268.84
MARTIN GINGERICH                                                      $268.75
DANNY WALKER                                                          $267.05
ROGER EISCHEID                                                        $266.19
JON TIEMANN                                                           $265.95
LYNN GUENZEL 50%                                                      $265.93
SKAAR SCATTERED                                                       $265.85
WHITE CO AG ASS                                                       $265.83
RENSING'S FARM INC                                                    $265.70
TRIPLE P FARMS                                                        $265.41
MITCH REBHOLTZ                                                        $265.24
RALPH & GE MEIERGERD                                                  $264.92
BILL & BAN BATES                                                      $264.68
RON SCHULTZ & SONS                                                    $264.50
STEVE COLE                                                            $264.49
STRUVE LAB                                                            $264.00
ALCOTT PORK                                                           $263.66
GALEN HORST                                                           $263.50
DHYSE FARMS                                                           $263.44
   TERRY PREISTER                                                     $262.78
EASTERN KE UNIVERSIT                                                  $262.66
SANDY HICKS                                                           $261.36
LOYD BUSDIEKER                                                        $260.25
DON SHELDON                                                           $259.90
BILL BRANDAU                                                          $259.71
KEITH DUCKWALL                                                        $259.65


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Row Labels: Producer_Name                                         Sum of NET_PRICE
J & C SICKAFOOSE                                                      $259.53
G WAYNE OLSEN                                                         $258.86
   DAN KORTH                                                          $258.73
DOUG K MEDSKER                                                        $258.65
HAMMILL FLAT CO                                                       $258.24
   MARY HEMMER                                                        $258.04
KUEKER FARMS                                                          $258.03
KLASSEN FARMS I                                                       $257.96
BOB MADSEN                                                            $257.90
KENT YODER                                                            $257.72
GARNETT REED                                                          $257.34
BLARE GERBER                                                          $257.08
CRAIG PETERSEN                                                        $256.90
HARTLAND FARMS                                                        $256.79
STEVEN SAYERS                                                         $256.67
KENNY REYNOLDS                                                        $256.49
ELMER H GRABER                                                        $256.38
5 J STOCK FARMS                                                       $256.22
JOE YOUNG JR                                                          $255.68
ANDREWS FARMS                                                         $255.47
NC KLASSEN FARMS I                                                    $254.98
C F STANEK                                                            $254.05
BONNIE CREST FA                                                       $253.94
MIKE NORRIS                                                           $253.74
DEAN WERNLE                                                           $253.55
PAT STEFFENSMEIER                                                     $253.38
ADAM VON MOOS                                                         $253.13
   LORI HAVEL                                                         $252.46
BRIAN BENDER                                                          $252.40
KEITH STANTON                                                         $252.30
RICHARD STEARLEY                                                      $252.05
ROD GREINER                                                           $251.70
LONNIE J LAMBRIGHT                                                    $251.22
KEITH SAMUELSON                                                       $250.58
MIKE SCHLOTE                                                          $250.50
BRAD HEMENWAY                                                         $250.17
EDWIN & GL STUEVE                                                     $249.82
KLEIN PORK LTD                                                        $249.67
STEVE NEAL                                                            $249.40
VIC WOLF                                                              $249.29
BETTER NUTRITIO                                                       $249.19
JESUS TISCARENO                                                       $249.18
MIKE SCHMIDGALL                                                       $248.77
BRANDON SMITH                                                         $248.08
   DARRE MENKE                                                        $247.80
PREMIUM PO GRAIN LLC                                                  $247.65
PHIL TITUS                                                            $247.14
JAMES WALL                                                            $246.61
GEORGE WATSON                                                         $246.16
PRO‐PIG                                                               $245.80
JOE TERRY                                                             $245.65
LEVI KELLER                                                           $245.26


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Row Labels: Producer_Name                                         Sum of NET_PRICE
MYRON SEIDL                                                           $245.25
ROGER SMITH                                                           $244.84
GARRY RANKIN                                                          $244.80
KARLS LVSTK FAR                                                       $244.63
RANDY VOSS                                                            $244.57
LEROY FRITSCHE                                                        $244.42
RANDY STEARNS                                                         $244.36
JEFF OTTOT                                                            $243.65
DAVID FROMAN                                                          $243.38
MINNESOTA FARMS COOP                                                  $242.78
LARRY NILGES                                                          $242.31
BAUMAN FARMS LL                                                       $242.23
LEO OLSEM                                                             $242.13
ANDY SHULL INC                                                        $241.69
B R K PORK                                                            $241.50
CLETUS FAIR                                                           $241.44
PORK FORUM                                                            $240.46
MIKE MCAFEE                                                           $239.80
BRIAN HOPKINS                                                         $239.65
GARY HOTKA                                                            $239.57
J C ZIMMERMAN                                                         $239.31
ROBERT ZOBEL                                                          $238.85
JACK RICKER                                                           $238.74
MARK TAULMAN                                                          $238.65
PIG ALLIANCE                                                          $238.30
STEVE STALEY                                                          $238.25
DAN MASSEY                                                            $238.06
ETHAN EPLEY                                                           $237.75
DONNIE THIEMS                                                         $237.01
FRANK GRUSY                                                           $236.83
DAVE FRIST                                                            $236.73
FARMS LTD TWIN BROOK                                                  $236.56
LENNY STOUT                                                           $234.85
WATSON/HAMPS &                                                        $234.76
GARY WEBER                                                            $232.18
RON GAHM                                                              $232.00
ROLAND BRAND                                                          $231.94
MARK DECOOK                                                           $231.35
HARRELL FARMS                                                         $231.00
MILLIGAN PORK                                                         $230.14
BILL & RON DROPPERT                                                   $230.03
PASSPORT PIG CO                                                       $229.99
P M FARMS                                                             $229.50
DARLA KROGMAN                                                         $229.25
BRUCE E BUTCHBAKER                                                    $228.50
DANIEL HERRIOTT                                                       $228.50
CARL KOPKA                                                            $228.45
DAN HUFF                                                              $228.30
STEVE WEILER                                                          $228.25
BUFFALO HART PO                                                       $228.00
JOHN HILLESON                                                         $227.93
ROGER HOLUB                                                           $227.59


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Row Labels: Producer_Name                                         Sum of NET_PRICE
JULIA LAMBERT‐O'KEEF                                                  $225.97
EMILY HERZBERG                                                        $225.73
JOE SCHWARTZ                                                          $225.00
   JIM DUCOMMUN                                                       $224.23
DEAN K BEENKEN                                                        $223.25
PRTNR NORTHERN NANCE                                                  $223.25
NEW FEEDS                                                             $222.70
JIM STEELE                                                            $222.43
PAT ALBRIGHT                                                          $222.25
GORDON PRINGNITZ                                                      $222.10
WARD BAKER                                                            $222.09
WORLAND FARMS L                                                       $222.06
BRUCE HARREN                                                          $221.23
ED FREY                                                               $220.20
HIDDEN HILLS FA                                                       $219.99
KENNETH MAJEWSKI                                                      $219.75
MIKE BIERY                                                            $219.58
ROD THOMPSON                                                          $218.50
REVLETT HILL FA                                                       $218.38
ROKEY & ROKEY                                                         $218.34
GLEN HAWKINS                                                          $218.25
LARRY SCHIEFFER                                                       $218.00
RIVERSIDE FEED LIVES                                                  $217.63
COX FARMS                                                             $217.44
MADSEN AG INC                                                         $216.86
JAYSON BUTTS                                                          $216.00
   RICHA BENDER                                                       $215.57
DOUG WORLEY                                                           $215.57
BRIAN GRABER                                                          $214.92
MARTI HOG FARMS                                                       $214.50
JEFF SPELLMAN                                                         $214.00
VISSER FARMS IN                                                       $213.97
KEITH JORDAN                                                          $212.92
LOUIS VAETH                                                           $212.75
5419943                                                               $212.61
   JEREM JINDRA                                                       $212.26
TIM & TERR FOLTZ                                                      $211.99
BILL GIEBEL                                                           $211.68
ROBERT WALSTRA                                                        $210.93
BEN SPILKER                                                           $210.36
WILLIAM CURD                                                          $210.35
BROUWER FARMS                                                         $210.06
DENNIS BRUBAKER                                                       $209.93
DEYOUNG PORK                                                          $209.50
STEVEN KEIL                                                           $209.40
JIM KOOPMANS                                                          $209.04
HICKORY LANE FA                                                       $209.01
& SEED PERFORMANCE F                                                  $208.99
HERB BURRIS                                                           $208.53
TOM KRUSEMAN                                                          $207.99
CLAY CO EXTENSI                                                       $207.90
LARRY SOLTER                                                          $207.75


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Row Labels: Producer_Name                                         Sum of NET_PRICE
BANKSTON FARMS                                                        $207.47
RAY FUTRELL                                                           $207.26
TERRA PLANA FAR                                                       $207.23
CARROLL CLINE                                                         $206.93
OMAR SCHROEDER                                                        $206.83
PAT ZAVIDAL                                                           $206.74
RONALD TOOMSEN                                                        $206.39
DENNIS POHLMAN                                                        $206.35
JOHN SCHRENK                                                          $205.67
D & D HEET FARMS LLC                                                  $205.48
WESTERN KY FARM                                                       $205.41
TOM KURTENBACH                                                        $205.37
SHIRLEY MEYER                                                         $204.75
KEITH POOLE                                                           $204.71
ROGER JAUER                                                           $204.49
JAMON BARNES                                                          $204.39
AARON DETTMAN                                                         $204.38
ISU SWINE BREED                                                       $204.38
BRYAN APPLETON                                                        $203.77
CRAIG MCGILL                                                          $203.77
K & K BRUNES                                                          $203.74
DETTMAN FARMS L                                                       $203.46
ROBERT WISE                                                           $203.00
SETH GILSTRAP                                                         $202.51
TIM WILSON                                                            $202.50
SCHEFERS FARM                                                         $202.46
STEVE RUEHLOW                                                         $201.98
HEIMERDINGER FA                                                       $201.73
LEROY & JE PORTER                                                     $201.60
BART HORSTMAN                                                         $201.55
FLAT ROCK LLC                                                         $201.46
RICKY KELLY                                                           $201.37
TED DEHAVEN                                                           $201.20
BEN PEACHEY                                                           $201.19
   JODY MEINERS                                                       $201.03
DUANE VERPLOEG                                                        $200.81
ILL STATE UNIVE                                                       $200.78
GEB FINISHERS                                                         $200.72
S & W FARM                                                            $200.67
HILLTOP SWINE                                                         $200.63
TOM IFFT                                                              $200.62
421238                                                                $200.36
VERN SCHIEFFER                                                        $200.34
DUANE FRANZ                                                           $200.01
AUSTIN RATHMAN                                                        $199.19
MIKE KILLION                                                          $199.19
WEBER HOG FARM                                                        $198.43
RICHARD DIRKX                                                         $198.00
ALAN KRIENERT                                                         $197.94
FISHER HOG FARM                                                       $197.66
MIKE MCMANIMON                                                        $197.52
TONY GROTE                                                            $197.32


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Row Labels: Producer_Name                                         Sum of NET_PRICE
KIMCO FARMS INC                                                       $196.72
RICKY FLUGGE                                                          $196.49
M & K FARMS                                                           $196.46
SANDBUR FARMS                                                         $195.72
DEAN HUSEMAN                                                          $195.63
RODNEY HUBER                                                          $194.85
JIM MAY                                                               $194.17
DUANE MARTIN                                                          $194.00
DON LAMPLEY                                                           $193.96
MICHAEL CRESS                                                         $193.92
POWDER RIVER RA                                                       $193.85
LAUT'S HOG FARM                                                       $193.69
MIDWAY SWINE                                                          $193.62
LEROY M COFFELT                                                       $193.34
KEN DESPLINTER                                                        $192.97
MARLIN FABER EN                                                       $192.75
BENSON GRAIN IN                                                       $192.70
IVAN ZETTLE                                                           $192.09
JERRY BARTA                                                           $192.09
DEBBIE ANDERSON                                                       $192.00
ROBERT THULINE                                                        $190.87
LARRY SMITH                                                           $190.50
SHERRY POTTER                                                         $190.50
DALLAS HANSEN                                                         $190.27
DYKHUIS FA INC‐IN                                                     $190.14
DECLERCK BROS                                                         $189.22
RICHARD LESSEN                                                        $189.18
BRIAN LEIBOLD                                                         $189.14
STANLEY FUHRMAN                                                       $188.76
RICK CASTLE                                                           $188.75
MILKY WHEY PORK                                                       $188.70
CRAIG ANDERSON                                                        $188.50
DENNY HOLTROP                                                         $188.50
PAWNEE CRK FARM                                                       $188.47
KIM SCHMELTZ                                                          $188.10
LINKER FARM INC                                                       $187.45
BUFFALO RUN                                                           $187.44
JON BECKIUS                                                           $187.00
LARRY BEIERMAN                                                        $186.88
CHARLES GREENEWAY                                                     $186.75
ROBERT DROESSLER                                                      $186.00
VALLEY VIEW POR                                                       $186.00
BRENT MOENS                                                           $185.16
ROLAND GREATTING                                                      $185.00
KJMM                                                                  $184.32
RICH VERHEECKE                                                        $184.20
JOE EISTERHOLD                                                        $184.17
RODNEY JEWEL                                                          $183.90
TIM PODUSKA                                                           $183.81
DENNIS PINGEL                                                         $183.73
JERRY LAMBRIGHT                                                       $183.69
S G H HOG PRODU                                                       $183.08


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Row Labels: Producer_Name                                         Sum of NET_PRICE
BRIAN HINES                                                           $183.07
EVERETT BREMER                                                        $182.90
LOREN JOHNSON                                                         $182.46
CHAD W ARE NEW VISIO                                                  $182.42
D & M PORK LLC                                                        $182.34
DELBERT FURNISH                                                       $182.33
RODNEY BARR                                                           $181.75
JIM BORCHERT                                                          $181.28
JEFF SMITH                                                            $181.15
ARICK LANDIS                                                          $181.07
   DEAN PRESITER                                                      $180.59
VIRGINIA TOON                                                         $180.59
PARKS LIVESTOCK                                                       $180.00
DOUG FOUCH                                                            $179.82
JAY KUEHNE                                                            $178.97
KENT BARGFREDE                                                        $178.79
ERVIN BONTRAGER                                                       $178.36
DENNY BECKER                                                          $178.29
MIKE SORRILL                                                          $177.99
SANDRA ALLGIER                                                        $177.85
BUTCH SHAW                                                            $177.84
JEFF NORMAN                                                           $177.16
JOHN TELLE                                                            $176.69
NEMAHA MILLING                                                        $176.53
STEVE MITCHEM                                                         $176.25
JESSICA REICHERT                                                      $176.00
ED WEBSTER                                                            $175.67
CODY KOKEMILLER                                                       $175.63
DAN LAHRMAN FARMS I                                                   $175.53
L B PORK                                                              $175.25
JOHN SHERMAN JR                                                       $174.75
LINN VALLEY PIG                                                       $174.59
   PEG JAMINET                                                        $173.65
MILLS BROTHERS                                                        $173.54
PAUL HAYS                                                             $173.06
PHIL FLINT                                                            $172.00
BRIAN KEITZER                                                         $171.62
PAT KIENTZY                                                           $171.40
DONNIE RIFE                                                           $171.00
GWILLIM FARMS I                                                       $170.36
HANSEN HOG HAVE                                                       $170.23
RANDY BELL                                                            $169.95
AUGUST RUNGE III                                                      $167.98
DALE WEBB                                                             $167.52
LLOYD SWIHART                                                         $167.48
PHILIP JACOBSON                                                       $167.00
OUR WAY LLC                                                           $166.81
DAVID BARNARD                                                         $165.05
LEAN‐ON                                                               $164.99
RUSSELL HARDY                                                         $164.75
ALIG FARMS                                                            $164.69
GRASS RANCH COL                                                       $164.34


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Row Labels: Producer_Name                                         Sum of NET_PRICE
ADRIAN ACRES LL                                                       $163.38
JOHN CARR                                                             $162.61
LEVI BONTRAGER                                                        $162.50
SPENCER PUZZLE                                                        $162.47
KURT SCHREITER                                                        $162.07
APPO FEEDERS                                                          $162.00
NATHAN BRANDT                                                         $161.76
BILL TUSA                                                             $161.67
BILL STEARNS                                                          $161.50
STEVENSON FARM                                                        $161.07
DENNIS KING                                                           $160.89
AARON STEVENS                                                         $160.80
   KEVIN MERTENS                                                      $160.73
OTTO BRINKMAN                                                         $160.50
STEVEN FAUST                                                          $160.27
SCOTT & LY EICHELBER                                                  $160.25
DAVID WHEELER                                                         $160.12
ED FENNER                                                             $160.09
WELTY FARMS                                                           $160.06
WHITE RIVER COO                                                       $159.50
DENNIS J VANDELUNE                                                    $159.30
BRUCE BRUHN                                                           $158.23
MARK BLINDT                                                           $158.14
ROGER WALLER                                                          $157.90
KB AG ENTERPRIS                                                       $157.67
CRANBROOK FARM                                                        $157.50
CIRCLE G FARMS                                                        $157.21
ROBERT RITSCHER                                                       $157.20
DAVID BECKMAN                                                         $157.01
WAYNE MCQUILKIN                                                       $156.95
JAKE STORM                                                            $156.85
5141597                                                               $156.76
DAN ALSTAD                                                            $156.35
JOHN GENZ                                                             $156.35
LES SMITH                                                             $156.32
416100                                                                $156.30
RANDY RIEKEN                                                          $156.30
MARK EVANS                                                            $156.25
MARK RUEN                                                             $156.12
JOHN WECHTER                                                          $155.75
WARREN REISS                                                          $155.38
RICHERT FARMS I                                                       $155.15
MARK KEDING                                                           $155.12
DAVID KETSENBURG FAR                                                  $154.72
GRIFFEY & FARMS                                                       $154.67
TERRY YARDE                                                           $154.58
JERRY MCCARTY                                                         $154.15
RON KLINGBEIL                                                         $154.09
DAVE JAMISON                                                          $153.95
CLAYTON DOESCHOT                                                      $153.78
BILL PRUETT                                                           $153.65
PFISTER FARMS                                                         $153.60


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Row Labels: Producer_Name                                         Sum of NET_PRICE
BRIAN SCHERBER                                                        $153.36
FRED STEMPERT                                                         $153.08
TOM GELAUDE                                                           $152.82
BILL LENKER                                                           $152.35
TERRY SAMEULSON                                                       $152.33
STEVE REYNOLDS                                                        $152.27
IO‐WA PORK LLC                                                        $152.06
MAURER FARMS                                                          $151.81
KURT METZGER                                                          $151.51
CRAIG WAGNER                                                          $151.50
MIKE SMITH                                                            $151.50
MARVIN YODER                                                          $151.26
WILBUR MILLER                                                         $150.75
BILL SECOR JR                                                         $150.65
DAVE ERICKSON                                                         $150.35
MALLIE FARMS IN                                                       $150.08
BRYCE NEHER                                                           $149.30
SIOUXLAND PORK                                                        $148.58
JEFF BROWN                                                            $148.52
DARRIN BARGSTADT                                                      $148.50
GARY PATTERSON                                                        $148.00
CHUCK DEGROTE                                                         $147.51
MARK DOMAN                                                            $147.50
JON HOBBS                                                             $147.40
VALLEY VIEW II                                                        $146.81
DALE TODD                                                             $146.55
MARK CHAMBERS                                                         $146.51
JOE BEALE                                                             $146.18
SAM S STOWELL                                                         $146.00
DONALD A LOOK                                                         $145.93
JIM EVENSON                                                           $145.50
ERIC LANGFITT                                                         $144.83
CLARENCE LOPP                                                         $144.07
TRI‐M FARMS INC                                                       $144.00
SURELEEN LLC                                                          $143.71
ROBERT GIGAX                                                          $143.70
JIM IFFT                                                              $143.63
CULLOM JR FAIR                                                        $143.51
BRANDON HASELBY                                                       $143.44
TOM TELGEMEYER                                                        $143.40
TOM SCHEIDER                                                          $143.25
CHAD KOCH                                                             $143.20
SUSAN JAHN                                                            $143.15
MARK HARTMAN                                                          $143.05
PEOPLES MILL PO                                                       $142.86
RON GLADSON                                                           $142.75
WTC LLC                                                               $142.50
5405857                                                               $142.39
INDEPENDEN FINISHING                                                  $141.69
SARAH HARDMAN                                                         $141.57
MYRON BETZ                                                            $141.53
HAROLD ALT                                                            $141.19


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Row Labels: Producer_Name                                         Sum of NET_PRICE
JERRY HUGHES                                                          $141.00
MARTY MENZ                                                            $140.68
ALLAN SUCHY                                                           $140.61
ALVIN WEBER & SONS                                                    $140.58
ART GRISWOLD                                                          $140.50
BRAD VANDENBERG                                                       $140.00
JAMES WINTER                                                          $139.76
KRIS KNOEPFLEIN                                                       $139.75
ROGER CALL                                                            $139.69
BILL TUCKER                                                           $139.50
DOUG GORACZKOWSKI #1                                                  $139.50
STAYTON BROTHER                                                       $139.36
MITCH REIBLE                                                          $139.26
RON FRYE                                                              $139.25
JOHN WELSCH                                                           $139.15
JIM RILEY                                                             $138.86
YELINEK LVSTK                                                         $138.68
PRIME SWINE                                                           $138.64
DALE & MEL SWINE FAR                                                  $138.46
LEE CRAIG                                                             $138.40
TOM RITZ                                                              $138.23
DTS FARMS                                                             $138.00
KAUK BROTHERS                                                         $138.00
JUNIOR HARRIS                                                         $137.78
J A THOMPSON                                                          $137.75
PAUL A MEYER                                                          $137.63
SWINTON VA FARMS INC                                                  $137.31
STEVE WRIGHT                                                          $137.25
MIKE JUDY                                                             $136.91
BRIAN WITT                                                            $136.70
LESTER HOCHSTEDLER                                                    $136.50
PHILLIP LEICHTY                                                       $136.35
TERRY REUTER                                                          $136.35
DAVE HORAK                                                            $136.30
FLAHERTY FARMS                                                        $136.25
TOM DALE                                                              $136.22
FRANKLIN HAHN                                                         $136.17
BEAUTY HILL FAR                                                       $136.00
JAMES YOUNG                                                           $136.00
E J KERN JR                                                           $135.85
RONALD L SCHROHT                                                      $135.84
KEVIN TRIGGS                                                          $135.75
   JOSEP JINDRA                                                       $135.62
GARY FREEMAN                                                          $135.46
   LARRY BENDER                                                       $135.38
DON BOHUSLAVSKY                                                       $135.26
EDWIN LUERS                                                           $135.04
MARK SCHLOSSER                                                        $135.00
RICHARD HOWELL                                                        $134.94
JERRY GROSS                                                           $134.23
EDGINGTON BROS                                                        $134.00
RON MCCLURE                                                           $133.81


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Row Labels: Producer_Name                                         Sum of NET_PRICE
JOE BASTIAN                                                           $133.78
KENNY HENEBRY                                                         $133.60
MARION VAN GENNIP                                                     $133.50
DEIDRA HAHN                                                           $133.45
ROSENTRETER BRO                                                       $133.44
GARY ANGELL                                                           $133.25
DARRELL HOUSTON                                                       $133.03
BRET SCOTT                                                            $132.65
GARY GUMP                                                             $132.50
HILLCREST INC                                                         $132.46
CECIL MOFFITT                                                         $132.40
DWANE STARK                                                           $131.71
VANZANTE LVSTK                                                        $131.65
CRAIG JANSSEN                                                         $130.75
LEHMANN FARMS                                                         $130.49
BEATTIE INC                                                           $130.39
DEMACC RESEARCH                                                       $130.25
   ALAN BENDER                                                        $130.12
BANNERSTONE FAR                                                       $130.05
JIM HIRTH                                                             $129.70
ALAN VANMETER                                                         $129.50
JAMES BAUSCH                                                          $129.00
PHEASANT RIDGE                                                        $128.42
BRYAN CLYBURN                                                         $127.99
   AUSTI RATHMAN                                                      $127.97
ELMO TODD                                                             $127.55
   BRENT O'FARRELL                                                    $127.50
BILL D SHIPLEY                                                        $127.21
OTOE COUNTY FAI                                                       $126.79
BRIAN BUCK                                                            $126.71
LARRY STANLEY                                                         $126.39
WILTON FFA                                                            $126.25
   BOB KURTENBACH                                                     $126.00
FFA FAIR FUND                                                         $125.90
   JASON ARENS                                                        $125.86
KRIS WILLIAMS                                                         $124.41
GOLDEN VIEW COL                                                       $124.19
DAVID REUTER                                                          $124.02
   BRIAN CUMMING                                                      $123.98
BRANDON BERG                                                          $123.71
N G PURVIS FARMS IN                                                   $123.67
MARY OBERLE                                                           $123.13
JERRY HILL                                                            $122.78
SIMLER WINDING                                                        $122.13
   DALE SHANLE                                                        $121.65
ERIC TAYLOR                                                           $121.50
BEN MAUST                                                             $121.16
253184                                                                $121.10
FLORIAN CHIRRA                                                        $120.90
BRIAN WARDENBURG                                                      $120.75
DAN HUGENBERG                                                         $120.75
KEN BUETTNER                                                          $120.52


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Row Labels: Producer_Name                                         Sum of NET_PRICE
DENNIS MCKILLIP                                                       $120.32
RODNEY OEHL                                                           $119.50
BILL BULLOCK                                                          $118.83
DEAN ROSENGARDEN                                                      $118.53
JAM INC                                                               $118.50
HAROLD MANTHEY                                                        $117.99
RANDY DESUTTER                                                        $117.75
ELMER SCHULTZ                                                         $117.54
PAUL CALLENDER                                                        $117.52
RANDY FEEKES                                                          $117.04
TIM KRICKENBARGER                                                     $116.90
CURTIS COOPER                                                         $116.70
STEVE KJORMOE                                                         $116.50
JIM GREEN                                                             $116.01
CURTIS HORTON                                                         $116.00
MARY SAMUELSON                                                        $116.00
NEAL HERSHBERGER                                                      $115.75
5393817                                                               $114.68
HOGE & WALTERS                                                        $114.44
ROGER NEWELL                                                          $113.20
RYAN HUKILL                                                           $112.92
BAILEY DOUBLIN                                                        $112.74
ELSTON BULS                                                           $112.50
KELLY TUCKER                                                          $112.00
LDM FARMS                                                             $112.00
KELLY HINKLE                                                          $111.61
MIKE PURSIFULL                                                        $111.61
MATT MOOREHOUSE                                                       $111.41
STEPHANIE RIEGEL                                                      $111.40
STEVEN FRANK                                                          $111.34
SIMON S GINGERICH JR                                                  $111.25
VAN WINKLE BROS                                                       $111.25
ROBERT MEEKER                                                         $111.01
JAMES PETRIK                                                          $111.00
ADAM AKENBERGER                                                       $110.97
RON SNODGRASS                                                         $110.80
JARED KELLEY                                                          $110.71
JONATHAN BIERSCHENK                                                   $110.69
KIMMEL SHOW PIG                                                       $110.68
DAVID FERRAND                                                         $110.21
J & D YODE AG INC                                                     $110.12
305899                                                                $109.85
KEVIN HOEGER                                                          $109.72
MIKE CAREY                                                            $109.70
TRIPLE O FARM                                                         $109.25
ALBERT W MAST                                                         $109.00
SCOTT NICKEL                                                          $108.90
DICK WEHINGER                                                         $108.37
SHELDAHL FARM I                                                       $108.00
RON REICHERT                                                          $107.96
TOBY J LAMBRIGHT                                                      $107.75
KAILA TAYLOR                                                          $107.71


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Row Labels: Producer_Name                                         Sum of NET_PRICE
LESLEE CROW                                                           $107.50
LARRY KERSTEN                                                         $107.39
MELVIN HELMUTH                                                        $107.37
MONROE CO PRODUCERS                                                   $107.36
TERRY BENNETT                                                         $107.29
ED MEIER                                                              $107.27
RYAN JERABEK                                                          $107.20
TIPTON CTY LIVESTOCK                                                  $107.06
GARY L FALTIN                                                         $106.95
JORGE L IBARRA                                                        $106.93
ANDY KOLLMANN                                                         $106.84
330256                                                                $106.81
RICHARD SCHLEPER                                                      $106.75
MATT BUCKLAND                                                         $106.73
PAUL SCHEIDELER                                                       $106.70
LAPORTE 4H AUC                                                        $106.62
CASS CNTY 4H FA                                                       $106.52
FLOYD COUNTY FA                                                       $106.34
DALE (50%) CROSS                                                      $106.26
RICHARD OEHL                                                          $106.25
LINUS KAUFMAN                                                         $106.00
JTH INC                                                               $105.74
ERIC WINSKY                                                           $105.40
DAN HARRELL                                                           $105.40
JOE HEIN                                                              $105.30
DAN NAEGER                                                            $104.98
DUANE BOYSEN                                                          $104.98
COLORADO STATE                                                        $104.96
DAVID RUDNINGEN                                                       $104.89
COLE ROSSWURM                                                         $104.84
ANDY SOBASKY                                                          $104.79
LARRY KOLB                                                            $104.75
M R HOGS                                                              $104.51
CHRISTOPHE HAERTLING                                                  $104.50
JERRY KOWALSKI                                                        $104.50
BENJAMIN HUFFORD                                                      $104.48
CALEB HUFFORD                                                         $104.48
FLYING W FARMS                                                        $104.34
COYLE FARMS                                                           $104.24
BUCHANAN CNTY E                                                       $104.20
CARL HEIDE                                                            $104.00
LEE ELLIOTT                                                           $104.00
LARRY BORELL                                                          $103.96
BRAD HOCKEMEYER                                                       $103.94
DWAINE EVANS                                                          $103.77
DON HENEBRY                                                           $103.75
CHARLES STORM                                                         $103.50
HOWARD COU 4‐H FAIR                                                   $103.34
MAURIO SOTO                                                           $103.32
RON CAMERON                                                           $103.32
TED SHANER                                                            $103.32
TODD HERDING                                                          $103.00


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Row Labels: Producer_Name                                         Sum of NET_PRICE
367214                                                                $102.93
HUDSON BADSKEY                                                        $102.75
HENRY CTY EXTEN                                                       $102.60
PULASKI CN BOARD                                                      $102.57
PAUL COLLIER                                                          $102.50
BRIAN TONEY                                                           $102.43
EUGENE E STORY                                                        $102.37
PENNING PORK IN                                                       $102.36
CLINTON LONG                                                          $102.30
GILBERT HUDSON                                                        $102.28
JIM DERRINGER                                                         $102.15
CLAY MOORE                                                            $102.05
BOB BYLER                                                             $101.81
HARVEY MILLS                                                          $101.77
199434                                                                $101.76
DON QUAMBY                                                            $101.66
DEARL LAMPLEY                                                         $101.63
HILLTOP PORK                                                          $101.61
ERIC FUGATE                                                           $101.50
TROWBRIDGE FARM                                                       $101.41
FRANK & SO HERMAN                                                     $101.23
KENNETH BECKMAN                                                       $100.96
NEUBERGER PORK                                                        $100.93
FRED YAGGIE                                                           $100.92
TONY PURSELL                                                          $100.86
DAVID HAAS (50%STEVE                                                  $100.63
MICHAEL A MEEKS                                                       $100.55
TUCKER OLIVER                                                         $100.55
MB FARMLAND LLC                                                       $100.50
RICH NOSSAMAN                                                         $100.50
RICKY SLETTEN                                                         $100.48
ARNULFO TISCARENO                                                     $100.45
CHADRICK D ANDREWS                                                    $100.35
SMILEY BROTHERS                                                       $100.31
CLAIR DIETZENBACH                                                     $100.10
HINNAH FARMS                                                          $100.00
WOODEN SWINE FA                                                       $100.00
GREG WORTMAN                                                           $99.75
% TOM JOHA SOUTH POR                                                   $99.70
HEADAPOHL FARMS                                                        $99.61
THOMAS BROTHERS                                                        $99.61
GERALD RADKE                                                           $99.34
RANDY SCHMIDGALL                                                       $99.16
JIM DALE                                                               $99.14
LEON JOHNSON                                                           $99.05
BOB MEEKER                                                             $98.90
DAVE BROCKMAN                                                          $98.87
KERWIN GRABER (1)                                                      $98.69
ELMER KEPPERS                                                          $98.67
DAVID THOMAS                                                           $98.22
G & S COUN FARM INC                                                    $98.00
JOE WOLFE                                                              $98.00


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Row Labels: Producer_Name                                         Sum of NET_PRICE
TONY STRUTNER                                                          $98.00
DENNIS M CARLSON                                                       $97.98
REGGIE MARTIN PARTNE                                                   $97.86
FRED STERCHI                                                           $97.82
JOE CRITCHELOW                                                         $97.78
ROCK CO 4H ANIMAL SA                                                   $97.74
ONEIDA BAP INSTITUTE                                                   $97.73
RAYMOND KERPASH                                                        $97.50
LOUIS BAUDLER                                                          $97.44
BARBER FARMS IN                                                        $97.34
PERRY FARMS                                                            $97.25
KORNLAND HOG FA                                                        $97.22
PAUL KLEINE FARMS IN                                                   $97.19
HOWARD BUETTNER                                                        $97.15
ZACHRICH FARMS                                                         $97.09
MARK (50%) CROSS                                                       $97.03
RICHARD FEICK                                                          $97.00
ROB SMITH                                                              $97.00
DAVID CAVANAH                                                          $96.82
GEORGE MCDERMIT                                                        $96.61
LAURA KEETEMAN                                                         $96.60
CHRIS GIBSON                                                           $96.50
FRY FARMS                                                              $96.33
STURTEVANT HOG                                                         $96.00
ED MICHAELS                                                            $95.75
   RANDY PREISTER                                                      $95.36
ANDREW SWAFFORD                                                        $95.25
ZIMPLEMAN FARMS                                                        $95.16
IHNEN FAMILY FA                                                        $95.12
CRAIG MCKILLIP                                                         $95.10
DAN STIEMEL                                                            $95.00
RODNEY DYKSTRA                                                         $95.00
TRI‐OAK FMS                                                            $94.99
BRAD BITTNER                                                           $94.93
PAT BORMANN                                                            $94.50
GOLD FARMS                                                             $94.11
JOSEPH A PHELPS                                                        $94.02
PASVOGEL & FARM                                                        $94.00
RONALD BASEHOAR                                                        $93.87
KEN GEFFERS                                                            $93.75
415575                                                                 $93.68
SHANE DOSE                                                             $93.62
GARY SMITH                                                             $93.47
ROBERT DUNN                                                            $93.40
AARON CRAHAN                                                           $93.00
DALE EDMONDS                                                           $93.00
JUSTIN HORA                                                            $93.00
RICHARD NIENHUESER                                                     $93.00
TERRY JENSEN                                                           $92.98
SCOTT ELLINGSON                                                        $92.72
WIERCK FARMS LT                                                        $92.72
GOTTSCHALK PORK                                                        $92.71


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Row Labels: Producer_Name                                         Sum of NET_PRICE
KRUITHOFF FARMS                                                        $92.53
MAPLE CREEK LAN                                                        $92.50
CLIFTON BAUDLER                                                        $92.48
CHINN HOG FARM                                                         $92.44
DON KAMPS                                                              $92.41
C JR JINDRA FARMS                                                      $92.34
CLIFF BOOTSMA                                                          $92.25
KEVIN LINDEMAN                                                         $92.04
MARK GILLAND                                                           $92.00
N E U FARMS INC                                                        $92.00
336931                                                                 $91.89
MIKE HEMME                                                             $91.71
KELLER BROTHERS                                                        $91.32
ROSS MCMILLEN                                                          $91.21
   JUSTI KIES                                                          $91.20
BALDERSTON FARM                                                        $90.56
   DAVID REUTER                                                        $90.50
GERKEN FARMS                                                           $90.50
SCOTT DUFFIELD                                                         $90.00
   BOB STEFFENSMIE                                                     $89.97
PLEASANT HILL F                                                        $89.94
KOLLIN DEBERG                                                          $89.80
CLINT MEYER                                                            $89.50
DAVE SWISHER                                                           $89.50
PINICON PR FARMS                                                       $89.25
SCOTT CO 4‐H                                                           $89.06
GUY JEREMIASON                                                         $89.00
JONAS E BONTRAGER                                                      $89.00
PHINNEY FARMS                                                          $89.00
%RANDY MER MILL CREE                                                   $88.79
DEAN SNYDER                                                            $88.69
   JAMES WIESE                                                         $88.68
DON ANDERSON                                                           $88.25
ALLAN GERDING                                                          $88.22
   TOM REUTER                                                          $88.00
DON & DALE INC                                                         $88.00
MARK KRIEGER                                                           $87.75
C & D RIPBERGER FARM                                                   $87.66
DAN ROYER                                                              $87.61
DON WILLSON                                                            $87.61
HOG MARKET ‐ SI                                                        $87.58
MATTHEW CLAYCOMB                                                       $87.49
PEG JAMINET                                                            $87.47
   TERRY FOLTZ                                                         $87.22
KURT STOAKS                                                            $87.18
CHRIS SCHAFFNER                                                        $87.15
WAYNE C MEIEROTTO                                                      $87.00
ST MIKE'S                                                              $86.75
SAUNDERS C SOCIETY                                                     $86.48
KYLE JORSTAD                                                           $86.46
LESLIE IVERSON                                                         $86.43
RON MUELLER                                                            $86.15


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Row Labels: Producer_Name                                         Sum of NET_PRICE
GARY FESLER                                                            $86.00
PAUL GROENENBOOM                                                       $86.00
VET MEDICAL SER                                                        $86.00
CHARLES MCKEE                                                          $85.50
DONALD L BUHL                                                          $85.50
LARRY BARTLING                                                         $85.37
JEREMY WOSLAGER                                                        $85.30
STEVE CRAIG                                                            $85.10
   JOHN EAGLE                                                          $85.09
KIM SCHNEIDER                                                          $85.01
DENNIS DABERKOW                                                        $85.00
   JEFF RATH                                                           $84.96
ADAIR CO EXT                                                           $84.95
WAYNE MEANS                                                            $84.50
BAUMGARDT FARMS                                                        $84.35
BILL STEFFENSMEIER                                                     $84.23
BRIAN L GOSSETT                                                        $84.00
GALEN SKJEFTE JR                                                       $84.00
MEGAN JOHNSON                                                          $83.50
   GREG KORUS                                                          $83.37
DAVE WALKER                                                            $83.25
REGGIE MARTIN                                                          $83.07
RANDY WILLIAMSON                                                       $83.00
MIKE MCKILLIP                                                          $82.94
DAVE WESTPHAL                                                          $82.89
GLENN ARTH KOOIKER                                                     $82.64
BRIAN KEISLER                                                          $82.50
TOM FORTMAN                                                            $82.45
   LARRY BEIERMAN                                                      $82.40
RAYMOND STEWART                                                        $82.10
JOHN G MARTIN                                                          $82.00
GILBERT CRIMMINS                                                       $81.94
KEITH OSLER                                                            $81.50
SAM MALCOLM                                                            $81.50
TAYLOR ROSS                                                            $81.45
DARRELL SELLNER                                                        $81.00
HAROLD BROWN                                                           $81.00
GOULD PORK                                                             $80.97
TERRY BERRY                                                            $80.43
RUSSELL SIMPSON                                                        $80.00
   CHRIS HUSTON                                                        $79.99
JOE DECKER                                                             $79.75
   KURT MERTENS                                                        $79.54
MARK OLLINGER                                                          $79.50
ROD JURGENS                                                            $79.25
NEIL SCHROEDER                                                         $79.14
MIKE DIENST                                                            $79.10
DALTON SANSON                                                          $79.00
ROBIN HEWER                                                            $78.83
ROY HOGSETT                                                            $78.75
DOUG STEPHENSON                                                        $78.72
KEITH ENSIGN                                                           $78.53


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Row Labels: Producer_Name                                         Sum of NET_PRICE
MIDWEST FARMERS                                                        $78.51
DAN YMKER                                                              $78.50
KENNETH MASON                                                          $78.50
TIM MCNEILL                                                            $78.48
DENNIS SUNDERMAN                                                       $78.47
CHARLIE MILLER                                                         $78.43
STEVE FEICK                                                            $78.31
CHRIS RIDDLE                                                           $78.25
   THOMA KLUCK                                                         $77.97
   JOHN REUTER                                                         $77.75
   MARK RIESSELMAN                                                     $77.74
MIKE BAYES                                                             $77.50
PAUL WILKIE                                                            $77.50
AQE                                                                    $77.40
THREE RIVE LLC                                                         $77.30
HAROLD J DEBROWER                                                      $77.25
STEVE GILBERT                                                          $77.10
MATT LAGER                                                             $77.00
LARRY MCMULLEN                                                         $76.99
DEREK KEASLING                                                         $76.75
LES HUNTER                                                             $76.75
CREST VIEW FARM                                                        $76.59
GRABER FEED SER                                                        $76.50
MARK BOE                                                               $76.50
ROKUS VANDEMINKELIS                                                    $76.50
   EUGEN DINGMAN                                                       $76.21
BRUCE LANDIS                                                           $76.00
DAVID HODGE                                                            $76.00
RONALD BURRIS                                                          $76.00
JIMMY & SO MATHIS                                                      $75.88
JERRY BLUM                                                             $75.79
BRAD MILLER                                                            $75.61
LEVI BORNTREGER                                                        $75.50
LEON WAGEMESTER                                                        $75.20
BERNARD EDEN                                                           $75.00
CLASSIC FARMS                                                          $75.00
ROBERT GRABER                                                          $75.00
CHARLES GLOSSER JR                                                     $74.94
ROBERT YOUNG                                                           $74.75
ROY LOVELESS                                                           $74.65
GEORGE WILLIAMS                                                        $74.50
MARTZ BROTHERS                                                         $74.50
PATSY BURGESS                                                          $74.50
JASON JAEGER                                                           $74.35
JENNIFER CASTOR                                                        $74.21
NATE PATTERSON                                                         $74.10
JEROME HODNEFIELD                                                      $74.03
BOB PRIBLE                                                             $73.93
GARY LAROCHE                                                           $73.93
KENNY YMKER                                                            $73.90
LYNDSEY BLUE                                                           $73.85
MARTY WEBSTER                                                          $73.74


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Row Labels: Producer_Name                                         Sum of NET_PRICE
JIM BLUE                                                               $73.69
DAVE MCCLASKEY                                                         $73.66
ROCK CREEK SWIN                                                        $73.60
DAN STUDER                                                             $73.53
RICHARD BUSSIAN                                                        $73.19
TIM MORRIS                                                             $73.18
ROBSON FARMS LL                                                        $73.05
JIM & JEFF DUCOMMUN                                                    $73.01
JOHN THIEL                                                             $73.00
ROBERT S LEWIS                                                         $73.00
JAMES VANDEWEERD                                                       $72.95
D J VICKREY                                                            $72.81
LARRY BEEHLER                                                          $72.80
JON ROBERTS                                                            $72.75
ROGER WATT                                                             $72.68
JEREMY POSS                                                            $72.65
BEN E YODER                                                            $72.50
MATT FELLER                                                            $72.50
JOHN PAYNE                                                             $72.35
DOUG SCHROCK                                                           $72.09
CLARK ZUMWALT                                                          $72.00
JEFF DALE                                                              $71.88
BENNET GRANT                                                           $71.84
DALE GUENTHER                                                          $71.84
DON WEATHERFORD                                                        $71.80
KLEIN BROTHERS                                                         $71.55
QUENTIN HENDERSON                                                      $71.50
ROGER ANDERSON                                                         $71.25
TED FAIRFIELD                                                          $71.09
TERRY SJUTS                                                            $71.09
TERRY STEPHENS                                                         $71.06
GALEN BARKER                                                           $71.01
DOMINIC GINDER                                                         $71.00
ERNEST DITCH                                                           $70.75
ETHAN BOYER                                                            $70.75
SCOTT HUSON                                                            $70.75
DENNIS MEYER                                                           $70.55
DAN GRUBE                                                              $70.55
DENNIS CHENOWETH                                                       $70.55
414695                                                                 $70.51
LARRY KOPKA                                                            $70.51
TOM HOVEST                                                             $70.48
BILL JUDY                                                              $70.47
BRAD THOMPSON                                                          $70.36
GENE CLENNON                                                           $70.05
DAN STUTZMAN                                                           $70.03
JOE MOYER                                                              $70.02
RAY STEWART                                                            $70.00
JOHN ARNDT                                                             $69.70
MURPHY‐BROWN LL                                                        $69.51
LOWELL HUEPENBECKER                                                    $69.50
BLAIR LIVESTOCK                                                        $69.47


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Row Labels: Producer_Name                                         Sum of NET_PRICE
GREG RICHARDSON                                                        $69.45
EUGENE RAMSEY                                                          $69.27
MILTON FREY                                                            $69.25
GREAT PLAI SWINE LLC                                                   $69.20
GARY REYNOLDS                                                          $69.04
HANS ERIKSEN                                                           $69.00
ALVA WAGLER                                                            $68.95
JIM ABEL                                                               $68.95
HOMESTEAD                                                              $68.78
WHITEWATER FARM                                                        $68.74
ROBERT ANDERSON                                                        $68.72
EMILY DESPAIN                                                          $68.67
DUANE MILLER                                                           $68.56
BOB SPRACKLEN                                                          $68.40
T & T PORK                                                             $68.35
FRANK ZINT                                                             $68.27
PETE WILLIS                                                            $67.95
HENNING FARM                                                           $67.89
MIKE BRUGGER                                                           $67.86
BRUCE FOWLER                                                           $67.75
CHRIS HULVEY                                                           $67.75
TRAVIS STAFFORD                                                        $67.75
DALE TOEDEBUSCH                                                        $67.50
JAMIE MAY                                                              $67.50
SHANE ENT                                                              $67.50
WILLY STEWART                                                          $67.36
RYAN NEVINS                                                            $67.25
BARRY MOHR                                                             $67.18
NATHAN SCHMIDGALL                                                      $67.00
BRETT RAMSEY                                                           $66.88
ADAM BECK                                                              $66.74
MARK HISER                                                             $66.00
TRAVIS PLATT                                                           $65.90
JOHN SHERMAN JR.                                                       $65.75
ROBERT THOENE                                                          $65.40
203744                                                                 $65.00
KIM HOHENSTEIN                                                         $65.00
JUSTIN STIERWALT                                                       $64.98
LOGAN POTHAST                                                          $64.97
HAROLD LANDREY                                                         $64.75
TODD HESTER                                                            $64.69
KEVIN UNDERWOOD                                                        $64.43
SHOWTIME SIRES                                                         $64.34
STEVE BUCKLEY                                                          $64.31
DARYL S JOHNSON                                                        $64.23
MARK LEAR                                                              $64.14
CHAD WATERMAN                                                          $64.10
ART BOSCHERT                                                           $64.00
DERYK FRUEH                                                            $63.90
EDDIE GINGERICH                                                        $63.79
DYKHUIS FA INC‐MI                                                      $63.31
DAVID MYER                                                             $63.18


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Row Labels: Producer_Name                                         Sum of NET_PRICE
ED COLE                                                                $63.11
LANNAN BLAINE                                                          $63.00
GREG HAUBERT                                                           $62.80
LOIS BUCK                                                              $62.76
JOHN HACKER                                                            $62.54
DAVE MCCULLOUGH                                                        $62.45
SUN PRAIRIE FAR                                                        $62.36
JAY RHOADS                                                             $62.04
MARCUS LAUGHMAN                                                        $62.00
GARY CULP                                                              $61.86
DONALD BRAZIER                                                         $61.78
AARON PROCHASKA                                                        $61.71
CLAYTON RANDOLPH                                                       $61.57
ROGER MALONE                                                           $61.36
CHAD MAHLER                                                            $61.12
DAVID MCBRIDE                                                          $60.66
MARVIN QUINT                                                           $59.50
INWOOD HATCHERY                                                        $59.19
JIM GRABER                                                             $59.00
RONALD NESS                                                            $59.00
CHAMPE ENTERPRI                                                        $58.78
   GERAL STECH                                                         $58.35
NILES LEVERINGTON                                                      $58.35
R & T FARMS                                                            $57.90
JEFF WAITE                                                             $57.78
NATHAN HUGHES                                                          $57.62
KEVIN PRUISNER                                                         $57.55
JEREMY SCOTT                                                           $57.20
306                                                                    $57.19
JIM SCHUELER                                                           $57.06
KENNY KERKER                                                           $56.77
BOLLIN FARMS IN                                                        $56.75
254210                                                                 $56.55
STUMP FARM                                                             $56.47
5364493                                                                $56.19
RANDY NICCUM                                                           $56.08
KEVIN SUDHOFF                                                          $56.00
361201                                                                 $55.97
179225                                                                 $55.80
220111                                                                 $55.80
WILSON & TURPIN                                                        $55.67
JIM BRAZINSKI                                                          $55.24
ROE BROTHERS FA                                                        $55.16
DARREN BIERY                                                           $55.15
TIM DENU                                                               $55.13
35925                                                                  $55.06
BRUCE AMUNDSON                                                         $55.00
BRUCE HILD                                                             $55.00
DALLAS ELLINGSON                                                       $55.00
KEN JENNETT                                                            $55.00
JIM WINKLER                                                            $54.98
MARK OLSON                                                             $54.98


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Row Labels: Producer_Name                                         Sum of NET_PRICE
ROSS LANGWELL                                                          $54.98
415355                                                                 $54.90
DAN GOEHRING                                                           $54.90
WAPSIE PIG CORP                                                        $54.90
404795                                                                 $54.70
GENE SETTLES                                                           $54.50
KNOX CO 4‐ COMMITTEE                                                   $54.50
TELMAC ENTERPRI                                                        $54.46
190935                                                                 $54.42
325898                                                                 $54.29
336548                                                                 $54.29
5005090                                                                $54.16
BOB ARMSTRONG                                                          $54.00
BRUCE MODRESKE                                                         $54.00
COMPAGNER FARMS                                                        $54.00
CSL PORK LLC                                                           $54.00
METZGER FARMS                                                          $54.00
SOUTH DAKO UNIVERSIT                                                   $54.00
TONY SCHROEPFER                                                        $54.00
WALLACE ENGELS                                                         $53.98
GRUNDY CO EXTENSION                                                    $53.68
WASHINGTON EXTENSION                                                   $53.68
282439                                                                 $53.67
5326155                                                                $53.67
PINK BROS                                                              $53.63
ROGER THIELE                                                           $53.54
359689                                                                 $53.42
392700                                                                 $53.42
CHAD W ARE MINNWEST                                                    $53.42
SCOTT ONKEN                                                            $53.39
DARVIN PRUKA                                                           $53.37
LUKE SARCHET                                                           $53.37
PIKE CTY 4‐H CO                                                        $53.32
DUBOIS CNT COUNCIL                                                     $53.31
5349476                                                                $53.27
DEWEY ROIDT                                                            $53.27
SCHILLINGER FAR                                                        $53.25
PMG                                                                    $53.18
BENTON COUNTY F                                                        $53.17
BUTLER CNTY EXT                                                        $53.17
HOWARD COU                                                             $53.17
PAGE COUNTY FAI                                                        $53.17
PALO ALTO COUNT                                                        $53.17
ANDY SKIRVIN                                                           $53.00
COLETON FRIEDERS                                                       $53.00
DAVE HEISLER                                                           $53.00
DENNIS DEGROOTE                                                        $53.00
DON STECKLY                                                            $53.00
JAY HARMELINK                                                          $53.00
MCKENZIE REED F                                                        $53.00
ROBERT KERNS & SONS                                                    $53.00
ROBERT MURPHY                                                          $53.00


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Row Labels: Producer_Name                                         Sum of NET_PRICE
RON LASHINSKI                                                          $53.00
TRIPLE J LIVEST                                                        $53.00
GREEN COUN PORK PROD                                                   $52.89
TOM & PETE ZINK                                                        $52.88
PENNINGTON PORK                                                        $52.72
JAMES MEYER                                                            $52.70
KANE CNTY FOUNDATION                                                   $52.62
SHELBY CNTY 4H                                                         $52.62
WEYH CENTURY FA                                                        $52.62
DAVE DALE                                                              $52.59
MERVIN STOLL                                                           $52.59
SORENSEN HOG AC                                                        $52.55
DEAN ROSENGARTEN                                                       $52.50
JOHN SMITH                                                             $52.50
MILLER BROS                                                            $52.50
ROKEY FARMS                                                            $52.50
JOHN CASTLEMAN                                                         $52.35
KEVIN LEESEMAN                                                         $52.35
HOWARD PARRISH                                                         $52.25
SULPHUR DE FARMS                                                       $52.23
FREMONT CNTY FA                                                        $52.13
GRACEVALE COLON                                                        $52.13
JERRY SMITH                                                            $52.13
394901                                                                 $52.11
LINCOLN CN FAIR INC                                                    $52.10
MONTGOMERY FAIR                                                        $52.10
MUSCATINE EXTENSION                                                    $52.10
LEE COUNTY FAIR                                                        $52.08
RINGGOLD C FAIR BOAR                                                   $52.08
394873                                                                 $52.05
KEVIN SWANSON                                                          $52.00
ROB BUCKLEY                                                            $52.00
375795                                                                 $51.99
STEVEN STENSRUD                                                        $51.89
19870                                                                  $51.84
93632                                                                  $51.84
381529                                                                 $51.84
395014                                                                 $51.84
KEITH THURSTON                                                         $51.84
TED MOSHER                                                             $51.80
R C FAMILY FARM                                                        $51.74
DAVIESS COUNTY                                                         $51.67
MARLIN MARCKMANN                                                       $51.67
KIN PORK                                                               $51.50
RICK MENTZER                                                           $51.50
JOHN HALL                                                              $51.35
GERALD NELSON                                                          $51.31
MPS                                                                    $51.25
TOM HENNING                                                            $51.22
JIM HOLMES                                                             $51.19
LILBURN E WILSON III                                                   $51.19
STEVE KERBY                                                            $51.19


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Row Labels: Producer_Name                                         Sum of NET_PRICE
DAVID WALKER                                                           $51.12
JOHN KRUGER                                                            $51.12
809                                                                    $51.09
190143                                                                 $51.09
258336                                                                 $51.09
340787                                                                 $51.09
341558                                                                 $51.09
5354154                                                                $51.09
BON HOMME COLON                                                        $51.09
STEVE HAAS                                                             $51.09
J C BRUCKER                                                            $51.06
BRAD DALE                                                              $51.05
CHURCH COLLEGE CORNE                                                   $51.05
STEVE ENGLAND                                                          $51.05
KEN MIRLY                                                              $51.02
DARREN CADY                                                            $51.00
HOGS NORTHWEST                                                         $50.97
191217                                                                 $50.95
407666                                                                 $50.95
WEHLING FARMS                                                          $50.89
STANLEY TEGGATZ                                                        $50.86
401730                                                                 $50.84
421071                                                                 $50.84
SHANE DALE                                                             $50.79
CEDAR CO EXT OF                                                        $50.69
PROJECT 4‐ YOUTH LVS                                                   $50.69
MADISON CO FAIR                                                        $50.65
JIM FIECHTER                                                           $50.60
DOUG HORN                                                              $50.53
HENRY BLESSING                                                         $50.50
RON HARMSEN                                                            $50.50
TRAVIS CRIST                                                           $50.49
RYAN NICCUM                                                            $50.47
CALEB WITTROCK                                                         $50.46
FORDHAM COLONY                                                         $50.46
GREG DALE                                                              $50.45
290608                                                                 $50.42
MARK WERNLE                                                            $50.39
FEED LIVES RIVERSIDE                                                   $50.31
LEO T HANAUSKA                                                         $50.31
105298                                                                 $50.24
BLUE RIDGE FARM                                                        $50.24
DOUG FRODL                                                             $50.24
GARY HRDLICKA                                                          $50.19
JIM BAGLEY                                                             $50.19
JAMES DAVIDSON                                                         $50.17
JAMES SENSENIG                                                         $50.16
DAVIS COUNTY PO                                                        $50.04
GIBSON CO AUCTION CO                                                   $50.02
EDDIE FARMS                                                            $50.00
GARY L CROZIER                                                         $50.00
JEFF ROBB                                                              $50.00


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Row Labels: Producer_Name                                         Sum of NET_PRICE
MARVIN THOMSON                                                         $50.00
LARRY WERNSING                                                         $49.99
TYLER MODEROW                                                          $49.99
MARC NICCUM                                                            $49.95
KEVIN NICCUM                                                           $49.88
PORTER COU AG SOCIET                                                   $49.84
BLACK HAWK & FFA FAI                                                   $49.78
JOHNSON CO FAIR                                                        $49.78
DARYL SKILES                                                           $49.60
WORTH CO EXTENS                                                        $49.57
RONALD WORLEY                                                          $49.52
DAVID JOSLIN                                                           $49.50
ERIK SUTTER                                                            $49.50
FAHNLANDER FARM                                                        $49.50
WORTHINGTON HOG                                                        $49.50
256007                                                                 $49.47
USA INC CRYDERMAN FA                                                   $49.40
LOUIS HART                                                             $49.36
DARRELL ESSEX                                                          $49.26
LYVERS FARM INC                                                        $49.26
DENNIS J PENNINGTON                                                    $49.12
GILLEN FARMS                                                           $49.09
   RAY DONOVAN                                                         $49.07
BRAD EDDIE                                                             $49.00
DAN MASON                                                              $49.00
ED KORNIAK                                                             $49.00
SHANNON GOOSEN                                                         $49.00
RICHARD HURLEY                                                         $48.89
JACKSON CT PORK PROD                                                   $48.87
POLK CO FAIR HO                                                        $48.87
SAC COUNTY SERVICE                                                     $48.87
DAVE BECKER                                                            $48.75
L & H PORK FARM                                                        $48.75
323979                                                                 $48.58
285111                                                                 $48.57
G & W FARM                                                             $48.51
JEFF BUCKLER                                                           $48.51
ADAM BRECHT                                                            $48.50
DONALD CHRISTOPHERSE                                                   $48.50
ECKERT FARMS                                                           $48.50
DEKALB COUNTY 4                                                        $48.37
368915                                                                 $48.35
DAVID MELSON                                                           $48.35
EGGERS FARMS IN                                                        $48.35
JEFF RATH                                                              $48.35
KENT HOEFT                                                             $48.35
NEHER ACRES                                                            $48.35
PAUL KLINGENBORG                                                       $48.35
TERRY ALBRECHT                                                         $48.35
   DEAN PRIESTER                                                       $48.30
DAN KONRAD                                                             $48.23
EAST VALLE FARMS INC                                                   $48.23


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Row Labels: Producer_Name                                         Sum of NET_PRICE
GEORDAN LUEBRECHT                                                      $48.23
JEFF HANSEN                                                            $48.05
DARCEY KLEIN                                                           $48.00
DONALD MAJERUS                                                         $48.00
FRANTA FARMS                                                           $48.00
LEROY WULF                                                             $48.00
PAUL ANDERA                                                            $48.00
PRIDGEON FARMS                                                         $48.00
RONAU FARMS                                                            $48.00
   DARYL HITZ                                                          $47.91
   ALEXA MILLER                                                        $47.89
46458                                                                  $47.86
KENDALL CO FAIR                                                        $47.64
DAVID LUNDEEN                                                          $47.60
GENTRY FARMS                                                           $47.50
LELAND YODER                                                           $47.50
RICHARD SHUH                                                           $47.50
TRAVIS MCCARTHY                                                        $47.50
H & M SCHREIMAN                                                        $47.36
WELCH FARMS                                                            $47.30
GIBSON CO LVST ASSOC                                                   $47.21
WILSON AG                                                              $47.15
AN MICHAEL T DONOV                                                     $47.06
RICHARD GOERING                                                        $47.06
CARROLL VANGORP                                                        $47.03
DEETS FARMS                                                            $47.00
FRANK SANTORO                                                          $47.00
HIZER FARMS                                                            $47.00
JERRY BUECHELE                                                         $47.00
JOHN BERGSTROM                                                         $47.00
JOHN OPPERMAN                                                          $47.00
KEITH HARTKEMEYER                                                      $47.00
LARRY THORSEN                                                          $47.00
LEE CARSTEN                                                            $47.00
N N I K PORK                                                           $47.00
ROBERT WEHMER                                                          $47.00
SAMUEL E YODER                                                         $47.00
SAMUEL GEHLING                                                         $47.00
STAN UTESCH                                                            $47.00
TIMBER RIDGE FA                                                        $47.00
   ROGER HOLUB                                                         $46.97
ELDON KINGDON                                                          $46.86
DON VOELKER                                                            $46.76
MARLIN EIVINS                                                          $46.75
HAMILTON C EXTENSION                                                   $46.67
JOE PELTON                                                             $46.59
DON JACOBS                                                             $46.57
OTIS BRYANT & SON 1                                                    $46.57
TODD CREAGER                                                           $46.55
JENNIFER BUCK                                                          $46.53
ANDY DABERKOW                                                          $46.50
BRAD MEISTE                                                            $46.50


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Row Labels: Producer_Name                                         Sum of NET_PRICE
DON GUEBERT                                                            $46.50
KEVIN LAUWAGIE                                                         $46.50
KINCART FARMS I                                                        $46.50
JAMES RITTMEYER                                                        $46.36
WILL BROTHERS                                                          $46.36
DEWAYNE T DOTY                                                         $46.24
DAVID & GL GRINDE                                                      $46.22
   IOWA UNIVERSITY                                                     $46.18
MERRICK CO FAIR                                                        $46.15
331088                                                                 $46.14
ED WILLSON                                                             $46.09
276970                                                                 $46.01
CALVIN MATTSON                                                         $46.00
CLINTON HAMPTON                                                        $46.00
DALE LOUWAGIE                                                          $46.00
DALE VON BOKEL                                                         $46.00
DAN DENNEY                                                             $46.00
DANIEL HENNINGSEN                                                      $46.00
FISCHER FARMS                                                          $46.00
JAMIE KLOCKMAN                                                         $46.00
JEFF NELSON                                                            $46.00
KELLY GRAFF                                                            $46.00
KERBER MILLING                                                         $46.00
LEAN PORK INC                                                          $46.00
MARK HANSEN                                                            $46.00
WILLIAM MATHER III                                                     $46.00
NORM KOEHLMOOS                                                         $45.98
WENDELL BURTON                                                         $45.87
STEVE CANTERBURY                                                       $45.77
   DEAN PRESTIER                                                       $45.72
   CASEY WEGENER                                                       $45.60
DEAN NELSON                                                            $45.53
CORN BELT FEED                                                         $45.52
KENDELL MISEMER                                                        $45.52
SQUEALERS PORK                                                         $45.52
HEATH PAULSEN                                                          $45.50
NCKP LLC                                                               $45.50
ZACHARY LEHE                                                           $45.46
CLAY CNTY FAIR                                                         $45.42
SIDNEY SHAFER                                                          $45.42
STK TIMBER CLAIM LV                                                    $45.32
NATHAN GAGE                                                            $45.29
GERALD MERTENS                                                         $45.26
JERRY OR S STAUFFER                                                    $45.23
CASS COUNT BOARD                                                       $45.20
 LTD CREEKSIDE FARMS                                                   $45.15
369543                                                                 $45.11
115484                                                                 $45.08
375775                                                                 $45.00
ANDY KEISLER                                                           $45.00
BAKKER BROS GEN                                                        $45.00
BROTHERS STORTENBECK                                                   $45.00


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Row Labels: Producer_Name                                         Sum of NET_PRICE
EDGEWOOD FARMS                                                         $45.00
JAMES TAUER                                                            $45.00
JERRY MOZINGO                                                          $45.00
JIM SWISHER                                                            $45.00
MICHAEL ERRITT                                                         $45.00
MIKE RIES                                                              $45.00
RICHARD KROPATSCH                                                      $45.00
STEVENS FARMS                                                          $45.00
INC DEL‐MAUR FARMS                                                     $44.96
JOHN ROKEY                                                             $44.96
WILD ROSE FARM                                                         $44.93
ROYCE CHAMBERS                                                         $44.89
   RYAN RIEKEN                                                         $44.88
   STEVE RIESSELMA                                                     $44.86
BRETT SKELLENGER                                                       $44.71
DENNIS JEFFERS                                                         $44.66
136841                                                                 $44.54
SCOTT COUN PRODUCERS                                                   $44.53
YORK CO FAIR HO                                                        $44.53
MERVIN SIMMONS                                                         $44.50
KYLE FREEMAN                                                           $44.48
JOHN BREWEN                                                            $44.45
207860                                                                 $44.44
JAMES A TOURTILLOTT                                                    $44.40
BLACKSPRING FAR                                                        $44.30
TROY MCKILLIP                                                          $44.28
   HOLTK FARM COMP                                                     $44.24
TERRY HOLDER                                                           $44.23
171530                                                                 $44.12
4TH MERIDIAN FA                                                        $44.00
CRAIG VANRYSWYK                                                        $44.00
JEFF PEARSON                                                           $44.00
JOHN W JONES                                                           $44.00
KANE WEINBURG                                                          $44.00
KERRY MCCARTY                                                          $44.00
PAUL PUMPHREY                                                          $44.00
PHILLIP MOUNSEY                                                        $44.00
186798                                                                 $43.98
JOLIET JUN COLLEGE                                                     $43.95
5191260                                                                $43.93
GLEN GREENER                                                           $43.93
ALORENCE FARMS                                                         $43.83
DICK REAM                                                              $43.81
DOUBLE L FARMS                                                         $43.80
260397                                                                 $43.79
   BRETT ROQUET                                                        $43.79
DENZER FARMS IN                                                        $43.77
LL PIG NUTRA‐TECH LC                                                   $43.75
303655                                                                 $43.62
B J BUCK FARMS INC                                                     $43.61
   RYAN ARENS                                                          $43.56
RYAN ARENS                                                             $43.55


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Row Labels: Producer_Name                                         Sum of NET_PRICE
   RUSTY ANTONEN                                                       $43.50
FRED HABEKOST III                                                      $43.50
TROY MASSER                                                            $43.50
SAM MILLER                                                             $43.40
   BOB KLASSEN                                                         $43.38
245142                                                                 $43.29
WILSON CRE FARMS INC                                                   $43.27
CAMDEN FEE PIGS INC                                                    $43.25
RANDY SIZEMORE                                                         $43.25
   SPERR STORE INC                                                     $43.17
97) ROBER ZOBEL (US                                                    $43.09
APRIL VALLEY FA                                                        $43.00
CORY SMITH                                                             $43.00
CRAIG FITCHNER                                                         $43.00
JASON KIES                                                             $43.00
LEON SIMON                                                             $43.00
M K FUHRMAN                                                            $43.00
OAKRIDGE FARMS                                                         $43.00
418173                                                                 $42.97
   BUE J HARVEY &                                                      $42.95
416984                                                                 $42.91
333841                                                                 $42.86
MARK SYLVESTER                                                         $42.82
BRAD ATKINS                                                            $42.80
   AUGUS RUNGE III                                                     $42.79
BRIAN TENNANT                                                          $42.75
   JOHN KLASEEN                                                        $42.68
   JEFF WARD                                                           $42.57
362377                                                                 $42.53
   DARLE REUTER                                                        $42.50
   GRANT WENZL                                                         $42.50
ABBY COLLISON                                                          $42.50
HOWARD & F WAGLER                                                      $42.50
JOHN BEAN                                                              $42.50
ROBERT BURESH & SONS                                                   $42.50
RYAN STOUT                                                             $42.47
SAM SCHER                                                              $42.45
   RANDY DUNFEE                                                        $42.37
TEAGUE ENTERPRI                                                        $42.35
TRENT HODNE                                                            $42.35
CALLIE LEMPER                                                          $42.32
JOLIET JUNIOR C                                                        $42.30
C KEEOTT FARMS IN                                                      $42.28
   DEAN RUNYON                                                         $42.20
TOM MILLER                                                             $42.10
   MARK BRUNSING                                                       $42.08
ALAN DENOYER                                                           $42.00
ALAN GRAHAM                                                            $42.00
C HAROLD THOMPSON                                                      $42.00
DAN HANDLOS                                                            $42.00
ELI J BONTRAGER                                                        $42.00
FABER BROS FARM                                                        $42.00


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Row Labels: Producer_Name                                         Sum of NET_PRICE
GARY DUESTERHOEFT                                                      $42.00
JIM LEE                                                                $42.00
JOE KLINGBEIL                                                          $42.00
JOSH NELSON                                                            $42.00
KEITH GUSTAFSON                                                        $42.00
KEVIN KEY                                                              $42.00
LINDA MONNIER                                                          $42.00
MARK RATHJEN                                                           $42.00
MOLENAAR FARMS                                                         $42.00
STEVE HULSHIZER                                                        $42.00
TIM GRIEP                                                              $42.00
TRAVIS EHRECKE                                                         $42.00
VON ROATE                                                              $42.00
WADE CARR                                                              $42.00
RODNEY PARKER                                                          $41.98
RANDY MASON                                                            $41.97
CONNOR MARKS                                                           $41.95
NATHAN WIEGAND                                                         $41.95
   BRAD BECKWITH                                                       $41.88
STEPHEN AND SON                                                        $41.87
ORAN WINEBRENNER                                                       $41.75
TYLER GROSS                                                            $41.75
JIM BUCK                                                               $41.69
   DALE GUENTHER                                                       $41.65
ALLEN YMKER                                                            $41.50
BOB KEEHNER                                                            $41.50
DAVID C SHINKER                                                        $41.50
DEAN REICKE                                                            $41.50
KELSEY GIBSON                                                          $41.50
KYLE MEHMEN                                                            $41.50
MITCH LEY                                                              $41.50
RICHARD MILLIMAN                                                       $41.50
SHANE ADWELL                                                           $41.50
TOM AULBUR                                                             $41.50
CURT GERMAN                                                            $41.45
GRANT CNTY FAIR                                                        $41.45
DORIS WENZL                                                            $41.43
LAKE CNTY 4‐H C                                                        $41.42
LLC GENETIPORC USA                                                     $41.33
ANDREW & M BULFER                                                      $41.25
DONNA ABBEG                                                            $41.25
JAMES FREEMAN                                                          $41.25
 CORP HAUDER & MARTI                                                   $41.18
   MARK KUMM                                                           $41.17
MACY ELEVATOR I                                                        $41.15
ELBURN COOP                                                            $41.04
BRIAN M HAMM                                                           $41.00
DAN FEHR                                                               $41.00
DAN KEITZER LTD                                                        $41.00
DUANE FISHER                                                           $41.00
GREG OLSON                                                             $41.00
JERRY DEBRUIN                                                          $41.00


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Row Labels: Producer_Name                                         Sum of NET_PRICE
KEITH ALJETS                                                           $41.00
KENNY SWARTZENTRUBER                                                   $41.00
LONNIE J MILLER                                                        $41.00
MARK FELLER                                                            $41.00
MOELLER FARMS I                                                        $41.00
NORMAN J LENGACHER                                                     $41.00
TRENT WINGERT                                                          $41.00
TWIN HILLS STOC                                                        $41.00
WALL FARMS INC                                                         $41.00
158231                                                                 $40.95
   JOSH WIESE                                                          $40.81
   JOE ROSENER                                                         $40.79
BEN MYERS                                                              $40.77
   WHITE LLC                                                           $40.75
ALVIN LUKE                                                             $40.75
DELBERT PETERS                                                         $40.75
NC RICHERT FARMS I                                                     $40.75
   KEN SHOVER                                                          $40.74
MACARTOR F UNION STO                                                   $40.74
PAT ZEMAN                                                              $40.70
   GARY SCHUMACHER                                                     $40.66
WESTPHAL BROS L                                                        $40.66
LORI HAVEL                                                             $40.59
   KARLI KLASSEN                                                       $40.54
LUKE NOBBE                                                             $40.50
SAM RICHARDS                                                           $40.50
TOM DARBYSHIRE                                                         $40.50
RUSTY ANTONEN                                                          $40.45
TEMPLE GENETICS                                                        $40.40
NORTH IA C COLLEGE                                                     $40.36
TIM DICE                                                               $40.35
DENNIS BANNON                                                          $40.31
JAMES TRAINER                                                          $40.26
   LIBER INC LTD                                                       $40.25
DAWN MEADOWS                                                           $40.25
ELI J MILLER                                                           $40.25
RYAN BROS LIVES                                                        $40.25
   BRIAN BECKWITH                                                      $40.21
D & D FARMS                                                            $40.20
   MARC FELLER                                                         $40.02
   HAROL DEBROWER                                                      $40.00
AMY DANIEL                                                             $40.00
BICHSEL HOG FAR                                                        $40.00
BRENT BEEKER                                                           $40.00
BRIAN SANDAGE                                                          $40.00
CAITLIN BLAISDELL                                                      $40.00
CHARLIE ANDREWS                                                        $40.00
CHRIS JACOBS                                                           $40.00
DAVID DICKMEYER                                                        $40.00
DON MCCAIN                                                             $40.00
GARY BOLAND                                                            $40.00
GRANT NIEMEYER                                                         $40.00


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Row Labels: Producer_Name                                         Sum of NET_PRICE
GREG WARNOCK                                                           $40.00
IMS SWINE LLC                                                          $40.00
JJ PIG                                                                 $40.00
LARRY RASMUSSEN & SO                                                   $40.00
LUX‐URY HOLSTEI                                                        $40.00
MARK FLEMING                                                           $40.00
MARK VEST                                                              $40.00
MARLIN MEYER                                                           $40.00
MIKE STANTON                                                           $40.00
NATHAN PETERS                                                          $40.00
RICK HALL                                                              $40.00
ROBERT WEIS                                                            $39.91
    KRAUS FARMS INC                                                    $39.90
    BILL LUCKEY                                                        $39.86
S CORYA PORK FARM                                                      $39.85
CHRIS CHODUR                                                           $39.82
LACEY HANKINS                                                          $39.75
MATHEW KESTNER                                                         $39.75
DAVID ALLEN                                                            $39.65
DEKLOTZ FARM CO                                                        $39.65
JOE BILYEU                                                             $39.65
    RYAN RENZE                                                         $39.64
DENNIS EDELMAN                                                         $39.55
    RUSS SCHWARTZ                                                      $39.50
CHINN THRASHER                                                         $39.50
DEREK SCHERZER                                                         $39.50
KEVIN SCHUMACHER                                                       $39.50
LOREN KEPPY                                                            $39.50
MITCHEL SCHROEDER                                                      $39.50
RANDY KOLLASCH                                                         $39.50
RYAN SUTHERLIN                                                         $39.50
TOM GILMOUR                                                            $39.50
ROBERT WRIGHT                                                          $39.39
HOWARD SCHAFER                                                         $39.35
    HILL GRACE                                                         $39.26
    ROY ROHRER                                                         $39.25
TY WEBSTER                                                             $39.25
    GREG SABATA                                                        $39.19
DONALD MUDD                                                            $39.16
BRIAN STOUT                                                            $39.00
CHAD DAU                                                               $39.00
CHAD PETTY                                                             $39.00
FARMS INC ILLINOIS V                                                   $39.00
JON H OLSON                                                            $39.00
WILLIAM SHEETS JR                                                      $39.00
    SMOKE FDRS LLC                                                     $38.95
BILL ALBER                                                             $38.93
MITCH GALLUP                                                           $38.91
BOB DYKSTRA                                                            $38.84
GARY WIESE                                                             $38.82
ALAN BENDER                                                            $38.80
LARRY BENDER                                                           $38.80


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Row Labels: Producer_Name                                         Sum of NET_PRICE
BRIAN DAVIS                                                            $38.75
EMANUEL B EICHER                                                       $38.75
STEVE RICE                                                             $38.75
SUSAN ZENT                                                             $38.75
VANESSA GOULD                                                          $38.74
KELSEY NEES                                                            $38.72
PAUL SMERAGE                                                           $38.72
LEE DENZER                                                             $38.71
SCOTT WALLIN                                                           $38.71
NS INJ D HIRSCHFELD                                                    $38.69
BRETT BEYERS                                                           $38.65
MIKE OTT                                                               $38.65
   RUSSE FREUDENBU                                                     $38.62
   SAVAN KEITZER                                                       $38.62
KEVIN MCCALLISTER                                                      $38.60
   GARY STOVER                                                         $38.58
WILLIAM L TRAMPE                                                       $38.54
MATT SPURGEON                                                          $38.53
   JERRY BRUNSING                                                      $38.52
CECIL BROWN                                                            $38.50
   GERAL RATHMAN &                                                     $38.44
METZ FARM LTD                                                          $38.38
   LARRY NEES                                                          $38.31
   WHITE FARMS                                                         $38.30
KEVIN PARK                                                             $38.25
MICHAEL HARRELL                                                        $38.23
   MELVI SUEPER                                                        $38.20
SARA ROWE                                                              $38.17
TOM SCHLICHTEMEIER                                                     $38.12
DAVE & LEE NOSSAMAN                                                    $38.10
KENNY NIELSEN                                                          $38.05
DOUG KING                                                              $38.00
JAMES GRIDER                                                           $38.00
JERRY CLINE                                                            $38.00
JOHN SCHLEPER                                                          $38.00
KYE HOFMAN                                                             $38.00
MATT TIEMANN                                                           $38.00
PHIL GROVER                                                            $38.00
ROGER LOWE                                                             $38.00
SHANNON KLUMB                                                          $38.00
TERRY CREAGER                                                          $38.00
WILLIAM P SETTEREREN                                                   $38.00
ERIC WENTZ                                                             $37.98
MONTIE BRODIE                                                          $37.98
DALTON SMITH                                                           $37.95
BILL NEWTON                                                            $37.89
   FRANC SAND                                                          $37.87
JOHN KRETZMEIER                                                        $37.81
AARON SHARP                                                            $37.80
RAYMOND E BRINKMAN                                                     $37.80
   MICHE RIDGEWAY                                                      $37.78
J & J HUBER                                                            $37.78


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Row Labels: Producer_Name                                         Sum of NET_PRICE
DAVID J OTTEN                                                          $37.75
NICK REISINGER                                                         $37.75
WEST BLUE PORK                                                         $37.75
MATT MAXWELL                                                           $37.71
PEG PURSIFULL                                                          $37.69
   DON & ROHRER                                                        $37.65
ROBERT NEWCOMER                                                        $37.65
MARK TIEFENTHALER                                                      $37.60
LEE BORDER                                                             $37.51
BILL HOLT JR                                                           $37.50
D & L FARMS                                                            $37.50
DAVE WINSKY                                                            $37.50
KENNETH SPROCK                                                         $37.50
MIKE LUX                                                               $37.50
JON COLEMAN                                                            $37.46
RON HAFFNER                                                            $37.36
D & L SWINE GEN                                                        $37.33
DAVID HENGESTEG                                                        $37.33
FRED DEVAULT                                                           $37.30
DEWEY FEARNEYHOUGH                                                     $37.28
ELOISE ARBOGAST                                                        $37.27
   JAMES STARK                                                         $37.25
CARA SACHS                                                             $37.25
JARED I MOTZ                                                           $37.25
MICHAEL SCHAPER                                                        $37.25
RANDY FRANCIS                                                          $37.25
315179                                                                 $37.24
386386                                                                 $37.21
DARRIN OTT                                                             $37.17
JIM DURDAN                                                             $37.17
THOMAS JOHANNECK                                                       $37.17
JIM DAYS                                                               $37.15
322623                                                                 $37.14
230983                                                                 $37.11
TERRY CLIFFORD                                                         $37.04
160214                                                                 $37.00
   SHANE KIRCHHOFF                                                     $37.00
BLAINE BUFFENBARGER                                                    $37.00
CALEB NEIER                                                            $37.00
EDWARD J LAMBRIGHT                                                     $37.00
ERNIE HINES                                                            $37.00
GLENN RILEY                                                            $37.00
MARK CLEMANS                                                           $37.00
MYRON BRUHN                                                            $37.00
REAGAN NICHOLS                                                         $37.00
SHELBY & M CLARK                                                       $37.00
TOM WARD                                                               $37.00
WADE BENNETT                                                           $37.00
TIM BULACH                                                             $36.95
SCOTT YOUNG                                                            $36.91
KAID MCKENNA                                                           $36.90
WATOWA FARMS                                                           $36.90


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Row Labels: Producer_Name                                         Sum of NET_PRICE
JUSTIN NELSON                                                          $36.86
KENNY WANDERS                                                          $36.77
JERRY BAUMERT                                                          $36.75
LEON BROWN                                                             $36.75
PIKE POND RANCH                                                        $36.75
WILLIAM DUNCAN                                                         $36.75
DAN FROBOSE                                                            $36.73
BOB TEJRAL                                                             $36.70
KACI CROXELL                                                           $36.65
ANDY HECKMAN                                                           $36.60
BARB JOHNSON                                                           $36.60
BILL COFFIELD                                                          $36.60
WILLIAM BUSCH                                                          $36.60
ROBERT E ARMSTRONG                                                     $36.52
BRAYDEN NEWMAN                                                         $36.50
JARED LYONS                                                            $36.50
JERRY HAPP                                                             $36.50
PAUL PEAK                                                              $36.50
PAUL SCHWARTZ                                                          $36.50
SAMUEL L MILLER                                                        $36.50
JIM BRANDT                                                             $36.35
DOUG SANDALL                                                           $36.32
BILL RYAN                                                              $36.31
DAVE KLYN                                                              $36.31
RON JURGENSEN                                                          $36.30
STEVE BOSOLD                                                           $36.30
SMITH FARMS                                                            $36.25
SPENCER VAHS                                                           $36.25
MARK BURKETT                                                           $36.20
SHIMMIN FARMS                                                          $36.17
KEITH WEBSTER                                                          $36.15
TUCKER MITTAG                                                          $36.15
JORDIN VANWYK                                                          $36.14
J A H SWINE                                                            $36.11
PATRICIA MOORE                                                         $36.11
JON WAGNER                                                             $36.10
   BRYCE ROBISON                                                       $36.00
BRIAN FOLAND                                                           $36.00
CORY WARREN                                                            $36.00
DAVE GUYER                                                             $36.00
DONALD DILTS                                                           $36.00
JEFF WILLIAMS                                                          $36.00
LARRY EICHENBERGER                                                     $36.00
LEE TITRUD                                                             $36.00
MAURICE FULLER                                                         $36.00
TYLER DAVIS                                                            $36.00
BRYON MILLER                                                           $35.99
   AARON DETTMAN                                                       $35.95
JON CHAMBERLAIN                                                        $35.91
MIKE JANSEN                                                            $35.90
   RANDY SUEPER                                                        $35.89
JIM MARSHALL                                                           $35.88


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Row Labels: Producer_Name                                         Sum of NET_PRICE
PINICON PRAIRIE                                                        $35.86
GARY BURKEN                                                            $35.85
ROBERT ZOBEL (USE 39                                                   $35.84
DALE LIGHTFOOT                                                         $35.75
NOAH HORSLEY                                                           $35.75
TIM THOMAS                                                             $35.75
TRAVIS BARTHOLOMEW                                                     $35.75
TYLER RICKS                                                            $35.74
DEAN VANTIGER                                                          $35.71
LOREN & DO CLAUSSEN                                                    $35.67
DEAN CARRINGTON                                                        $35.61
   DOUG ROBISON                                                        $35.60
CHAD SEXTON                                                            $35.50
JIM KNOLLENBERG                                                        $35.50
MIKE SECHLER                                                           $35.50
SCOTT FREDERICK                                                        $35.50
SHAWN LITTERER                                                         $35.50
STEVE NICHOLLS                                                         $35.50
JEFF GILSTRAP                                                          $35.48
AARON MEIER                                                            $35.40
EUGENE L BEIER                                                         $35.27
BLAIN LANNAN                                                           $35.25
CATHY ADKINS                                                           $35.25
LARRY WANOUS                                                           $35.25
RICHARD NUTTLEMAN                                                      $35.23
STEVE FELTON                                                           $35.22
NIMMO BROS                                                             $35.21
BILL LESAGE                                                            $35.20
PAUL KAUFMAN                                                           $35.15
408273                                                                 $35.10
STAN PEARSON                                                           $35.02
415797                                                                 $35.00
   WILLI KRUSE                                                         $35.00
ALAN GREENWAY                                                          $35.00
CRAIG PIERSON                                                          $35.00
DOUGLAS NUTT                                                           $35.00
JACOB CHENOWETH                                                        $35.00
LARRY MAXWELL                                                          $35.00
LAURIE NICHOLS                                                         $35.00
MELVIN D YODER                                                         $35.00
MICHAEL ROESNER                                                        $35.00
RALPH SHERMAN                                                          $35.00
ROGER CHISM                                                            $35.00
SIMON O BONTRAGER                                                      $35.00
RON WHITAKER                                                           $34.96
FELTY MILLER                                                           $34.90
MARK WILLIAMS                                                          $34.89
JOSH FREEMAN                                                           $34.83
JASON FIELDS                                                           $34.80
JOHN NALLY                                                             $34.80
JACOB MEYER                                                            $34.79
ROBERT ELLIS                                                           $34.75


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Row Labels: Producer_Name                                         Sum of NET_PRICE
TRAVIS PERRY                                                           $34.74
CLARENCE TROESCH                                                       $34.73
DOUG MCBRIDE                                                           $34.73
KEN BUECKMAN SWINE                                                     $34.70
ZACH EGESDAL                                                           $34.70
AARON JACOBSEN                                                         $34.65
KEVIN MASON                                                            $34.65
VIRGIL PEEK                                                            $34.65
360007                                                                 $34.60
RED CEDAR                                                              $34.60
JESSE ORGELL                                                           $34.55
WADE MANTOOTH                                                          $34.51
BOB STECKER                                                            $34.50
GREG EVANS                                                             $34.50
JAMES RONSPIES                                                         $34.50
PRETTY PIG                                                             $34.50
RICHARD ZWASCHKA                                                       $34.50
RUSTY COE                                                              $34.50
FARMS LTD PETERSON F                                                   $34.49
ROBERT HOPPER                                                          $34.45
DOUG ANDERSON                                                          $34.40
LEVI KIMLEY                                                            $34.40
ROGER DONOHOE                                                          $34.40
KERRY COPELAND                                                         $34.32
WILLIAM JEFFORDS                                                       $34.32
JEFF CUSTER                                                            $34.30
MATT DOWNING                                                           $34.30
BILL GREENIG                                                           $34.28
JEFF NOFZIGER                                                          $34.28
JIM TOURTILLOTT                                                        $34.28
JACKIE BURKEMPER                                                       $34.25
MARIE H CLARK FAMILY                                                   $34.25
BILL JOHNSON                                                           $34.20
CLIFFORD MARLATT                                                       $34.20
JACK TAULMAN                                                           $34.15
339678                                                                 $34.14
TERRY GOBROGGE                                                         $34.14
LEONARD KALLEMBACH                                                     $34.13
404876                                                                 $34.00
   HANNA HILLYARD                                                      $34.00
BRANDON FANNIN                                                         $34.00
CARL DILLING                                                           $34.00
DENNIS BUTLER                                                          $34.00
KEVIN LAURENT                                                          $34.00
LYNN LOVERKAMP                                                         $34.00
MAYNARD BLEICHNER                                                      $34.00
NORTH STAR FARM                                                        $34.00
PAUL REHDER                                                            $34.00
TIM TRATTLES                                                           $34.00
301537                                                                 $33.90
STAN JOHNSON                                                           $33.85
LAKE VIEW COLON                                                        $33.76


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Row Labels: Producer_Name                                         Sum of NET_PRICE
319039                                                                 $33.75
DOUGLAS HORNE                                                          $33.75
GORDON ALLEN                                                           $33.75
HOME PLACE PORK                                                        $33.75
MICHAEL MORGAN                                                         $33.75
KENT WINBURN                                                           $33.70
DAVID KYBURZ                                                           $33.66
EGLER BROTHERS                                                         $33.65
ROD DOLLAR                                                             $33.65
BILL HENNEFENT                                                         $33.60
SAKM SWINE                                                             $33.60
WENDY COFFELT                                                          $33.60
LARRY HADDON                                                           $33.56
   JUSTI KIEPER                                                        $33.50
BERNARD & EDEN                                                         $33.50
CURTIS BRANDAU                                                         $33.50
LARRY RABE                                                             $33.50
MARY HART                                                              $33.50
NORTH FORK PORK                                                        $33.50
THE KERNS FARMS CRP                                                    $33.50
WES MOELLER                                                            $33.50
ARDELL HELLMAN                                                         $33.45
KALEB PASS                                                             $33.41
RON DEORNELLES                                                         $33.40
TONY HUDSON                                                            $33.40
BILL MORGAN                                                            $33.35
MICHAEL WIESE                                                          $33.30
MOSES WAGLER                                                           $33.30
BACKHAUS BROS                                                          $33.25
CRAIG RUNKSMEIER                                                       $33.25
LARRY SHRAMEK                                                          $33.25
ROBERT CALVIN                                                          $33.25
ROD THOMSON                                                            $33.17
NOAH N GINGERICH                                                       $33.14
JEFF LINDLEY                                                           $33.12
JOE GIBSON                                                             $33.10
MOE FARMS                                                              $33.05
   TERRY SJUTS                                                         $33.00
CAITLYN BOWYER                                                         $33.00
PETE BARTHOLD                                                          $33.00
WAMPLER FARMS I                                                        $33.00
ROGER STORMS                                                           $32.98
RUSSELL RITCHIE                                                        $32.95
AUSTIN ROBISON                                                         $32.93
JOEL BURMEISTER                                                        $32.93
MICHAEL WALKER                                                         $32.93
REX PERLICH                                                            $32.93
TRAVIS HARMENING                                                       $32.93
JOHN MERCER                                                            $32.90
SHANNON FATLAND                                                        $32.90
JOE LANDRUM                                                            $32.85
DENNIS BARKER                                                          $32.80


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Row Labels: Producer_Name                                         Sum of NET_PRICE
WARREN BLOM                                                            $32.76
420921                                                                 $32.75
BRIAN ROGERS                                                           $32.75
DAN SUKUP                                                              $32.75
PHIL AULT                                                              $32.75
RON JELSMA                                                             $32.75
JIM DICKERSON                                                          $32.62
DANIELLE KALIFF                                                        $32.60
GENO GUALANDRI                                                         $32.59
MIKE DENNIS                                                            $32.59
STEVE CLARK                                                            $32.55
BOB GREGG                                                              $32.50
FEHR BROTHERS                                                          $32.50
HUNTER MATHIAS                                                         $32.50
LEAH HEFTY                                                             $32.50
NORMAN VAN GENNIP                                                      $32.50
RAY WICHMANN & SON                                                     $32.50
ROCKNE SCRUGGS                                                         $32.50
SCOTT WILKENS                                                          $32.50
RICHARD HELLENDRUNG                                                    $32.31
DOUG BLEDSOE                                                           $32.26
BRAD PRICE                                                             $32.25
LANCE LANDIS                                                           $32.25
MEYER BROS FARM                                                        $32.21
BONNIE CREST FARM                                                      $32.20
STEVE LAHR                                                             $32.20
ALLISON WHEELER                                                        $32.18
HAROLD KOCH                                                            $32.15
ROBERT STEELE                                                          $32.15
MONTY STIERWALT                                                        $32.13
CHRIS LUTES                                                            $32.10
ANSON GRAI LIVESTOCK                                                   $32.00
BRAD BAUMGARTNER                                                       $32.00
CODY LEWIS                                                             $32.00
DARIN WOLFF                                                            $32.00
HEIDI & TY RICKS                                                       $32.00
HOWARD TRADER                                                          $32.00
JOE JONES                                                              $32.00
LEON VAETH                                                             $32.00
MATT HUGHES                                                            $32.00
NOLAN HOHENSTEIN                                                       $32.00
SAMUEL MILLER                                                          $32.00
STEVE SCHLAGEN                                                         $32.00
JOEL HERD                                                              $31.94
GARY DEAN                                                              $31.81
TRENT COLEMAN                                                          $31.78
TERRY MUSSER                                                           $31.77
BROOKE DEAN                                                            $31.76
BOYD CALVERT                                                           $31.75
DAVID WAMPLER                                                          $31.75
DELBERT PAYSEN                                                         $31.75
GENE BIESER                                                            $31.75


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Row Labels: Producer_Name                                         Sum of NET_PRICE
TIM RENKEN                                                             $31.75
SAMUEL DIEHM                                                           $31.74
DAN SOUTHARD                                                           $31.70
DON KOPKA                                                              $31.69
ROBERT WASZAK                                                          $31.67
MARK ANDERSON                                                          $31.63
CHAD ROHRER                                                            $31.59
JERRY TOLLEY                                                           $31.59
STEVEN ADE                                                             $31.59
HANNA FARMS                                                            $31.58
DAN LATT                                                               $31.50
GARY LUSK                                                              $31.50
RODGER AMELUNKE                                                        $31.50
ROGER PARKER                                                           $31.50
GARY JOHNSON                                                           $31.47
BRAD STOECKLEIN                                                        $31.40
KEVIN LENTS                                                            $31.40
GARRETT YACKLEY                                                        $31.39
LARRY PRITCHETT                                                        $31.38
ROBERT CHELINE                                                         $31.35
JASON ROBINSON                                                         $31.30
TERRY SIBLE                                                            $31.30
BRIAN CAMPBELL                                                         $31.25
NATHAN RAY                                                             $31.25
JOHN ROHRS                                                             $31.21
BEN KRULL                                                              $31.20
ROBERTSON LIVESTOCK                                                    $31.20
DEREK KOPPEN                                                           $31.15
JOHN JACOBS                                                            $31.12
ALLAN SCHWARTZ                                                         $31.10
DANA DESUTTER                                                          $31.02
SCOTT ERICKSON                                                         $31.02
BILL OLIVER                                                            $31.00
BRIAN E WIMER                                                          $31.00
CHARLES WILLIAMSON                                                     $31.00
DENNIS RUFF                                                            $31.00
ED KLEIN                                                               $31.00
LOREN TUSA                                                             $31.00
MIKE HAINLINE                                                          $31.00
MIKE MARSH                                                             $31.00
PAULA IRVIN                                                            $31.00
WILLIAM AGLE                                                           $31.00
BRAD BARNETT                                                           $30.98
TARA BERGGREN                                                          $30.98
BURNETT FARMS                                                          $30.95
EUGENE HUNT                                                            $30.86
TYSON PARKER                                                           $30.80
BILLY BRINGER                                                          $30.75
TAYLOR POTTENGER                                                       $30.75
194353                                                                 $30.70
FRANCISCO COSIO                                                        $30.70
MATT BAUM                                                              $30.70


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Row Labels: Producer_Name                                         Sum of NET_PRICE
TONY SMITH                                                             $30.70
PHIL FRANCIS                                                           $30.69
RAY LIGON                                                              $30.66
JOHN BIANCONI                                                          $30.65
PHIL COOPER                                                            $30.55
JIM CUMMINGS                                                           $30.53
HORSESHOE HILL                                                         $30.50
THOMPSON PORK F                                                        $30.48
JIM BLAIR                                                              $30.38
MIKE SHIPLEY                                                           $30.33
ALBERT LANE                                                            $30.25
ANDREW FRUHLING                                                        $30.25
ELI TODD                                                               $30.25
RICKY PYLE                                                             $30.25
ROGER VERHEY                                                           $30.24
TREY DELING                                                            $30.21
CHARLES HOELSCHER                                                      $30.00
FELICIA NOVAK                                                          $30.00
JOHN BOUDEMAN                                                          $30.00
KEVIN COOPER                                                           $30.00
ROY JOHNSON                                                            $30.00
SCOTT SLATON                                                           $30.00
RANDY DENHART                                                          $29.97
KENT ULMER                                                             $29.93
RYAN RENZE                                                             $29.90
RUSSEL KILLINGER                                                       $29.83
ZEL ADAMS                                                              $29.75
MIKE HUFENDICK                                                         $29.58
KEVIN KRUSE                                                            $29.55
KEN NEISEN                                                             $29.50
DUNTEMAN FAMILY                                                        $29.49
CHARLIE RAVELLETTE                                                     $29.45
ROBERT HYDE                                                            $29.45
JAMES LEWIS                                                            $29.43
COLBY SMITH                                                            $29.39
BOB THOMPSON                                                           $29.30
JAY BOOSE                                                              $29.25
FRONTLYNE STOCK                                                        $29.22
JUD THORSON                                                            $29.00
385407                                                                 $28.95
KERRY SCHNITZ                                                          $28.76
BILL BROWN                                                             $28.75
BILLY ROBERTS                                                          $28.75
ROBERT DIVINE                                                          $28.55
JIM WATT                                                               $28.50
PLEZ COLLINS                                                           $28.50
RONALD RUSTIN                                                          $28.48
JASON KUEHN                                                            $28.47
LUTHER MELTON                                                          $28.45
PAUL TOLLEFSON                                                         $28.45
SCOTT PLUMMER                                                          $28.35
ERIC HOOG                                                              $28.25


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Row Labels: Producer_Name                                         Sum of NET_PRICE
MATT BUSBY                                                             $28.25
LAVER BLENTLINGER                                                      $28.00
ROD LIMES                                                              $28.00
DARREN BEDEKER                                                         $27.99
JONATHAN MEDLANG                                                       $27.68
BRADY MCNEIL                                                           $27.55
TURNER OLIVER                                                          $27.15
SCHAEFER S SWINE                                                       $27.05
KATI & KAR FITE                                                        $27.00
MAYS FAMILY FAR                                                        $26.88
BRYAN MYLES                                                            $26.76
JOSH WESTERFELD                                                        $26.34
ROBERT BUTLER JR                                                       $26.25
ARON BRIGHT                                                            $26.00
ED STAGNER                                                             $25.00
KEITH FASSIG                                                           $24.59
BLACKSTOCK FARM                                                        $23.75
ANDRUCH FARMS                                                          $21.25
141597                                                                 $0.00
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